Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further1 Confidentiality
                                                        of 344. PageID #: 251832
                                                                             Review

      1                    UNITED STATES DISTRICT COURT

      2                      NORTHERN DISTRICT OF OHIO

      3                            EASTERN DIVISION

      4

      5    -----------------------------) MDL No. 2804

      6    IN RE NATIONAL PRESCRIPTION          )

      7    OPIATE LITIGATION                    ) Case No. 17-md-2804

      8                                         )

      9    This document relates to:            ) Hon. Dan A. Polster

     10    All Cases                            )

     11    -----------------------------) VOLUME II

     12

     13                          HIGHLY CONFIDENTIAL

     14           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

     15

     16                  The resumed videotaped deposition of

     17    STEPHEN SEID, called for examination, taken pursuant

     18    to the Federal Rules of Civil Procedure of the United

     19    States District Courts pertaining to the taking of

     20    depositions, taken before JULIANA F. ZAJICEK, a

     21    Registered Professional Reporter and a Certified

     22    Shorthand Reporter, at the offices of Dechert LLP,

     23    Suite 3400, 35 West Wacker Drive, Chicago, Illinois,

     24    on December 13, 2018, at 9:00 a.m.

   Golkow Litigation Services                                            Page 214
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further2 Confidentiality
                                                        of 344. PageID #: 251833
                                                                             Review

      1    APPEARANCES:
      2    ON BEHALF OF THE PLAINTIFFS:
      3          SIMMONS HANLY CONROY LLC
                 112 Madison Avenue, 7th floor
      4          New York, NY 10016
                 212-784-6400
      5          BY: JAYNE CONROY, ESQ.
                      jconroy@simmonsfirm.com;
      6               LAURA FITZPATRICK, ESQ.
                      lfitzpatrick@simmonsfirm.com
      7               ELLYN HURD, ESQ. (Telephonically)
                      ehurd@simmonsfirm.com
      8
           ON BEHALF OF THE STATE OF TENNESSEE PLAINTIFFS:
      9
                  BRANSTETTER, STRANCH & JENNINGS, PLLC
     10           The Freedom Center
                  223 Rosa L. Parks Avenue, Suite 200
     11           Nashville, Tennessee 37203
                  615-254-8801
     12           BY: MICHAEL G. STEWART, ESQ.
                       mstewart@bsjfirm.com
     13
           ON BEHALF OF AMERISOURCEBERGEN CORPORATION and
     14    AMERISOURCEBERGEN DRUG CORPORATION:
     15          JACKSON KELLY PLLC
                 150 Clay Street, Suite 500
     16          Morgantown, West Virginia 26501
                 304-284-4138
     17          BY: SYLVIA WINSTON NICHOLS, ESQ.
                      (Telephonically)
     18               sylvia.winston@JacksonKelly.com
     19    ON BEHALF OF MALLINCKRODT LLC and SPECGX LLC:
     20          ROPES & GRAY LLP
                 Prudential Tower
     21          800 Boylston Street
                 Boston, Massachusetts 02199-3600
     22          617-951-7910
                 BY: LUKE D. RILEY, ESQ. (Telephonically)
     23               luke.riley@ropesgray.com;
                      GREGORY F. MALLOY, ESQ. (Telephonically)
     24               gregory.malloy@ropesgray.com

   Golkow Litigation Services                                            Page 215
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further3 Confidentiality
                                                        of 344. PageID #: 251834
                                                                             Review

      1    APPEARANCES: (Continued)
      2
           ON BEHALF OF CARDINAL HEALTH, INC.:
      3
                  WILLIAMS & CONNOLLY LLP
      4           725 Twelfth Street, N.W.
                  Washington, D.C. 20005
      5           202-434-5000
                  BY: KATELYN ADAMS, ESQ. (Telephonically)
      6                kadams@wc.com
      7
           ON BEHALF OF McKESSON CORPORATION:
      8
                  COVINGTON & BURLING, LLP
      9           One City Center
                  850 Tenth Street, NW
     10           Washington, D.C. 20001
                  202-662-5531
     11           BY: AMBER CHARLES, ESQ. (Telephonically)
                       acharles@cov.com
     12
     13           TABET DIVITO & ROTHSTEIN LLC
                  209 South LaSalle Street, 7th Floor
     14           Chicago, Illinois 60604
                  312-762-9461
     15           BY: DANIEL L. STANNER, ESQ.
                       dstanner@tdrlawfirm.com
     16
     17    ON BEHALF OF ENDO HEALTH SOLUTIONS INC., ENDO
           PHARMACEUTICALS INC., PAR PHARMACEUTICAL COMPANIES,
     18    INC.:
     19          ARNOLD & PORTER KAYE SCHOLER LLP
                 70 West Madison Street, Suite 4200
     20          Chicago, Illinois 60602-4231
                 312-583-2435
     21          BY: MICHAEL S. BULLERMAN, ESQ.
                      michael.bullerman@arnoldporter.com
     22
     23
     24

   Golkow Litigation Services                                            Page 216
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further4 Confidentiality
                                                        of 344. PageID #: 251835
                                                                             Review

      1    APPEARANCES:      (Continued)
      2
           ON BEHALF OF WALMART INC.:
      3
                  JONES DAY
      4           77 West Wacker Drive
                  Chicago, Illinois 60601-1692
      5           312-269-4164
                  BY: SCOTT D. QUELLHORST, ESQ.
      6                squellhorst@jonesday.com
      7
           ON BEHALF OF PURDUE PHARMA, L.P., PURDUE PHARMA, INC.
      8    and THE PURDUE FREDERICK COMPANY, INC.:
      9          DECHERT LLP
                 35 West Wacker Drive, Suite 3400
     10          Chicago, Illinois 60601
                 312-646-5800
     11          BY: NATHAN HOFFMAN, ESQ.
                      nathan.hoffman@dechert.com;
     12               MELANIE MACKAY, ESQ.
                      melanie.mackay@dechert.com
     13
     14    ON BEHALF OF PERNIX THERAPEUTICS HOLDINGS, INC. IN
           NON-MDL CASES PENDING IN ARKANSAS AND PENNSYLVANIA:
     15
                  CLARK MICHIE LLP
     16           220 Alexander Street
                  Princeton, NJ 08540
     17           609-423-2143
                  BY: CHRISTOPHER J. MICHIE, ESQ.
     18                (Telephonically)
                       chris.michie@clarkmichie.com
     19
     20    ON BEHALF OF DEFENDANT ROCHESTER DRUG COOPERATIVE:
     21          ALLEGAERT BERGER & VOGEL, LLP
                 111 Broadway, 20th Floor
     22          New York, New York 10006
                 212-571-0550
     23          BY: LOUIS CRACO, ESQ. (Telephonically)
                      lcraco@abv.com
     24

   Golkow Litigation Services                                            Page 217
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further5 Confidentiality
                                                        of 344. PageID #: 251836
                                                                             Review

      1    APPEARANCES: (Continued)
      2
           ON BEHALF OF VALIDUS PHARMACEUTICALS:
      3
                  FOX ROTHSCHILD LLP
      4           1301 Atlantic Avenue
                  Midtown Building, Suite 400
      5           Atlantic City, New Jersey 08401-7212
                  609-572-2236
      6           BY: JACOB S. PERSKIE, ESQ.
                       jperskie@foxrothschild.com
      7                CIERA LOGAN, ESQ.
                       clogan@foxrothschild.com
      8
      9    ON BEHALF OF THE DEPONENT:
     10          SALVATORE PRESCOTT & PORTER
                 1010 Davis Street
     11          Evanston, Illinois 60201
                 312-283-5711
     12          BY: JULIE B. PORTER, ESQ.
                      porter@spplawyers.com
     13
     14
           ALSO PRESENT:
     15
                  MS. GRETCHEN KEARNEY, Paralegal,
     16           Baron & Budd, P.C.
     17
     18    THE VIDEOGRAPHER:
     19          MR. BEN STANSON,
                 Golkow Litigation Services.
     20
     21
     22
     23
     24    REPORTED BY:        JULIANA F. ZAJICEK, RPR, CSR 84-2604.

   Golkow Litigation Services                                            Page 218
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further6 Confidentiality
                                                        of 344. PageID #: 251837
                                                                             Review

      1                                I N D E X
      2

      3    WITNESS:                                                PAGE:
      4     STEPHEN SEID
      5           EXAM BY MS. CONROY...................               226
      6           EXAM BY MR. STEWART..................               337
      7           EXAM BY MR. STANNER..................               441
      8           EXAM BY MR. HOFFMAN..................               451
      9           FURTHER EXAM BY MS. CONROY...........               489
     10           FURTHER EXAM BY MR. STEWART..........               522
     11           FURTHER EXAM BY MR. STANNER..........               538
     12           FURTHER EXAM BY MR. HOFFMAN..........               545
     13           FURTHER EXAM BY MS. CONROY...........               547
     14

     15                                   *****
     16

     17                            E X H I B I T S
     18    PURDUE-SEID EXHIBIT                               MARKED FOR ID
     19     No. 016      E-mail chain, top one from Dan                  226
                         Colucci to Howard Udell, among
     20                  others, 6/6/07, Subject: SOP 7.7
                         System to disclose suspicious
     21                  orders of controlled substances
                         SOP.pdf; PPLPC004000119319 - 320
     22                  and PPLPC004000119321_001 -
                         321_003
     23

     24

   Golkow Litigation Services                                            Page 219
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further7 Confidentiality
                                                        of 344. PageID #: 251838
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                    MARKED FOR ID
      3     No. 017   E-mail chain, top one from Aaron     248
                      Graham to Charles Forsaith and Dan
      4               Colucci, 6/6/2007, Subject: RE:
                      Sop 7.7 System to disclose
      5               suspicious orders of controlled
                      substances; PPLPC016000001102 -
      6               104
      7     No. 018   E-mail chain, top one from Thomas    250
                      Roepke to Charles Forsaith,
      8               6/7/2007, Subject: Re: SOP 7.7
                      System to disclose suspicious
      9               orders of controlled substances;
                      PPLPC018000152012 - 015
     10
            No. 019      E-mail chain, top one from Jack                 261
     11                  Crowley to Dan Colucci, among
                         others, 10/3/07, Subject: RE:
     12                  Follow-up on Suspicious Order
                         Reporting; PPLPC004000132946 - 954
     13
            No. 020      E-mail from Gina Limer to Jack                  277
     14                  Crowley, 2/6/08, Subject: RE:
                         Suspicious Orders Meeting with
     15                  attachment, Suspicious Order
                         Monitoring and Reporting Meeting
     16                  020608.doc; PPLPC026000037881 -
                         883
     17
            No. 021      E-mail from William Mallin to                   288
     18                  Robin Abrams, among others,
                         5/30/12, Subject: May 2012 Updated
     19                  Purdue Committee Charters,with
                         attachment Purdue Committees
     20                  Binder May 2012.ppt;
                         PPLPC012000378036 - 037
     21
            No. 022      "OMS report May 5th, 2011, Kabs                 293
     22                  Pharmacy No. 5";
                         PPLPC004000279670 - 671
     23
     24

   Golkow Litigation Services                                            Page 220
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further8 Confidentiality
                                                        of 344. PageID #: 251839
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                     MARKED FOR ID
      3     No. 023   E-mail chain, top one from Mark       297
                      Geraci to Nancy Bentley, 1/28/10,
      4               Subject: FW: OMS Meeting 10:00am,
                      with attachments OMS Monthly
      5               Meeting 12162009Minutes.doxk, OMS
                      Quarterly Meeting Agenda January
      6               28, 2010.doc;
                      PPLPC034000360255 - 266
      7
            No. 024      E-mail chain, top one from Stephen              314
      8                  Seid to
                         ValueTrak@valuecentric.com,
      9                  7/13/2009, Subject: RE: Item
                         Exceeds Average;
     10                  PPLPC004000207529 - 530
     11     No. 025      E-mail chain, top one from Stephen              320
                         Seid to
     12                  valuetrak@valuecentric.com,
                         7/13/2009, Subject: RE: Item
     13                  Exceeds Average;
                         PPLPC004000207523 - 524
     14
            No. 026      E-mail chain, top one from Stephen              321
     15                  Seid to Dawn Wargo, among others,
                         7/20/2009, Subject: FW: Item
     16                  Exceeds Average;
                         PPLPC004000208240 - 241
     17
            No. 027      E-mail chain, top one from Stephen              323
     18                  Seid to FFSOrderMngt, 9/9/2009,
                         Subject: RE: Item On Order Exceeds
     19                  Average Exception;
                         PPLPC004000213649 - 650
     20
            No. 028      E-mail chain, top e-mail from                   324
     21                  Stephen Seid to FFSOrderMngt,
                         9/24/2009, Subject: RE: Item On
     22                  Order Exceeds Average Exception;
                         PPLPC004000214875 - 876
     23
     24

   Golkow Litigation Services                                            Page 221
Case:Highly
      1:17-md-02804-DAP Doc #:- 1984-13
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further9 Confidentiality
                                                        of 344. PageID #: 251840
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                    MARKED FOR ID
      3     No. 029   E-mail chain, top one from Stephen   325
                      Seid to FFSOrderMngt, 10/27/2009,
      4               Subject: FW: Item On Order Exceeds
                      Average Exception;
      5               PPLPC004000218107 - 108
      6     No. 030   E-mail chain, top one from Stephen   327
                      Seid to FFSOrderMngt, 10/1/2009,
      7               Subject: FW: Item On Order Exceeds
                      Average Exception;
      8               PPLPC004000215590 - 591
      9     No. 031   Training document titled:            329
                      "Institutional Contracts, Level
     10               150," by Christine Ostrowski,
                      Senior Director Managed Markets
     11               Contracting & Operations;
                      PPLP003553723 - 754
     12
            No. 032      E-mail chain, top one from Stephen              329
     13                  Seid to Steve Bishop, Cheryl
                         Siciliano, 11/10/10, Subject: FW:
     14                  Butrans; PPLPC004000256865 - 866
     15     No. 033      E-mail from Giselle Issa to Robin               329
                         Abrams, among others, 4/16/14,
     16                  Subject: Final Agenda and
                         Presentation, with attachment
     17                  Overview of Purdue's OMS Program
                         for ABC Meeting April 17 2014.ppt,
     18                  Purdue Meeting with ABC April 17
                         2014.docx; PPLPC004000399334 - 337
     19
            No. 034      Personnel File - Stephen Seid;                  336
     20                  PPLP004418217 - 400
     21     No. 035      JC Elmo Notes                                   337
     22     No. 036      PowerPoint dated 3/13/12 by Robin               339
                         Abrams, "Order Monitoring System
     23                  (OMS): A Manufacturer's
                         Perspective"; PPLPC004000317962
     24

   Golkow Litigation Services                                            Page 222
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 344. PageID #: 251841
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                    MARKED FOR ID
      3     No. 037   E-mail from Giselle Issa to Mark     378
                      Geraci, among others, 6/7/12,
      4               Subject: Updated Agenda and the 3
                      Outstanding Reports for OMS
      5               Meeting, with attachments;
                      PPLPC004000325578 - 607
      6
            No. 038      Field Research Results Summary -                403
      7                  Update, 12/5/06;
                         PP_TN_Staubus000202716 - 724
      8
            No. 039      E-mail from Aileen Barcia to                    404
      9                  Russem Johnson, among others,
                         10/05/07, Subject: Frank and Janet
     10                  McNeil; PP_TN_Staubus000003441
     11     No. 040      AE/PC Data Collection Form,                     406
                         8/22/08;
     12                  PP_TN_Staubus000186585 - 592
     13     No. 041      E-mail chain, top one from                      410
                         Steve Bishop to Stephen Seid,
     14                  Cheryl Siciliano, 9/22/2008,
                         Subject: FW: Community Awareness
     15                  Knox County;
                         PPLPC004000175719 - 720
     16
            No. 042      CSA Compliance Accounts as of                   420
     17                  6/1/10; PPLP004381168 - 170
     18     No. 043      Referral to DEA re: Frank McNeil;               421
                         PTN000045572
     19
            No. 044      E-mail from Giselle Issa to Mark                422
     20                  Geraci, among others, 7/16/13,
                         Subject: Reports for the OMS
     21                  Meeting; PPLPC004000363663
     22     No. 045      E-mail from Joan Zooper to Lori                 423
                         Stewart, among others, 4/7/11,
     23                  Subject: Drs. Janet and Frank
                         McNiel from TN;
     24                  PP_TN_Staubus000002663

    Golkow Litigation Services                                           Page 223
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 344. PageID #: 251842
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                     MARKED FOR ID
      3     No. 046   E-mail from Brenda Dawson to          426
                      ADD-Legal, among others, 4/19/12,
      4               Subject: FW: QE/PC/ROC/ADD(SOP
                      1.7.1) Details for
      5               1025310000005888 PFT-000167144;
                      PP_TN_Staubus00003387 - 388
      6
            No. 047      E-mail chain, top one from Jack                 427
      7                  Crowley to Stephen Seid, Giselle
                         Issa, 9/13/12, Subject: OMS
      8                  Accounts; PPLPC004000334743 - 744
      9     No. 048      OMS Summary Report, 9/10/12, Drug               430
                         Park Inc.; PPLP004380246 - 269
     10
            No. 049      OMS Report, Updated 7/18/13,                    430
     11                  Original 6/7/12, Food City
                         Pharmacy #674;
     12                  PPLPC004000363824 - 841
     13     No. 050      OMS Meeting Minutes, 7/18/13;                   435
                         PPLP004372147 - 149
     14
            No. 051      McKesson Manufacturer Marketing                 447
     15                  Product Promotional Agreement,
                         7/25/10; MCKMDL00353305 - 306
     16
            No. 052      Banner Ad OxyContin Reformulation;              448
     17                  MCKMDL00353284
     18     No. 053      GC-SOP-0007, 3/23/09;                           471
                         PPLPC031001491482 - 487
     19
            No. 054      RxPATROL; PPLP003318459 - 460                   473
     20
            No. 055      E-mail chain, top one from Michael              485
     21                  Cullen to Bob Breetz, among
                         others, 9/12/10, Subject: RE:
     22                  OxyContin Question, with
                         attachment;
     23                  PPLPC004000248927 - 948
     24     No. 056      OMS Customer Details;                           491

    Golkow Litigation Services                                           Page 224
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 344. PageID #: 251843
                                                                             Review

      1                    E X H I B I T S (Continued)
      2    PURDUE-SEID EXHIBIT                     MARKED FOR ID
      3     No. 057   Screen shot of the suspicious         495
                      order monitoring database;
      4               PPLPC033000006038 - 039
      5     No. 058   McKesson Manufacturer Marketing,      505
                      8/20/12, Prepared for Purdue
      6               Pharma L.P. - RxPATROL;
                      MCKMDL00353316 - 319
      7
            No. 059      Screen shot McKesson Connect;                   509
      8                  MCKMDL00353308
      9     No. 060      McKesson Manufacturer Marketing -               512
                         Custom Solutions for Driving Brand
     10                  Performance;
                         CAH_MDL2804_02100389 - 396
     11
            No. 061      E-mail from Jack Crowley to Robin               523
     12                  Abrams, among others, 11/23/09,
                         Subject: South Florida;
     13                  PPLPC004000220392 - 394
     14     No. 062      PowerPoint presentation: Purdue                 528
                         OxyContin Trends;
     15                  PPLPC004000396762 - 780
     16     No. 063      E-mail from Jack Crowley to                     532
                         Stephen Seid, among others,
     17                  4/6/2009, Subject: RE: OMS;
                         PPLPC004000198309 - 316
     18
            No. 064      E-mail from Jack Crowley to                     535
     19                  Stephen Seid, 2/17/12, Subject:
                         Meeting; PPLPC004000312845 - 847
     20
            No. 065      LinkedIn profile - Barbara                      547
     21                  Boockholdt
     22
     23
     24

    Golkow Litigation Services                                           Page 225
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 344. PageID #: 251844
                                                                             Review

      1           THE VIDEOGRAPHER:       We are back on the record on

      2    December 13th, 2018.        The time is 9:20 a.m.         This is

      3    the continuation of the deposition of Mr. Seid.                The

      4    witness is still under oath.

      5                  Counsel, you may proceed.

      6                       (WHEREUPON, a certain document was

      7                         marked Purdue-Seid Deposition Exhibit

      8                         No. 016, for identification, as of

      9                         12/13/2018.)

     10                              STEPHEN SEID,

     11    called as a witness herein, having been previously

     12    duly sworn, was examined and testified further as

     13    follows:

     14                         EXAMINATION (Resumed)

     15    BY MS. CONROY:

     16           Q.     Good morning, Mr. Seid.

     17           A.     Good morning.

     18           Q.     Let me pass to you what I've marked as

     19    Exhibit 16.

     20           A.     Thank you.

     21           Q.     Exhibit 16 is PPLPC004000119319 through

     22    321, and it is an e-mail that is dated Wednesday,

     23    the 6th of June, 2007, that's the top one, from Dan

     24    Colucci.

    Golkow Litigation Services                                           Page 226
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 344. PageID #: 251845
                                                                             Review

      1                  Who is Dan Colucci?

      2           A.     Dan Colucci is in finance.

      3           Q.     Okay.    And you are on the list of

      4    recipients.

      5                  Do you see that up at the top, all of

      6    those names?

      7           A.     Yes.    Yeah, I see myself.

      8           Q.     Okay.    And the subject is:        "Standard

      9    Operating Procedure 7.7 System to Disclose Suspicious

     10    Orders of Controlled Substances."

     11                  Do you see that?

     12           A.     Yes.

     13           Q.     And are you fam -- I think you told me

     14    yesterday you were not familiar with 7.7.

     15                  Does this refresh at all seeing it in

     16    print?

     17           A.     No, I'm not familiar with it.

     18           Q.     Okay.    And if you take a look at the

     19    second page of the e-mail, there is a reference from

     20    an Anthony DiCocco?

     21           A.     Yes.

     22           Q.     About Watson's Anda division.

     23                  Do you see that, about some orders?

     24           A.     Yes.

    Golkow Litigation Services                                           Page 227
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 344. PageID #: 251846
                                                                             Review

      1           Q.     And then there is a -- up at the top there

      2    is a reference to -- for you to call him.

      3                  Do you see that?       "Steve, when you can,

      4    please call me."

      5           A.     It looks like something is cut off here.

      6    Oh, from back here.

      7                  Yes, I see that.

      8           MS. FITZPATRICK:       Do you have the attachment?

      9           MS. CONROY:     The attachment is not -- I think

     10    it's --

     11                  Does yours have it or no?

     12           MS. PORTER:     No, it does not, neither does the

     13    witness's.

     14           MS. CONROY:     All right.      Let's -- let's go off

     15    the record.

     16           THE VIDEOGRAPHER:       We are off the record at

     17    9:23 a.m.

     18                       (WHEREUPON, discussion was had

     19                         off the record.)

     20           THE VIDEOGRAPHER:       We are back on the record at

     21    9:26 a.m.

     22    BY MS. CONROY:

     23           Q.     Mr. Seid, we took a -- a brief moment to

     24    replace your exhibit.         Now you have the attachment

    Golkow Litigation Services                                           Page 228
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 344. PageID #: 251847
                                                                             Review

      1    that was meant to be a part of Exhibit 16.              And

      2    Exhibit 16, I'll just read it so I make sure I get the

      3    whole thing, PPLPC004000119319 through 003, and it

      4    includes the SOP 7.7 in those numbers, which I think

      5    are different -- actually, I'm just going to read.

      6    7.7 has three separate numbers.           PPLPC004000119321-001

      7    through 003.

      8                  If you take a look at the attachment, 7.7

      9    that's attached to your e-mail thread, Mr. Seid, is it

     10    familiar to you?

     11           A.     No.

     12           Q.     If you received it from Mr. Udell back on

     13    Wednesday, June 6th of 2-7 -- 2007, is that something

     14    you would have opened?

     15                  Would you have opened the attachment?

     16           A.     I don't see that on here.

     17           Q.     You -- you don't see what?

     18           A.     I don't -- if I had received this from

     19    How -- Howard Udell?

     20           Q.     Correct.

     21           A.     Which is --

     22           Q.     What I'm looking at is on the front page,

     23    there is -- I'm sorry.         From Dan Colucci, there was an

     24    e-mail from Dan -- Dan Colucci to Howard Udell, many

    Golkow Litigation Services                                           Page 229
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 344. PageID #: 251848
                                                                             Review

      1    other Purdue recipients, yourself included.

      2                  Do you see that?

      3           A.     Um-hum.

      4           Q.     And the SOP 7.7, System to Disclose

      5    Suspicious Orders of Controlled Substances, was

      6    attached.

      7                  Do you see that SOP.pdf?

      8           A.     Yes.

      9           Q.     If you had received it from Mr. Colucci,

     10    would you have opened the attachment?

     11           A.     I can't tell you whether I would have

     12    opened the attachment or not.

     13           Q.     Is there a reason -- as you were on the

     14    suspicious order monitoring committee, correct?

     15           A.     Yes.

     16           Q.     Is there a reason you would not have seen

     17    or been familiar with SOP 7.7?

     18           A.     This is a finance and accounting standard

     19    operating procedures manual.           I norm --

     20           Q.     Is that -- so is that why you would not

     21    have been aware of it, because it was a -- a finance

     22    and accounting SOP?

     23           A.     That's why I was not familiar with it.

     24           Q.     So it would be -- it would not be

    Golkow Litigation Services                                           Page 230
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 344. PageID #: 251849
                                                                             Review

      1    something that you would follow?

      2           MR. HOFFMAN:     Object to form.

      3    BY THE WITNESS:

      4           A.     I don't -- it's just -- it's an SOP I'm

      5    not aware of.       It's a finance and -- and accounting

      6    department procedures manual and it's about their

      7    procedures and what they follow, so it...

      8    BY MS. CONROY:

      9           Q.     Is there a representative of finance on

     10    the suspicious order monitoring committee?

     11           A.     No.

     12           Q.     Is there a reason there is no

     13    representative from finance on the suspicious order

     14    monitoring committee?

     15           MR. HOFFMAN:     Object to form.

     16    BY THE WITNESS:

     17           A.     I would say you would need to ask the

     18    chair of the suspicious order monitoring committee as

     19    to the decision as to who should be members.

     20    BY MS. CONROY:

     21           Q.     And that would be Robin Abrams?

     22           A.     Correct.

     23           Q.     She -- she made the decisions about who

     24    would be on the committee?

    Golkow Litigation Services                                           Page 231
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 344. PageID #: 251850
                                                                             Review

      1           A.     She was the chair.

      2           Q.     And did she make the decisions as far as

      3    you know about who -- who should be a member of the

      4    committee?

      5           A.     I know that she made a decision that I

      6    should be on the committee.          I don't know how she made

      7    decisions otherwise as to who should be on the

      8    committee.

      9           Q.     Did you have occasion to consult with the

     10    finance and -- and -- the finance department when you

     11    had questions about a customer or one of the

     12    wholesalers' customers?

     13           A.     It appears that the question here was

     14    probably -- it appears that the question -- the

     15    concern here was credit limits.           And whether it was an

     16    order for a gross of Senokot laxatives or prescription

     17    medication, if an account was banging up against their

     18    credit limit, finance would reach out to me and we

     19    would discuss that.        So the -- it appears the key

     20    issue here for Dan Colucci was the line of credit.

     21           Q.     If you'd take a look at the second page of

     22    the document, the e-mail from Dan Colucci to you and

     23    others on June 5th of 2007, he says:             "Steves,"

     24    because there are -- there are two Stephens, I guess,

    Golkow Litigation Services                                           Page 232
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 344. PageID #: 251851
                                                                             Review

      1    Steve Bishop and Stephen Seid?

      2           A.     Correct.

      3           Q.     "Steves, is it possible they would need

      4    another 2 million in product?"

      5                  Do you see that?

      6           A.     Yes.

      7           Q.     You -- it's your understanding that he is

      8    asking whether there is a -- whether they have a

      9    credit issue?

     10           A.     Well, ultimately it relates to the orders

     11    that they received from Anda and that they operated

     12    successfully with an 800 line of -- 800,000 line of

     13    credit.     "Last week they placed an order for 1.682 for

     14    their Ohio location."

     15                  And he goes on to say:         "This was approved

     16    with input from sales and then credit approved

     17    following our approval SOP."           And then he goes on in

     18    the next paragraph talking about that Anda is

     19    financially okay, so...

     20                  It appears that what triggered this was

     21    his concern with the line of credit.

     22           Q.     So you believe that what was suspicious

     23    about this order was whether or not they could pay for

     24    the order?

    Golkow Litigation Services                                           Page 233
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 344. PageID #: 251852
                                                                             Review

      1           A.     I don't know if that was suspicious, but

      2    it seems that -- I'm not aware of this.              Again, an SOP

      3    is that it indicates to me that he was concerned about

      4    the size of the order because it was banging against

      5    the credit limit and was looking for a clarification,

      6    which it appears we gave him.

      7           Q.     I also see here that it says in the

      8    very -- on the front page:

      9                  "In the last week we have received very

     10    significant orders from Anda Pharmaceutical, a unit of

     11    Watson Pharmaceutical, Inc.          For the past two years

     12    they've operated successfully with an $800,000 line of

     13    credit in similar exposures.           Last week they placed an

     14    order for 1.6 million for their Ohio location.

     15    Virtually all of it was for OxyContin 40 and

     16    80-milligram strengths."

     17                  Why would it matter what the item was if

     18    this was just a credit issue?

     19           A.     I'd have to look at their SOP, if that had

     20    anything to do with it.

     21           Q.     Would that matter to you?          You were on the

     22    suspicious order monitoring committee?

     23           A.     Yes, it would matter to me.

     24           Q.     What -- what would -- what would matter

    Golkow Litigation Services                                           Page 234
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 344. PageID #: 251853
                                                                             Review

      1    about it?

      2           A.     Well, I -- as it indicates here,

      3    Steve Bishop, who was responsible for the account, and

      4    myself contacted Anda, asked them about the reasons

      5    for the order, although I can't -- since this was from

      6    11 years ago, I can't recall that conversation, and we

      7    would try to ascertain the reason for the increase and

      8    if it appeared to be due to account change or

      9    distribution, a real -- a distribution reallocation,

     10    because they had multiple location, if appropriate we

     11    would let the -- if we felt it was appropriate, we'd

     12    let the order proceed.

     13           MR. HOFFMAN:     Jayne, can I make a suggestion.             I

     14    don't think the witness has read the SOP yet.               Maybe

     15    if we give him two minutes to read it you guys could

     16    get on the same page.

     17           MS. CONROY:     Absolutely not.       He has never read

     18    it.    There is no reason for him to read it now.              My

     19    questions have nothing to do with something that he

     20    has never had any involvement with.

     21           MR. HOFFMAN:     You -- you are not asking him how

     22    the e-mail relates to the SOP?

     23           MS. CONROY:     I don't believe I am.

     24           MR. HOFFMAN:     Okay.

    Golkow Litigation Services                                           Page 235
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 344. PageID #: 251854
                                                                             Review

      1    BY MS. CONROY:

      2           Q.     It sounds to me like you did evaluate at

      3    some point in 2007 whether or not the orders were

      4    suspicious, regardless of the credit issue, because

      5    you weren't involved with the credit issue, correct?

      6           A.     I was involved with the credit issue in

      7    the sense that before the order was released, the

      8    credit line had to be increased.

      9           Q.     But that's not what you did, you didn't

     10    have anything to do with that, right?

     11           A.     I had nothing to do with the credit.

     12           Q.     Right.    What you did was you looked at the

     13    reasons for the order, you contacted -- that's --

     14    that's what you just told me, that you looked into it

     15    and you contacted someone to find out why there was a

     16    rise in demand at the Ohio facility, correct?

     17           A.     That would be what I expect I would have

     18    done, yes.

     19           Q.     Well, doesn't it -- doesn't it infer that

     20    you did that?      It says here:

     21                  "Today, Stephens" -- "Steve Seid spoke

     22    with Anda's buying group and they outlined their

     23    reasons for the increased purchases below."

     24                  You wouldn't be talking to them about

    Golkow Litigation Services                                           Page 236
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 344. PageID #: 251855
                                                                             Review

      1    their finances, you'd be talking about them --

      2           A.     Right.

      3           Q.     -- for the reasons --

      4           A.     Yes.

      5           Q.     -- for the order --

      6           A.     Yes.

      7           Q.     -- correct?

      8           A.     Correct.

      9           Q.     And so you were looking into whether or

     10    not this was a suspicious order with respect to the

     11    amount and the dose of the product that was -- that

     12    was ordered, correct?

     13           A.     Correct.

     14           Q.     That didn't have anything to do with, as

     15    far as you know, SOP 7.7?

     16           A.     I was looking into the reason for the

     17    order based on Dan Colucci's request.

     18           Q.     And how did you interpret Dan Colucci's

     19    request?

     20           A.     It appears the way I interpreted it is

     21    that I contacted Anda's buying group and found out the

     22    reasons for the increased purchases.

     23           Q.     And based on what you heard from Anda,

     24    you -- you approved it, at least from your standpoint?

    Golkow Litigation Services                                           Page 237
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 344. PageID #: 251856
                                                                             Review

      1           A.     Correct.

      2           Q.     And then it was up to someone in finance

      3    to approve it from the credit standpoint, correct?

      4           A.     I -- it appears that is correct.

      5           Q.     And would there have been any record in

      6    the suspicious order monitoring database, any notes or

      7    anything with respect to your contact with the Anda

      8    buying group about this purchase and, you know, the

      9    investigation that you did?

     10           A.     Other than this documation --

     11    documentation, I don't know.

     12           Q.     Would it have been your practice at the

     13    time to go into the suspicious order monitoring

     14    database and enter anything about this particular

     15    suspicious order investigation?

     16           A.     That database is specific to pharmacies,

     17    so documentation would be this type of com --

     18    correspondence.

     19           Q.     So you would?

     20           A.     The documenta -- tation in the suspicious

     21    order monitoring system relates to pharmacies.                So

     22    this document would be the kind of documentation we

     23    would have on -- on file.

     24           Q.     So I'm -- I'm just not totally

    Golkow Litigation Services                                           Page 238
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 344. PageID #: 251857
                                                                             Review

      1    understanding what you are saying to me.

      2                  So you would have put something about this

      3    in the suspicious order monitoring database?

      4           A.     Not in -- we would keep a record of this

      5    information via e-mail that the order was released,

      6    but on the suspicious order monitoring system, that is

      7    specific to pharmacies.         And this would -- there would

      8    not be -- we would not put this in that pharmacy

      9    system.

     10           Q.     So the suspicious order monitoring

     11    database is only -- is only about individual

     12    pharmacies?

     13           A.     Right.    We kept any record of questions of

     14    orders to -- from wholesalers, that would be

     15    documentation that was kept via correspondence and

     16    retained.

     17           Q.     Correspondence like these e-mails?

     18           A.     Yes.

     19           Q.     And where would that be kept?

     20           A.     It would be kept electronically.

     21           Q.     Where?

     22           A.     In Purdue's -- on my laptop on -- in

     23    the -- it would be archived in the Purdue system.

     24           Q.     Was it archived in any particular way,

    Golkow Litigation Services                                           Page 239
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 344. PageID #: 251858
                                                                             Review

      1    were -- were there -- was there a file that was kept

      2    for suspicious orders with respect to -- what would

      3    you call this, a susp -- suspicious order with respect

      4    to a wholesaler?

      5           A.     Yes.

      6           Q.     And did you have a particular place where

      7    you kept all of the e-mail correspondence --

      8           A.     I don't --

      9           Q.     Let me finish.

     10                  -- concerning investigations --

     11           A.     Sorry.

     12           Q.     -- of suspicious orders?

     13           A.     I don't remember where it was kept.

     14           Q.     Is it possible that it was not kept in a

     15    segregated fashion?

     16           MR. HOFFMAN:     Object to form.

     17    BY THE WITNESS:

     18           A.     I can't -- I can't -- I can't speak to

     19    that.    I don't remember.

     20    BY MS. CONROY:

     21           Q.     So just so that I understand, you don't

     22    remember whether or not if you had this type of an

     23    investigation with respect to a suspicious order from

     24    a wholesaler, you don't recall if there was any

    Golkow Litigation Services                                           Page 240
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 344. PageID #: 251859
                                                                             Review

      1    particular place where such correspondence was kept?

      2           A.     I don't remember.

      3           Q.     And that means that if two or three years

      4    later another issue came up with Anda's buying in

      5    Ohio, there would be no record that you could easily

      6    refer back to to take a look to see if you would have

      7    already investigated them about that?

      8           MR. HOFFMAN:     Object to form, foundation.

      9    BY THE WITNESS:

     10           A.     We had no problem, at least as I remember,

     11    going back and get -- getting previous document --

     12    correspondence if it was needed.

     13    BY MS. CONROY:

     14           Q.     But you had to use your memory to remember

     15    about that, right?

     16           A.     No, not necessarily.        You can certainly do

     17    searches and -- and get the information because it was

     18    primarily electronically.

     19           Q.     So who would -- what would you search?

     20           A.     I wouldn't do it.        I'd ask somebody else

     21    to do it.

     22           Q.     Who would you ask?

     23           A.     Either Steve Projansky or -- or my admin.

     24           Q.     Or who?

    Golkow Litigation Services                                           Page 241
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 344. PageID #: 251860
                                                                             Review

      1           A.     Or my admin, Cheryl.

      2           Q.     And did Steve Projansky have access to all

      3    of your e-mails?

      4           A.     Although this was 2007, so it would be

      5    Cheryl.     She had access to all of my e-mails.

      6           Q.     And you would ask Cheryl to do a search?

      7           A.     Right, or a file search.          We'd print out a

      8    copy.    It would be -- we had files for each of the

      9    wholesalers, so there was data in there.

     10           Q.     Hard copy files?

     11           A.     Hard copy files.

     12           Q.     Would something like this have been

     13    printed out and put in a hard copy file for Anda?

     14           A.     I don't know for sure, but it's possible.

     15           Q.     Were there any procedures in your

     16    department that would lay out what Cheryl should do

     17    with things like this?

     18           A.     I don't remember.        I'd' have to speculate,

     19    and I don't remember.

     20           Q.     And where is Cheryl now?

     21           A.     She is retired.

     22           Q.     Where does she live?

     23           A.     Connecticut.

     24           Q.     Do you know if someone took her position?

    Golkow Litigation Services                                           Page 242
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 344. PageID #: 251861
                                                                             Review

      1           A.     I don't.

      2           Q.     This e-mail concerns a distribution center

      3    in Ohio?

      4           A.     Yes.

      5           Q.     Had you -- have you ever been to that

      6    distribution center?

      7           A.     No, I haven't.

      8           Q.     Do you know where in Ohio it's located?

      9           A.     Not off the top of my head.

     10           Q.     Do you recall whether you had any

     11    visibility at Purdue with respect to the customers of

     12    Anda?

     13           A.     We had a fee-for-service agreement with

     14    them, we're getting data from them.

     15           Q.     So you would be able to look at their

     16    retail customs [sic]?

     17           A.     Yes.

     18           Q.     So if you wanted to, you could investigate

     19    where the OxyContin 40 and 80-milligram strengths,

     20    what retail outlets they went to?

     21           A.     Yes.

     22           Q.     Do you know if you ever did that?

     23           A.     As part of the system we did, yes.

     24           Q.     You mean just routinely you would know?

    Golkow Litigation Services                                           Page 243
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 344. PageID #: 251862
                                                                             Review

      1           A.     Right, routinely, yes.

      2           Q.     You don't know if you ever separately went

      3    and looked at that?

      4           A.     I can't recall from 2007 -- '7 whether I

      5    did that with this.

      6           Q.     And that data would be in the suspicious

      7    order monitoring database, correct?

      8           A.     Correct.

      9           Q.     Would there be a reference to the fact

     10    that those pharmacies were related to Anda?

     11           A.     There would be.

     12           Q.     But you would not be able to, for example,

     13    see this -- this order placed by Anda in the

     14    suspicious order monitoring database?

     15           A.     No.

     16           Q.     Only by retail pharmacy with a reference

     17    to who the wholesaler was?

     18           A.     That's correct.

     19           Q.     Could you run a report on the suspicious

     20    order monitoring database that would identify for you

     21    just the Anda orders and their pharmacies?

     22           A.     Yes.

     23           Q.     And so that would -- that would give you

     24    visibility as to what Anda was ordering, correct?

    Golkow Litigation Services                                           Page 244
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 344. PageID #: 251863
                                                                             Review

      1           A.     That's correct.

      2           Q.     And you would also know what -- not only

      3    what Anda was ordering but what they were selling?

      4           A.     What they were selling, correct, and to

      5    whom.

      6           Q.     And that data was available in 2007 if, in

      7    fact, there was a fee-for-service agreement with Anda,

      8    correct?

      9           A.     Correct.

     10           Q.     Is a fee-for-service agreement a separate

     11    document from a distribution agreement?

     12           A.     It depends on, how can I put this, it's a

     13    manner of nomenclature.         Some pharmaceutical companies

     14    call fee-for-service agreement dist -- distribution

     15    management agreement.

     16                  We had three types of agreements.            I think

     17    we discussed this some yesterday.            We had an

     18    authorized distributor agreement, a fee-for-service

     19    agreement, and a central dist -- distribution

     20    agreement in the event that a wholesaler had a central

     21    distribution center.

     22           THE WITNESS:     Excuse me.

     23    BY MS. CONROY:

     24           Q.     So these are the three types of contracts

    Golkow Litigation Services                                           Page 245
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 344. PageID #: 251864
                                                                             Review

      1    that I would find or I could find in the documents at

      2    Purdue, correct?

      3           A.     Correct.     The authorized distributor of

      4    record is more an agreement than a contract, but...

      5           Q.     Why do you say that?

      6           A.     Well, it's -- it was produced stipulating

      7    the basics of what a distributor needs to do to be a

      8    distributor.

      9           Q.     Did you -- you referred to that as sort of

     10    the baseline?

     11           A.     Right.    That was entry into the door.

     12           Q.     Okay.    And then after that, if there was

     13    already an authorized distribution agreement, the next

     14    step would be a fee-for-service agreement?

     15           A.     Generally, yes.

     16           Q.     And that would be a separate written

     17    signed document?

     18           A.     That is correct.

     19           Q.     And then tell me what the central

     20    distribution agreement is.

     21           A.     Accounts such as McKesson had a large,

     22    efficient, central distribution center.              So rather

     23    than send their orders to 26 different locations, we

     24    would send it to the -- what was known as the RDC, the

    Golkow Litigation Services                                           Page 246
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 344. PageID #: 251865
                                                                             Review

      1    Regional Distribution Center, and they would then

      2    break it out to their individual distribution centers.

      3           Q.     And so that required --

      4           A.     Yes.

      5           Q.     -- you talked to me about that yesterday

      6    as being more secure for you and other things,

      7    correct?

      8           A.     That's one shipment on the road as opposed

      9    to 26 trucks with product.

     10           Q.     And that would also be a written agreement

     11    with, for example, McKesson?

     12           A.     That would be an agreement, that would be

     13    a contract, that would be a written agreement.

     14           Q.     Okay.

     15                  Would -- would you have been involved in

     16    the negotiation or approving the negotiated -- the

     17    negotiated terms on all three?

     18           A.     Yes, I would.

     19           Q.     And would I find all three contracts if

     20    they existed in documents held at national accounts

     21    and trade relations?

     22           A.     You should, yes.

     23           Q.     I was puzzled because I haven't seen any

     24    fee-for-service -- fee-for-service agreements.                I have

    Golkow Litigation Services                                           Page 247
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 344. PageID #: 251866
                                                                             Review

      1    seen authorized distributor agreements and maybe even

      2    a central distribution agreement, but I have not

      3    actually seen a fee-for-service agreement.

      4           A.     I think you showed me --

      5           MS. PORTER:     Well --

      6    BY MS. CONROY:

      7           Q.     Did I show you one?

      8           A.     Yes.

      9           MS. PORTER:     Oh, go ahead.      I'm sorry.

     10    BY MS. CONROY:

     11           Q.     Let me look back and -- at the exhibits.

     12                  All right.      You can put that away.

     13                       (WHEREUPON, a certain document was

     14                         marked Purdue-Seid Deposition Exhibit

     15                         No. 017, for identification, as of

     16                         12/13/2018.)

     17    BY MS. CONROY:

     18           Q.     Let me show you what I've marked as

     19    Exhibit 17.

     20                  17 is PPLPC016000001102 through 04.             It

     21    actually appears this is more about the Anda situation

     22    with the top e-mail from the 6th of June 2007, but I

     23    think we've actually already seen the e-mails.

     24                  You send -- we've already seen this

    Golkow Litigation Services                                           Page 248
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 344. PageID #: 251867
                                                                             Review

      1    e-mail.     This is just part of the thread where you

      2    explained the rise in demand at the Ohio facility and

      3    call that the order be released.

      4                  Do you see that?

      5           A.     Yes.

      6           Q.     And was that typically how you would

      7    memorialize the release of an order, in an e-mail?

      8           A.     Yes.

      9           Q.     And remind me who Charles Forsaith is?

     10           A.     Chuck Forsaith is the corporate director

     11    of supply chain security.

     12           Q.     Did he sit on the suspicious order

     13    monitoring committee?

     14           A.     No, he did not.

     15           Q.     Did anyone from supply chain security sit

     16    on the committee?

     17           A.     Well, this is just at the beginning of --

     18    I think this is before the committee was actually

     19    fully operational because the gentleman who replaced

     20    Aaron, Mark Geraci, was on the committee, so Charles

     21    Forsaith's boss was on the committee.             The person

     22    who --

     23           Q.     Mark Geraci?

     24           A.     Mark Geraci.

    Golkow Litigation Services                                           Page 249
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 344. PageID #: 251868
                                                                             Review

      1           Q.     And he was in security?

      2           A.     He was the VP of corporate security and

      3    Chuck, Charles Forsaith reported to him.

      4           Q.     Okay.    You can put that away.

      5                       (WHEREUPON, a certain document was

      6                         marked Purdue-Seid Deposition Exhibit

      7                         No. 018, for identification, as of

      8                         12/13/2018.)

      9    BY MS. CONROY:

     10           Q.     I'm going to look at Exhibit 18.

     11           A.     Thank you.

     12           Q.     This is a little bit more on this story.

     13    It is PPLP 018000152012 through 15.

     14                  This is -- some of the e-mails will be

     15    familiar to you at the beginning and the thread

     16    continues.      And if you look on the page that's stamped

     17    013, there is an e-mail from Aaron Graham, also on

     18    June 6th, to you and others, and he says:

     19                  "At the risk of stating the obvious, two

     20    observations come to mind:          40-milligram and

     21    8-milligram [sic] strengths are the most diverted,

     22    misused and abused."

     23                  Do you agree with that statement?            Do you

     24    see it?

    Golkow Litigation Services                                           Page 250
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 344. PageID #: 251869
                                                                             Review

      1           A.     I'm sorry.

      2           Q.     Look on --

      3           A.     One more time.

      4           Q.     -- Bates No. 013 on the bottom right-hand

      5    side of the page.

      6           A.     Yes.

      7           Q.     And then at the -- the bottom e-mail from

      8    Aaron Graham at 5:11 p.m. on June 6th.

      9           A.     Um-hum, yes.

     10           Q.     Then he says:      "At the risk of stating the

     11    obvious, 40-milligram and 80-milligram strengths are

     12    the most diverted, misused and abused."

     13                  Do you see that?

     14           A.     Yes.

     15           Q.     Do you agree with that statement?

     16           A.     Do I agree with Point 1?

     17           Q.     Correct.

     18           A.     There was abuse of 40 and 80.

     19           Q.     Do you agree that -- do you agree with

     20    Mr. Graham that they are the most diverted, misused

     21    and abused, those doses?

     22           A.     That's his area of expertise being the VP

     23    of corporate securities, so that would be his

     24    observation.

    Golkow Litigation Services                                           Page 251
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 344. PageID #: 251870
                                                                             Review

      1           Q.     Do you have a different observation?

      2           A.     It was significantly abused and -- not

      3    significantly, but it was abused -- 40 and 80 were

      4    misused and abused.

      5           Q.     Correct.     I'm asking you if you agreed

      6    with the vice president and chief security officer

      7    that the 40-milligram and 80-milligram strengths are

      8    the most diverted, misused and abused?

      9           A.     I don't know if, as compared to the other

     10    strengths, if I could quantify that.             They were

     11    certainly attractive for their strengths to those who

     12    would abuse, but I -- I can't say for sure that is the

     13    case.    Aaron would be the expert there, if he felt

     14    that way.

     15           Q.     Would you rely on Aaron's expertise with

     16    respect to what was the most abused, diverted and

     17    misused strengths of OxyContin?

     18           A.     I would trust his judgment in most cases.

     19           Q.     So is there a reason you wouldn't agree

     20    with that statement?

     21           MR. HOFFMAN:     Object to form.

     22    BY THE WITNESS:

     23           A.     I -- I didn't make it, so it's -- it's

     24    hard for me to agree to it, but -- based on what he

    Golkow Litigation Services                                           Page 252
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 344. PageID #: 251871
                                                                             Review

      1    says here, but I certainly would agree that there were

      2    issues with the 40 and 80-milligrams that related to

      3    diversion, misuse and abuse.

      4    BY MS. CONROY:

      5           Q.     Yes, I understand that.         I'm trying to

      6    understand if you had facts or other information that

      7    would be contrary to what Mr. Graham believed were the

      8    strengths that were most --

      9           A.     I --

     10           Q.     -- diverted, misused or abused?

     11           A.     I didn't have specific facts.           And

     12    certainly when we looked at abuse and diversion in

     13    the -- in the SOMS system we focused heavily on 40 and

     14    80 because they were the higher strengths.

     15           Q.     Did you find when you focused on those in

     16    the -- in the SOMs that they were the most diverted,

     17    misused and abused, those 40 and 80-milligram

     18    strengths?

     19           A.     They were often an indication of issues as

     20    it related to abuse and diversion.

     21           Q.     I understand that, but I'm asking if you

     22    found that they were the most related to issues of

     23    abuse and diversion?

     24           A.     I don't know if I -- I can say that, based

    Golkow Litigation Services                                           Page 253
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 344. PageID #: 251872
                                                                             Review

      1    on that, I can say the most.           They were certainly a

      2    significant indicator, but I'd have to go back and

      3    look at all of the data, but it was certainly an

      4    ind- -- a significant indicator of the potential for

      5    abuse and diversion.

      6           Q.     Do you have in your mind some different

      7    strength that was more abused or misused?

      8           A.     I don't have my -- in my mind a -- a

      9    different strength.

     10           Q.     But for you to have a -- but for you to

     11    hold a belief as to which was the most diverted, you'd

     12    have to go back and look at the data?

     13           A.     I would have to look specifically.            He is

     14    talking about Ohio and -- and the data and I'd have to

     15    look at what was available.

     16           Q.     Well, I don't -- I don't know that he is

     17    talking about Ohio there.          You believe he is

     18    talking -- that in Ohio the 40 and the 80s are most

     19    diverted, misused and abused?

     20           A.     I don't know what he is talking -- he is

     21    talking about.       He mentioned Ohio as the highest rate

     22    of pharmacy burglaries.         I don't know if he is talking

     23    about Ohio there.

     24           Q.     Do you agree that Ohio at the time had the

    Golkow Litigation Services                                           Page 254
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 344. PageID #: 251873
                                                                             Review

      1    highest rate of pharmacy burglaries in the country?

      2           A.     I don't -- I don't know the statistics on

      3    that.

      4           Q.     Would you have had any reason to doubt him

      5    in June of 2007?

      6           A.     I would have had no reason to doubt him,

      7    although I thought there were other areas that had

      8    higher, but...

      9           Q.     What other areas did you believe were

     10    higher?

     11           A.     I thought Massachusetts might be higher,

     12    but he was the security -- security guy, so, and he

     13    had his finger on that pulse.

     14           Q.     Then you received an e-mail from Howard

     15    Udell about a half an hour later asking if you found

     16    "Anda's explanation satisfactory?            If so, do you think

     17    that we need to ask them for some evidence to support

     18    the explanation?"

     19                  Do you see that?

     20           A.     Yes.

     21           Q.     Was that typical to hear -- to have

     22    questions like this from Howard Udell?

     23           A.     It was not usual for me to get those

     24    questions from Howard, no.

    Golkow Litigation Services                                           Page 255
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 344. PageID #: 251874
                                                                             Review

      1           Q.     Did Mr. Udell have any involvement with

      2    suspicious order monitoring that you were familiar

      3    with at this time or was it Robin Abrams in your mind?

      4           A.     I don't know if he had delegated it to

      5    Robin at that time or not.          She doesn't appear to be

      6    copied on this.

      7           Q.     Was she a part of the legal -- legal

      8    office at that time?

      9           A.     Yes, she was.

     10           Q.     Then if you go to the front, you send an

     11    e-mail at 6:00 p.m. on June 6th and you tell Mr. Udell

     12    and others that you're "comfortable with Anda's demand

     13    needs and explanation."

     14                  Do you see that?

     15           A.     Yes.

     16           Q.     And you say that:        "They are an authorized

     17    distributor of record."

     18                  That means they've signed a distribution

     19    agreement?

     20           A.     Yes.

     21           Q.     Or -- or distributor agreement?

     22           A.     They have signed a distributor agreement.

     23           Q.     And then if you turn the page, you say:

     24    "Let us not forget that Ohio is also a significant

    Golkow Litigation Services                                           Page 256
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 344. PageID #: 251875
                                                                             Review

      1    market for appropriate patients."

      2                  Do you see that?

      3           A.     Correct.

      4           Q.     What -- how did you come to that

      5    conclusion that Ohio was a significant market for

      6    appropriate patients?

      7           A.     It was to my knowledge that there were

      8    many patients who were taking OxyContin in Ohio that

      9    would appear to be appropriate.

     10           Q.     And -- and how did you reach that

     11    conclusion?

     12           A.     I don't remember how I reached that

     13    conclusion.

     14           Q.     How would you have?

     15           A.     I would have looked -- from what I was

     16    responsible for at that point was based on what the

     17    ordering patterns of accounts were doing, the

     18    wholesalers as it related to inventory in a specific

     19    area, and that inventory management was based on the

     20    concept that it was meeting the needs and the demand

     21    for patients at the pharmacy level.

     22                  And it's also noted in there, and it says

     23    that Ohio has lifted its Medicaid prior authorization

     24    on OxyContin, which would -- would increase the

    Golkow Litigation Services                                           Page 257
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 344. PageID #: 251876
                                                                             Review

      1    demand, and the reduction in the generic

      2    reimbursement, and what the chain in the State of Ohio

      3    that I had visited indicated to me that they would

      4    fill Medicaid prescriptions with brand.

      5                  And based on those -- that information, I

      6    felt that it was -- apparently I felt that it was

      7    appropriate to release that order.

      8           Q.     Right.    That was with respect to an

      9    increased demand for the branded product OxyContin,

     10    correct?

     11           A.     Correct.

     12           Q.     I'm asking how -- what information you

     13    would use to determine that Ohio is also a significant

     14    market for appropriate patients.

     15                  Appropriate patients, you mean patients

     16    who need opioid for pain, correct?

     17           A.     For pain, correct.

     18           Q.     And so it wouldn't matter whether that was

     19    generic or brand, correct?

     20           A.     Correct.

     21           Q.     So what information, other than the

     22    ordering patterns of the accounts, would you look at

     23    to determine that those patients who are taking

     24    opioids in Ohio are appropriate?

    Golkow Litigation Services                                           Page 258
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 344. PageID #: 251877
                                                                             Review

      1           A.     I could not tell if the individual

      2    patients were appropriate.

      3           Q.     You're just looking at it generally by the

      4    ordering patterns?

      5           A.     I would look at it generally.

      6           Q.     And would you be looking at it generally

      7    by the ordering patterns of the wholesalers?

      8           A.     I would be looking at it generally not

      9    only by the ordering patterns of an individual

     10    wholesaler, but as it relates to the overall market.

     11           Q.     And what do you mean by that?

     12           A.     I knew it is fairly easy to ascertain,

     13    particularly since four large wholesalers -- three

     14    large wholesalers were responsible for the bulk of the

     15    business.     And based on product used in general, I had

     16    a good idea of the percentage that each account had,

     17    there weren't that many accounts, of the volume of any

     18    of our products by -- by brand and by strength, so I

     19    could ascertain to a fairly strong degree what

     20    percentage of the market a particular wholesaler

     21    should have.      It didn't vary too significantly.

     22           Q.     So would it be fair to say if the -- if a

     23    wholesaler's volume was steady by brand and by

     24    strength, you would then determine that the patients

    Golkow Litigation Services                                           Page 259
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 344. PageID #: 251878
                                                                             Review

      1    they were serving were appropriate?

      2           A.     I would assume that it was appropriate,

      3    they were ordering the appropriate amount of products

      4    that -- their orders, and if for some reason their

      5    market or their customers changed, we would factor

      6    that in -- or I would factor that in.

      7           Q.     Okay.

      8                  If you'd look at the first page of this,

      9    Chuck Forsaith forwards your -- this e-mail chain on

     10    to Thomas Roepke, R-o-e-p-k-e, who is the manager of

     11    corporate security at Watson Laboratories.

     12                  Do you see that?

     13           A.     Yes.

     14           Q.     Do you know who he is?

     15           A.     No.

     16           Q.     And he -- this was the next -- the next

     17    day in the morning of June 7th and Chuck Forsaith

     18    says:

     19                  "Doesn't sit well with me.          I hope we

     20    don't find ourselves up" with an asterisk "creek with

     21    no paddle in sight."

     22                  Do you see that?

     23           A.     I --

     24           MR. HOFFMAN:     Object to the form.        It is not

    Golkow Litigation Services                                           Page 260
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 344. PageID #: 251879
                                                                             Review

      1    Forsaith who is saying that.           It is the gentleman from

      2    Watson.

      3           MS. CONROY:     Oh, I'm sorry.       It's -- it is.

      4    BY MS. CONROY:

      5           Q.     It is the manager of corporate security

      6    sending it to Charles Forsaith at Purdue.

      7                  Had you ever heard any comments like that

      8    from Watson Laboratories or Anda?

      9           A.     I did not hear that.

     10           Q.     And you don't recall Mr. Forsaith telling

     11    you that?

     12           A.     I don't recall.

     13           Q.     You can put that one away.

     14                       (WHEREUPON, a certain document was

     15                         marked Purdue-Seid Deposition Exhibit

     16                         No. 019, for identification, as of

     17                         12/13/2018.)

     18    BY THE WITNESS:

     19           A.     Thank you.

     20    BY MS. CONROY:

     21           Q.     Exhibit 19 is an e-mail chain from --

     22    beginning on the top from Jack Crowley dated

     23    October 3rd, 2007, PPLPC004000132946 through 953.

     24                  Who is Jack Crowley?

    Golkow Litigation Services                                           Page 261
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 344. PageID #: 251880
                                                                             Review

      1           A.     Jack Crowley is the executive director of

      2    CSA compliance.

      3           Q.     Executive director of controlled substance

      4    compliance?

      5           A.     Yes.

      6           Q.     And was he a retired DEA agent?

      7           A.     Yes.

      8           Q.     And then this is a -- a -- a long e-mail

      9    chain that you can take a look at, but you may -- you

     10    may remember some of this, which is a lot of back and

     11    forth about the executive audit committee and then

     12    about suspicious orders.

     13                  Do you have any recollection of the

     14    conversations that were taking place about suspicious

     15    orders in the fall of 2007?

     16           A.     I don't have a recollection of this.

     17           Q.     Okay.    If you take a look at your e-mail,

     18    which is on Bates Page 950, and this was an e-mail

     19    from you to Jack Crowley and others on September 25th

     20    of 2007.

     21                  Do you see that?

     22           A.     I do.

     23           Q.     Okay.    And you say:

     24                  "Let's make sure we take a step back and

    Golkow Litigation Services                                           Page 262
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 344. PageID #: 251881
                                                                             Review

      1    look at the entire picture.          Our goal is to assure

      2    availability to appropriate patients while do our best

      3    due diligence to assure appropriate channels of

      4    distribution."

      5                  Do you see that?

      6           A.     Correct.

      7           Q.     And you have described to me just a few

      8    minutes ago how you fulfilled that function, correct?

      9           A.     Correct.

     10           Q.     And then you say down a little bit

     11    further:

     12                  "If the issue here is credit limits, that

     13    is a different story.         Then we hold due to that, not

     14    based on suspicious orders."

     15                  Do you see that?

     16           A.     I don't.

     17           Q.     Look down a few paragraphs further in your

     18    e-mail.

     19           A.     "If the issue here is credit limits that

     20    is a different story.         Then we hold due to that not

     21    based on..."

     22                  Yes, I see that.

     23           Q.     And that would -- that would be something

     24    that finance would determine, not you, correct?

    Golkow Litigation Services                                           Page 263
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 344. PageID #: 251882
                                                                             Review

      1           A.     Right.

      2           Q.     And then if you look at the e-mail that's

      3    a response to yours from Dan Colucci, it starts on the

      4    prior -- on the Page 949, Dan Colucci responds to you

      5    on September 25th, and he says:

      6                  "Steve, Laura and I are not always

      7    100 percent comfortable with the process from our

      8    side.    As Jack points out, the responsibility for this

      9    process lies with finance.          Based on the comments from

     10    the conference that you may need to know your

     11    customers' customers, Laura and I thought it best to

     12    sit with Jack.       We also both thought it was best as a

     13    courtesy to invite you in case (a) Jack said we were

     14    doing something wrong and you could hear and reply to

     15    the ramifications, and (b) so you could bring your

     16    expertise to the meeting as you did below."

     17                  Do you see that?

     18           A.     Yes.

     19           Q.     Do you have a recollection of being asked

     20    to join with Jack Crowley to talk about becoming more

     21    comfortable with the process?

     22           A.     I'm -- I don't recall this meeting.

     23           Q.     Okay.    And then if you look at the first

     24    page of the document, Exhibit 19, there is an e-mail

    Golkow Litigation Services                                           Page 264
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 344. PageID #: 251883
                                                                             Review

      1    to everyone from Jack Crowley, which is a very long

      2    e-mail, where he explains his position with respect to

      3    suspicious orders?

      4           A.     Okay.

      5           Q.     Have you ever -- have you ever heard

      6    Mr. Crowley give his -- his position with respect to

      7    suspicious order reporting?

      8           A.     Have I ever heard Jack Crowley...?

      9           Q.     Give his opinions with respect to

     10    suspicious order monitoring?

     11           A.     I don't know.

     12           Q.     Did -- did Mr. Crowley sit on the

     13    suspicious order monitoring committee?

     14           A.     Yes.

     15           Q.     And did he ever talk about his views on

     16    the way a company needed to act in conformance with

     17    the Controlled Substances Act?

     18           A.     Jack reported to Robin Abrams and he

     19    provided advice to her.         I can't say I remember a

     20    particular situation where Jack said, This is the way

     21    we should do things.        He may have, but I can't say I

     22    remember him doing that.

     23           Q.     Okay.    So you don't have any memory as you

     24    sit here today of having any discussions with

    Golkow Litigation Services                                           Page 265
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 344. PageID #: 251884
                                                                             Review

      1    Mr. Crowley about the way to -- about the processes

      2    involved with suspicious order monitoring?

      3           A.     I'm sure over the years we discussed what

      4    was going on, but if I -- I would be less than -- less

      5    than able to tell you on a specific time, year, date

      6    or occasion.

      7           Q.     Do you recall having a difference of

      8    opinion with Mr. Crowley with respect to the reporting

      9    and the timing of reporting suspicious orders?

     10           A.     I don't remember that, ever having a

     11    difference with Jack.

     12           Q.     Did you ever have a difference of opinion

     13    with anyone on the committee with respect to how

     14    suspicious orders should be reported and the timing

     15    and how to interpret the Controlled Substances Act?

     16           A.     I don't remember having any disagreement.

     17    And I think, actually, it was very beneficial that

     18    there wasn't a more significant commercial presence on

     19    the committee because if there was ever an event where

     20    I said, I think this is a great account, I was one

     21    vote out of five or six and easily overruled.

     22                  So I think the way the committee was

     23    established, that a purely commercial decision, a

     24    disagreement from me from a commerce -- commercial

    Golkow Litigation Services                                           Page 266
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 344. PageID #: 251885
                                                                             Review

      1    standpoint would be -- would be easily overruled.

      2           Q.     By --

      3           A.     And I would -- and I would accept that.

      4           Q.     By "commercial decision," you are talking

      5    about if you took into consideration the business that

      6    a particular order was bringing in to Purdue?

      7           A.     Well, when I say "commercial decision" --

      8    "decision," I mean I was a commercial representative.

      9    So I would just say an indi -- individual resent --

     10    representing the commercial side of the business,

     11    not...

     12           Q.     As opposed to corporate security?

     13           A.     As opposed to non-commercial.

     14           Q.     And even though you were on the commercial

     15    side, you would investigate and report to the

     16    committee things like whether or not patients were

     17    appropriate for opioid therapy, correct?

     18           A.     More what I would report to committee were

     19    my concerns.

     20           Q.     Or lack of concern?

     21           A.     Or if I thought that there was no issue

     22    with the order.

     23           Q.     Right.    A lack of concern about the order?

     24           A.     Or a lack of concern.

    Golkow Litigation Services                                           Page 267
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 344. PageID #: 251886
                                                                             Review

      1           Q.     Do you see where Mr. Crowley at the bottom

      2    of the first page says:         "The requirement is to report

      3    suspicious orders, not suspicious sales after the

      4    fact."

      5                  Do you see that?       The very first page,

      6    with the -- the one with the sticker on it.

      7                  And right at the bottom of the page, and

      8    it's bolded, it says:         "The requirement is to report

      9    suspicious orders, not suspicious sales after the

     10    fact."

     11                  Do you see that?

     12           A.     I see that line, yes.

     13           Q.     Do you agree with that statement?

     14           A.     I agree that that's the intention, yes.

     15           Q.     And do you agree that that is what Purdue,

     16    that they reported suspicious orders to the DEA and

     17    not sales after the fact?

     18           A.     Which suspicious orders are you talking

     19    about?

     20           Q.     Any, just in general was that -- was that

     21    your procedure to immediately report to the DEA any

     22    suspicious orders that were flagged by the company

     23    versus waiting, investigating, and then reporting to

     24    the DEA after the sales had gone through?

    Golkow Litigation Services                                           Page 268
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 344. PageID #: 251887
                                                                             Review

      1           MR. HOFFMAN:     Object to form.

      2    BY THE WITNESS:

      3           A.     The decision to report a suspicious order

      4    was done by the committee.          I was not the individual

      5    and nor I -- did I work with any specific individual

      6    to actually report to the DEA.           I was not DEA facing,

      7    if you will.

      8                  And since in that system with pharmacies

      9    we don't see the orders before they are sales, so it

     10    required to see the shipment from the wholesaler to

     11    the retailer before we could do any type of

     12    investigation.

     13    BY MS. CONROY:

     14           Q.     Would you report to the DEA that a

     15    wholesaler had shipped a suspicious order?

     16           A.     We would report to the DEA based on

     17    previous testimony after investigation, analysis,

     18    research, contact with our wholesale partners, orders

     19    that we felt were -- or accounts, basically, who had

     20    orders that we felt were suspicious, and based on

     21    Robin's PowerPoint presentations, which we shared and

     22    reviewed yesterday, that between I believe the dates

     23    were 2008 and 2011 that 290 accounts were such

     24    referred to the DEA.

    Golkow Litigation Services                                           Page 269
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 344. PageID #: 251888
                                                                             Review

      1           Q.     Yes.    Out of 50,000 retail pharmacies,

      2    correct?

      3           A.     Yes.

      4           Q.     And that was 390 instances -- or 290

      5    instances, correct, where you identified?

      6           A.     290 accounts that were reported.

      7           Q.     That were reported to the DEA.

      8                  My question is a little bit different.

      9    What I'm asking is:        As I understand it, you have

     10    suspicious sales that are flagged by your suspicious

     11    order monitoring database, correct, with the

     12    algorithms you talked to me about yesterday?

     13           A.     That's correct.

     14           Q.     At that point someone has determined that

     15    those sales are suspicious?

     16           MR. HOFFMAN:     Object to form.

     17    BY THE WITNESS:

     18           A.     So --

     19    BY MS. CONROY:

     20           Q.     I'm -- well, let me -- let me clarify

     21    that.

     22           A.     Please.

     23           Q.     I know you are going to investigate them,

     24    but you have flagged them as suspicious, correct?

    Golkow Litigation Services                                           Page 270
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 344. PageID #: 251889
                                                                             Review

      1           MR. HOFFMAN:     Object to form.

      2    BY THE WITNESS:

      3           A.     The orders in the suspicious order

      4    monitoring system are deemed of concern based on the

      5    algorithm.      So in that sense the algorithm flags

      6    certain pharmacies as pharmacies that need to be

      7    investigated with the poten -- potential that there

      8    was -- the orders were of a suspicious nature.

      9                  But, again, we don't see the orders before

     10    they are shipped.       We can't -- if we -- the goal was

     11    to take an educated, intensive investigation to make

     12    sure those accounts that we referred to the DEA, which

     13    is a serious action, and certainly can have and should

     14    have ramifications on an individual or an entity if

     15    they are a bad actor, then it would be referred to the

     16    DEA.

     17                  But as I used -- and as an example

     18    yesterday, that if we immediately sent to the DEA a

     19    referral on a pharmacy across the street from H --

     20    Memorial Sloan Kettering or MD Anderson or Boswell

     21    Cancer Center in Buffalo, New York without doing our

     22    due diligence to see if that may be appropriate

     23    ordering, I don't think it would be fair to the

     24    individual or the account.          So we did not

    Golkow Litigation Services                                           Page 271
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 344. PageID #: 251890
                                                                             Review

      1    automatically, without investigation, send the --

      2    refer the orders to the DEA.

      3    BY MS. CONROY:

      4           Q.     Correct.     So when you identified

      5    suspicious sales in this suspicious order monitoring

      6    database, you did not report to the DEA at that time?

      7           MR. HOFFMAN:     Object to form.

      8    BY THE WITNESS:

      9           A.     We did not immediately report.

     10    BY MS. CONROY:

     11           Q.     Then you would investigate?

     12           A.     Correct.

     13           Q.     Did you contact the wholesaler when you

     14    investigated?

     15           A.     Yes, we did.

     16           Q.     Did you determine at any point whether the

     17    wholesaler was reporting to the DEA those pharmacies

     18    that were -- that you had tagged as suspicious?

     19           A.     I would not be the one to do that, so I

     20    can't say that -- whether that was done or not.

     21           Q.     Who would be the one to do that?

     22           A.     Jack usually was the one or Luis Bauza

     23    would reach out to people on the wholesaler side.

     24           Q.     Is that B-o-u-z-a?

    Golkow Litigation Services                                           Page 272
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 344. PageID #: 251891
                                                                             Review

      1           A.     B-a-u-s-z-a?      I don't know if he is on

      2    here.

      3           Q.     I saw him somewhere, but we'll find it

      4    later.

      5                  Or Jack Crowley?

      6           A.     Or Jack Crowley.

      7           Q.     Was there any method that -- that Purdue

      8    had to determine whether or not the wholesaler was

      9    doing its due diligence of the suspicious orders and

     10    sales that you had identified at Purdue?

     11           A.     We, as I mentioned yesterday, tried to

     12    work collaboratively to -- to help identify pharmacies

     13    that may be an issue and we would provide any insight

     14    or ideas or support that was appropriate to our

     15    wholesaler partners, but I don't think, at least from

     16    my perspective, we did an assessment of what the

     17    wholesalers were doing or deemed what they were doing

     18    appropriate -- as appropriate or inappropriate.

     19           Q.     Would you say you worked

     20    collaboratively -- collaboratively with the

     21    wholesalers to identify pharmacies that were

     22    suspicious?

     23           A.     That was the goal of the collaboration

     24    with the wholesaler.

    Golkow Litigation Services                                           Page 273
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 344. PageID #: 251892
                                                                             Review

      1           Q.     Okay.    And did you work with all of the

      2    wholesalers that were -- that had signed distributor

      3    agreements with Purdue?

      4           A.     We tried -- we tried to work with all

      5    wholesalers.

      6           Q.     And did they all work with you?

      7           A.     Yeah, I'd say pretty much.

      8           Q.     And so you would share the information you

      9    had that -- of concern about particular pharmacies?

     10           A.     We would share the information of concern.

     11    We wouldn't share any proprietary information that

     12    might be approp -- inappropriate.

     13           Q.     Would you share enough information that --

     14    that the wholesaler could identify the pharmacy?

     15           A.     I believe we would certainly share enough

     16    information to help them identify an issue.

     17           Q.     Now, in the -- in the -- with respect to

     18    the data that you were receiving from the wholesalers,

     19    the data that Purdue had was the same data that the

     20    wholesaler had, correct, with respect to the sales in

     21    and out of the pharmacy?

     22           A.     No, that's not correct.

     23           MR. HOFFMAN:     Object to form, foundation.

     24    BY MS. CONROY:

    Golkow Litigation Services                                           Page 274
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 344. PageID #: 251893
                                                                             Review

      1           Q.     What would they -- what would they have

      2    that was not equal to what Purdue had?

      3           A.     They had only their sales to the pharmacy.

      4    We had everybody's sales to the pharmacy.

      5           Q.     Would you share everyone's sales to the

      6    pharmacy to an individual wholesaler?

      7           A.     We would not share -- since that is

      8    proprietary information, as part of our agreements, we

      9    would not share exact information, but we would say to

     10    Wholesaler X that, although your shipments appear

     11    appropriate and are meeting your parameters, which is

     12    good, you are keeping an eye on the shop, the problem

     13    is, is they are receiving product strength or product

     14    brand or strengths from Wholesaler Y and Wholesaler Z

     15    and they are receive -- receiving -- I'm obviously

     16    making this up, this particular case -- is that they

     17    are receiving orders three days a week from these

     18    other wholesalers.

     19                  That would be a very important information

     20    for our wholesaler partner because from their

     21    standpoint they may believe that they are doing

     22    exactly the right thing without the knowledge that we

     23    were able to share with them.

     24           Q.     And when you would share that knowledge

    Golkow Litigation Services                                           Page 275
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 344. PageID #: 251894
                                                                             Review

      1    with them, it would be their decision then whether to

      2    suspend sales to that pharmacy based on the

      3    information that they learned from Purdue about more

      4    product going to that pharmacy from other wholesalers?

      5           A.     I can't ascertain what --

      6           MR. HOFFMAN:     Objection.

      7    BY THE WITNESS:

      8           A.     I can't ascertain what the decisions of

      9    other wholesalers or -- or a wholesaler would do,

     10    whether they chose to suspend or restrict, but I know

     11    they welcomed the input and support.

     12    BY MS. CONROY:

     13           Q.     Right.    I -- I -- that was my question.

     14                  You shared the information and as far as

     15    you understood they welcomed receiving that

     16    information?

     17           A.     As far as I'm --

     18           Q.     What -- what they did with it was not

     19    something you could see?

     20           A.     Well, we could see if ship -- shipments

     21    decreased, but --

     22           Q.     But you wouldn't know the reason?

     23           A.     We wouldn't know the reason, unless

     24    they -- they may have told Jack or Luis, but...

    Golkow Litigation Services                                           Page 276
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 344. PageID #: 251895
                                                                             Review

      1           Q.     Would there be a record in the suspicious

      2    order monitoring database if Jack or Luis was actually

      3    having conversations with a wholesaler just about what

      4    they would have said and when they had those

      5    conversations to share particular information?

      6           A.     I believe we saw that yesterday in

      7    previous testimony.

      8           Q.     That they put it in the database?

      9           A.     Correct.

     10           Q.     Okay.    You can put that one away.

     11                       (WHEREUPON, a certain document was

     12                         marked Purdue-Seid Deposition Exhibit

     13                         No. 020, for identification, as of

     14                         12/13/2018.)

     15    BY MS. CONROY:

     16           Q.     I'll show you what I've marked as

     17    Exhibit 20.

     18                  Exhibit 20, PPLPC026000037881 through 883.

     19    This is an -- the front sheet is a suspicious orders

     20    meeting and then there are attached meeting minutes

     21    from February 6th of 2008.          And if you turn the page,

     22    these are meeting minutes from a suspicious order

     23    monitoring and reported -- reporting meeting, dated

     24    February 6th, 2008.

    Golkow Litigation Services                                           Page 277
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 344. PageID #: 251896
                                                                             Review

      1                  Would this have been one of the quarterly

      2    meetings you talked about?

      3           MR. HOFFMAN:     I'm sorry.      I'll just object to

      4    form because it indicates it is a rough draft, not the

      5    final minutes, but go ahead.

      6    BY THE WITNESS:

      7           A.     Yeah, this is a rough draft and I don't

      8    see that I was cc'd on this.

      9    BY MS. CONROY:

     10           Q.     Yes.    I'm ask --

     11           MS. CONROY:     I object to any coaching the

     12    witness with your objections.           Just please give a

     13    speaking objection -- don't give a speaking objection.

     14           MR. HOFFMAN:     I'm not coaching the witness.           I

     15    was just clarifying for the record what it was because

     16    you said it was the minutes and it's not, it's the

     17    rough draft.

     18           MS. CONROY:     I read what it was.

     19    BY MS. CONROY:

     20           Q.     If you turn the page, I'm -- I'm going to

     21    ask you if you were present at the meeting, not

     22    whether you received the draft minutes.

     23           A.     It says I was present at the meeting.             I

     24    can't say I remember this meeting.

    Golkow Litigation Services                                           Page 278
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 344. PageID #: 251897
                                                                             Review

      1           Q.     Would this have been one of the quarterly

      2    meetings you talked about?

      3           A.     This does not appear to be a quarterly

      4    meeting.

      5           Q.     What kind of a --

      6           A.     It could have been.

      7           Q.     What kind of a meeting would this have

      8    been, if you can tell?

      9           A.     I can't tell, but let's see.           If I look at

     10    it...

     11                  Jack calls it a suspicious order

     12    monitoring reporting meeting.           I don't know if this

     13    was a group that got together just for a discussion on

     14    suspicious order monitoring or it was a quarterly

     15    meeting based on what's -- I haven't read the whole

     16    thing, but based on what's indicated here, the only

     17    thing I can say is it was a suspicious order

     18    monitoring reporting meeting.

     19           Q.     Okay.    And take a look at the attendees.

     20           A.     Um-hum.     Yes.

     21           Q.     Are those typically the members of the

     22    suspicious order monitoring committee?

     23           A.     Dan Colucci is not usually involved.

     24    Jason Barnes, I'm trying to remember who Jason Barnes

    Golkow Litigation Services                                           Page 279
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 344. PageID #: 251898
                                                                             Review

      1    was.    Jason Barnes, Jason Barnes.          I don't re -- I

      2    remember the name.        I don't remember what his function

      3    was.    Laura Watson wasn't typically a member of the

      4    committee either, Chuck wasn't typically a member of

      5    the committee or Aaron -- well, Aaron would be and

      6    then his subsequent replacement Mark Geraci would be.

      7           Q.     Who was Laura Watson again?

      8           A.     She was director of customer service.

      9           Q.     She was not typically a member?

     10           A.     Not typically a member.

     11           Q.     Customer service would also hear

     12    complaints from the field about suspicious pharmacies,

     13    et cetera?

     14           A.     I don't know.      That's an interesting

     15    question.     I don't know.

     16           Q.     It says the:      "Objective of the Meeting:

     17    To help our distributors to develop a program that we

     18    can share data for our customers/customers relating to

     19    suspicious orders."

     20                  Do you see that?

     21           A.     Yes.

     22           Q.     Do you have any recollection of ever

     23    discussing developing that sort of a program?

     24           A.     We developed a program.         And, again, I

    Golkow Litigation Services                                           Page 280
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 344. PageID #: 251899
                                                                             Review

      1    don't know where Jack was coming from here and if in a

      2    revision he may have said something like develop a

      3    program, that we could develop a program that we can

      4    share data with customers, but I'm not sure what --

      5    I'm not sure what he meant by that objective, whether

      6    it was an existing program or development of a

      7    program.     It would be purely supposition on my part.

      8           Q.     So you don't recall in February of 2008 if

      9    you had a program that would help distributors that

     10    you could share data for our customers' customers

     11    relating to suspicious orders?

     12           A.     I don't remember how row -- robust it was

     13    at that point.

     14           Q.     Do you know if you had one at all?

     15           A.     I don't remember.

     16           Q.     Didn't you tell me yesterday that as soon

     17    as you had fee-for-service agreements signed that you

     18    began to collect data that could --

     19           A.     We were able to see data, yes.

     20           Q.     And that would give you data with respect

     21    to your customers' --

     22           A.     Right.

     23           Q.     -- customers?

     24           A.     Right.    We gave -- but we -- as I

    Golkow Litigation Services                                           Page 281
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 344. PageID #: 251900
                                                                             Review

      1    discussed yesterday, we utilized that data to form a

      2    specific committee and build algorithms.

      3           MS. CONROY:     You need a break?

      4           MR. STANNER:     Yes.

      5           MS. CONROY:     Yeah, of course.       Yep.    Yep.

      6           THE VIDEOGRAPHER:       We are off the record at

      7    10:41 a.m.

      8                       (WHEREUPON, a recess was had

      9                         from 10:41 to 10:56 a.m.)

     10           THE VIDEOGRAPHER:       We are back on the record at

     11    10:56 a.m.

     12    BY MS. CONROY:

     13           Q.     Just before we broke I was asking you

     14    about the suspicious order monitoring committee, and

     15    we were talking about fee-for-service agreements and

     16    using that data to create algorithms to identify

     17    suspicious orders.

     18                  Do you recall that?

     19           A.     I do recall that.

     20           Q.     And I think you told me yesterday that

     21    there were some individuals who helped develop the

     22    algorithm to flag suspicious orders in the

     23    fee-for-service data?

     24           A.     Correct.

    Golkow Litigation Services                                           Page 282
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 344. PageID #: 251901
                                                                             Review

      1           Q.     And who are those individuals?

      2           A.     The individuals were in the IT department.

      3           Q.     So you don't need to -- so they would --

      4    they were IT guys that were --

      5           A.     Who -- who crunched the numbers.

      6           Q.     Okay.    And did you -- did you give them

      7    the -- did you give them the parameters of what you

      8    were looking for or was that someone else that would

      9    help them to develop the algorithm?

     10           A.     We as a group would give them parameters.

     11           Q.     And do you recall what the parameters

     12    were?

     13           A.     Things like volume, number of wholesalers

     14    used, strengths versus other strengths, whether they

     15    bought all Purdue products.          I'm trying to think what

     16    else in the data.       Those are the -- all that come to

     17    mind right now.

     18           Q.     And you would -- there'd be some threshold

     19    level, and if it went over that level with that

     20    criteria that was being put in, it would create a flag

     21    on the -- on the file?

     22           A.     It would ping the system, yeah.

     23           Q.     And did you -- when the system was pinged,

     24    did you just see a report that would come back and it

    Golkow Litigation Services                                           Page 283
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 344. PageID #: 251902
                                                                             Review

      1    would identify them or did you get some sort of an

      2    e-mail that actually said, Here is a specific pharmacy

      3    that has just pinged the data, that has -- that has

      4    just crossed over or flagged?

      5           A.     The chair of the committee would take the

      6    report, identify pharmacies for -- I shouldn't say the

      7    chair of the committee.         The director of OMS, either

      8    Betsy originally or Giselle as her replacement, would

      9    see the data based on the report of what pharmacies

     10    may have exceeded all criteria, some criteria, two

     11    criteria, and create a list of those pharmacies for us

     12    to review.

     13                  We would -- some of us would review them

     14    before the meeting, certainly at the meeting, and then

     15    establish what actions we were going to take.

     16           Q.     When that list of pharmacies that would be

     17    prepared by the -- by either Betsy or Giselle, would

     18    you conduct any investigation of your own before you

     19    went to the meeting or would you wait, go to the -- go

     20    to the suspicious order monitoring meeting and then

     21    come up with a plan of action for each of those?

     22           A.     So you are asking if I was prepared for

     23    the meeting?

     24           Q.     No.    I'm -- I'm -- I'm really -- no.           I'm

    Golkow Litigation Services                                           Page 284
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 344. PageID #: 251903
                                                                             Review

      1    saying did you -- was -- was -- when you got that

      2    list, did that mean you had to do something or did you

      3    wait and go to the meeting and then make decisions

      4    about what to do with that list?

      5           A.     I -- I tried to prepare before I went to

      6    the meeting.

      7           Q.     So you would -- you would look up those

      8    pharmacies that --

      9           A.     True.

     10           Q.     -- were on the list?

     11           A.     Right.

     12           Q.     If you'd turn the page from the draft

     13    minutes.

     14           A.     30?

     15           Q.     There are some bullet items.           It says,

     16    "Approximately 30 authorized distributors."

     17                  Does that sound about right to you?

     18           A.     No.

     19           Q.     How many do you think there were?

     20           A.     12, 13, 14.

     21           Q.     And those were 12 to 14 that had signed

     22    distributor agreements?

     23           A.     Who were -- agreements or ADR letters.

     24           Q.     Would you agree that the top three

    Golkow Litigation Services                                           Page 285
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 344. PageID #: 251904
                                                                             Review

      1    distributors at this time were Cardinal, McKesson and

      2    AmeriSource?

      3           A.     I would agree to that, even though two of

      4    the three are spelled wrong, but still the top three.

      5           Q.     Okay.    "Required to know our customer's

      6    customer."

      7                  Do you see that?

      8           A.     Yes.

      9           Q.     Did you believe that there was a

     10    requirement to know your customer's customer, that

     11    would be the wholesaler's customers?

     12           A.     Correct.

     13           Q.     And did you agree that that was -- that

     14    was required?

     15           MR. HOFFMAN:     Object to form.

     16    BY THE WITNESS:

     17           A.     Based on the two letters which I believe

     18    Jack references in this document and based on what was

     19    in the literature of the time and meetings we

     20    attended, that's the way we, and I think most of the

     21    industry, expected or was -- we felt was the

     22    expectation of the DEA.

     23    BY MS. CONROY:

     24           Q.     Okay.    And in order to know your

    Golkow Litigation Services                                           Page 286
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 344. PageID #: 251905
                                                                             Review

      1    customer's customer, that's the next bullet point:

      2    "How do we want to collect the information through

      3    fee-for-service data?"

      4           A.     Yes.

      5           Q.     And it says:      "Analysis of suspicious

      6    orders 'do we have an obligation to report back to our

      7    customers.'"

      8                  And that, I believe, is what you told me a

      9    few minutes ago, that you would reach out to your

     10    customers and share the information but without

     11    identifying -- without identifying any proprietary

     12    information?

     13           A.     That is correct.

     14           Q.     Down toward the bottom, it says:

     15    "Steve/Robin will meet and follow up with a system

     16    (policy) in place."        And then there is another bullet

     17    that says:      "Develop a policy on a case-by-case

     18    basis."

     19                  Do you see that?

     20                  Do you recall coming up with "a system

     21    (policy) in place" with Robin?

     22           A.     I don't know where Jack was going on that.

     23           Q.     Okay.

     24                  Where it says:       "Are able to obtain

    Golkow Litigation Services                                           Page 287
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 344. PageID #: 251906
                                                                             Review

      1    approximately 97.5 percent data," is that a reference

      2    to the data that could be seen as of 2008 through the

      3    fee-for-service data?

      4           A.     I don't know where Jack was going there.

      5    You'd have to ask him.

      6           Q.     Okay.    The action item that says:

      7    "Develop a order/policy to report 'suspicious orders'

      8    to the DEA by e-mail or by phone," do you know if that

      9    was ever created?

     10                  I know you were not the person that did

     11    it, but do you know if that was ever created?

     12           A.     I do not.

     13           Q.     Okay.    You can put that exhibit away.

     14                       (WHEREUPON, a certain document was

     15                         marked Purdue-Seid Deposition Exhibit

     16                         No. 021, for identification, as of

     17                         12/13/2018.)

     18    BY MS. CONROY:

     19           Q.     I show you what's marked as Exhibit 21.

     20    It looks like I don't have -- I don't have as many

     21    copies of this, but I'll show it up on the screen.

     22    Exhibit 21, PPLPC012000378036 through 037, and then

     23    the rest of it is a native file.

     24                  And these are -- this is a May 30th, 2012

    Golkow Litigation Services                                           Page 288
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 344. PageID #: 251907
                                                                             Review

      1    e-mail that is updating the Purdue committee charters

      2    and it's attaching the committee charters.              And if you

      3    look to Page 45, there is a committee, "The Order

      4    Monitoring System Committee."

      5                  Do you see that?

      6           A.     Yes.

      7           Q.     And it has a charter that:          "Ensures a

      8    comprehensive interdisciplinary effort to comply with

      9    the Drug Enforcement Administration's (DEA) rules and

     10    regulations and enhance our systems, review and

     11    vigilance in the area of suspicious order monitoring."

     12                  Do you see that?

     13           A.     Yes.

     14           Q.     Do you agree that that's part of the

     15    charter of the committee that you were on?

     16           A.     I had nothing to do with this charter.

     17    Actually, this is the first time I've seen it, I

     18    believe.

     19           Q.     Does it sound -- well, read -- read the

     20    charter to yourself, and does it sound like what you

     21    understand -- understood the order monitoring system

     22    committee to be organized to do?

     23           A.     I think it's -- reflects -- ensures a

     24    comprehensive --

    Golkow Litigation Services                                           Page 289
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 344. PageID #: 251908
                                                                             Review

      1                  I think it somewhat reflects what it was.

      2           Q.     Okay.    And the members, does that look

      3    right to you?

      4           A.     I'm surprised they left out Giselle.

      5    Joan -- Joan was there, but she didn't -- she was more

      6    a support person.

      7           Q.     This was -- if you look at the bottom, it

      8    says "March 2009".        It doesn't look like they

      9    changed -- you know, it was -- they were attaching

     10    everything in 2012, but is it possible Giselle became

     11    more involved after March of 2009?

     12           A.     In actually 2009 it probably would have

     13    been Betsy Adams, so I don't know if this -- it said

     14    something in here about changes will be made as

     15    needed, if this was one of those things where changes

     16    needed to be made, there was a subsequent document,

     17    but that was not necessarily all of the people who

     18    attended the meeting.

     19           Q.     If you take a look at "Decision Rights,"

     20    "Decides which accounts need further due diligence

     21    analysis, which accounts to discuss with our

     22    authorized distributors, when to conduct" -- "when to

     23    conduct order monitoring system site visits and when

     24    to report a particular account or order to the DEA as

    Golkow Litigation Services                                           Page 290
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 344. PageID #: 251909
                                                                             Review

      1    suspicious."

      2                  Would you agree that your committee had

      3    the right to do all of those?

      4           MR. HOFFMAN:     Object to form.

      5    BY THE WITNESS:

      6           A.     I would -- the simplistic description of

      7    it, but, yeah, I guess that would be.

      8    BY MS. CONROY:

      9           Q.     It would be?

     10           A.     The -- the decision rights, for this

     11    document it seemed to be an appropriate way to

     12    describe it.

     13           Q.     Okay.    And then the final sentence of

     14    Decision Rights says:         "The committee has the

     15    authority to stop shipments to both wholesale and

     16    retail accounts."

     17                  Do you see that?

     18           A.     I do see that.

     19           Q.     Do you agree that the committee had the

     20    right to do that?

     21           A.     They may have the -- the right to do it.

     22    It would be -- again, this is kind of a simplistic

     23    description.      I don't know what the goal of this

     24    document was, other than to outline committees.

    Golkow Litigation Services                                           Page 291
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 344. PageID #: 251910
                                                                             Review

      1    Again, I would -- if it was me I would phrase it

      2    differently.

      3           Q.     Did the order monitoring system committee

      4    have the authority to stop shipments to both wholesale

      5    and retail accounts?

      6           A.     Well, we could stop wholesale shipments.

      7    We couldn't stop retail shipments.

      8           Q.     Okay.

      9           A.     Since we didn't know about retail

     10    shipments until after the fact.

     11           Q.     Could you have stopped continued retail

     12    shipments?

     13           MR. HOFFMAN:     Object to form.

     14    BY THE WITNESS:

     15           A.     We could have -- we could have recommended

     16    to the wholesaler to stop shipping.

     17    BY MS. CONROY:

     18           Q.     Did you ever do that?

     19           A.     We would make those recommendations where

     20    appropriate.

     21           Q.     And the meetings, it says:          "Meetings are

     22    convened quarterly and as required."

     23                  Does that sound right?

     24           A.     Perhaps when he wrote this document, but

    Golkow Litigation Services                                           Page 292
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 344. PageID #: 251911
                                                                             Review

      1    we would meet more often as needed.

      2           Q.     Well, it says that.        "Con" -- "convene

      3    quarterly and as required"?

      4           A.     Right.

      5           Q.     So that would cover that?

      6           A.     I don't know.      Maybe when they were

      7    establishing charters that quarterly was the way to

      8    go.    I don't know if that was ever the thought of this

      9    committee initially, but that's what's in here.

     10           Q.     Because the committee met more often than

     11    quarterly, is that --

     12           A.     Certainly.

     13           Q.     -- the case?

     14                  We can put that one away.

     15                       (WHEREUPON, a certain document was

     16                         marked Purdue-Seid Deposition Exhibit

     17                         No. 022, for identification, as of

     18                         12/13/2018.)

     19    BY MS. CONROY:

     20           Q.     I'll show you mark -- what I've marked as

     21    Exhibit 22.

     22           A.     Thank you.

     23           Q.     Exhibit 22, PPLPC004000279670 through 71.

     24                  And, actually, I'm not going to ask you

    Golkow Litigation Services                                           Page 293
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 344. PageID #: 251912
                                                                             Review

      1    about the substance of this, but this says:               "Order

      2    Monitoring" -- "OMS Report, May 5th, 2011, Kabs

      3    Pharmacy #5."

      4                  Do you see that?

      5           A.     Yes.

      6           Q.     This looks like a template to me.

      7                  Was this some sort of a template that

      8    would be filled in with information about a particular

      9    pharmacy that had triggered the suspicious order

     10    algorithm?

     11           A.     Yes, it looks like a typical report.

     12           Q.     And who -- would you receive these reports

     13    electronically or would you get a hard copy?

     14           A.     Sometimes both.

     15           Q.     And where would these reports be kept at

     16    Purdue?

     17           A.     They would be kept in legal.

     18           Q.     At the -- in the legal department?

     19           A.     Yes.

     20           Q.     Would you receive these reports at the

     21    time that you would receive the list of pharmacies

     22    that had triggered the suspicious order algorithm or

     23    is this something you would receive later?

     24           A.     They would generally come together.

    Golkow Litigation Services                                           Page 294
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 344. PageID #: 251913
                                                                             Review

      1           Q.     Okay.    Would there be a report for each of

      2    the listed pharmacies that triggered the algorithm?

      3           A.     There would be some type of report, even

      4    if it was a template to get it going.

      5           Q.     Okay.    And then if you look down,

      6    Roman Numeral III, "OMS Investigation Activity," would

      7    this inform -- would this information be filled in as

      8    the investigation proceeded?

      9           A.     Yes.

     10           Q.     So national accounts input, that's what

     11    you would -- you would add to this report with your

     12    investigation?

     13           A.     I would add to this report.

     14           Q.     And that -- and that's where you would do

     15    it where it says "National Accounts Input"?

     16           A.     Yes.

     17           Q.     And then --

     18           A.     Or -- or I would do it verbally and they

     19    would put it in for me.

     20           Q.     Giselle would put it in for you?            You have

     21    to answer.

     22           A.     Yes.

     23           Q.     And that would be potentially at a

     24    committee meeting?

    Golkow Litigation Services                                           Page 295
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 344. PageID #: 251914
                                                                             Review

      1           A.     Yes.

      2           Q.     At the bottom it says:         "Prescriber

      3    Information - Savings Card Data."

      4                  What is that about?

      5           A.     Well, it certainly points to the fact that

      6    I forgot some things, but savings card data, for want

      7    of a better term, or another term that's very common

      8    is co-pay relief cards.         You know, you see them in

      9    those TV advertising as pay $5 a month for your

     10    whatever medication.        Those are cards that take some

     11    of the co-pay burden off of patients.

     12                  We had co-pay cards for our products and

     13    this was a -- an added criteria that we added in

     14    because we thought it was a good idea to see if a

     15    particular pharmacy was utilizing or claiming payment

     16    for these cards at an unusual level.

     17           Q.     Higher would be more suspicious than lower

     18    use?

     19           A.     Higher use would be --

     20           Q.     And --

     21           A.     -- more suspicious.

     22           Q.     -- where does the -- where does the

     23    savings card data come from?           Is that in the

     24    fee-for-service data?

    Golkow Litigation Services                                           Page 296
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 344. PageID #: 251915
                                                                             Review

      1           A.     No.    That's from sales operations.

      2           Q.     Does that come from IMS data or some

      3    version of IMS data?

      4           A.     You would have to ask the sales ops folks

      5    how it was received and aggregated because generally

      6    they came through a third-party vendor.

      7           Q.     Okay.    You would see it in some sort of a

      8    report at the committee level?

      9           A.     I did, yes.

     10           Q.     And savings cards or co-pay relief cards

     11    were used for OxyContin, Butrans, Intermezzo, any of

     12    the opioid products?

     13           A.     That is correct.

     14           Q.     You can put that document away.

     15                        (WHEREUPON, a certain document was

     16                         marked Purdue-Seid Deposition Exhibit

     17                         No. 023, for identification, as of

     18                         12/13/2018.)

     19    BY MS. CONROY:

     20           Q.     Exhibit 23.

     21           A.     Thank you.

     22           Q.     PPLPC034000360255 through 266.

     23                  This is what appears to be meeting minutes

     24    from the order monitoring system monthly meeting and

    Golkow Litigation Services                                           Page 297
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further85Confidentiality
                                                         of 344. PageID #: 251916
                                                                             Review

      1    the OMS quarterly meeting agenda also attached.                They

      2    are minutes for -- from the December 16th, 2009

      3    meeting and the final page is the agenda for the

      4    upcoming January 28th, 2010 meeting.             And you are a

      5    recipient on January 28th of the meeting minutes and

      6    the agenda from Jack Crowley.

      7                  Do you see that?

      8           A.     I see that.

      9           Q.     And if you turn the page, you have the OMS

     10    monthly meeting, December 16th, 2009, 11:00 a.m.

     11                  Would that meeting have taken place in

     12    Stanford at that time at the Purdue headquarters?

     13           A.     Yes, it would.

     14           Q.     And it lists the individuals there.

     15                  Robin Abrams, was she the director of the

     16    meeting?

     17           A.     She was the chair.        She was the -- in

     18    charge of the meeting.

     19           Q.     Okay.    Luis Bauza, Jack Crowley, Mark

     20    Geraci, Gina Limer, yourself and Joan Zooper.

     21                  Do you see that?

     22           A.     Correct.

     23           Q.     And then it says here:         "Robin provided

     24    opening comments and asked the question:              'Are we

    Golkow Litigation Services                                           Page 298
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further86Confidentiality
                                                         of 344. PageID #: 251917
                                                                             Review

      1    adequately managing this process?'"

      2                  She is talking about the order -- the

      3    suspicious order monitoring process, correct?

      4           A.     Yes.

      5           Q.     "She challenged the committee to consider

      6    whether or not we had the right expertise, were we

      7    making timely decisions (since this process is handled

      8    mainly as a collateral duty)."

      9                  Do you see that?

     10           A.     I see that.

     11           Q.     And by "collateral duty," she means that

     12    everyone else on the committee has other corporate

     13    duties as well, correct?

     14           A.     I would expect that this is Jack's

     15    interpretation of what Robin said.

     16           Q.     You were at the meeting.          Do you have any

     17    reason to dispute that that's what she meant?

     18           MR. HOFFMAN:     Object to form.

     19    BY THE WITNESS:

     20           A.     I don't remember this specific meeting.

     21    I'm -- so I can only tell you what I know.

     22    BY MS. CONROY:

     23           Q.     Any reason to doubt that the minutes are

     24    correct?

    Golkow Litigation Services                                           Page 299
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further87Confidentiality
                                                         of 344. PageID #: 251918
                                                                             Review

      1           A.     There is no reason to doubt that.            I'm

      2    just telling you what I remember --

      3           Q.     Okay.

      4           A.     -- or don't remember.

      5           Q.     "Robin mentioned that we need to think

      6    strategically and properly manage our data.               Our

      7    strengths are also our weaknesses.            There don't seem

      8    to be any updates, who's tracking what?              Who owns it?

      9    Robin mentioned that Ed Mahony felt the owner should

     10    be Robin herself."

     11                  Do you see that?

     12           A.     Yes.

     13           Q.     Do you -- do you recall a discussion about

     14    who is tracking what and who should be responsible?

     15           A.     Do I recall a discussion at this meeting

     16    of that?

     17           Q.     Right.    Or at -- maybe not at this meeting

     18    in particular, but do you recall a discussion about

     19    someone needed to own this issue?

     20           A.     I don't specifically remember a discussion

     21    on who should own it.

     22           Q.     It says:     "The Purdue owner will chair the

     23    OMS committee meetings."

     24                  Do you see that?

    Golkow Litigation Services                                             Page 300
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further88Confidentiality
                                                         of 344. PageID #: 251919
                                                                             Review

      1           A.     Yes.

      2           Q.     Do you know what that means?

      3           A.     No.

      4           Q.     "Robin discussed with the committee a

      5    meeting that was held with Ed Mahony, Russ Gasdia and

      6    yourself regarding adding a FTE/Contractor to the

      7    committee."

      8                  Do you see that?

      9           A.     Yes.

     10           Q.     Do you have any memory of that?

     11           A.     No.

     12           Q.     "In the meantime, we need someone to

     13    manage the order monitoring system and be accountable.

     14    It was suggested that Michael Car" -- "Carraturo

     15    (senior manager, field incentives) would be a good

     16    candidate.      The key role for Michael would be," and

     17    then he lists a number of things:            "Tracking the

     18    system; establish a paper trail (files in order);

     19    number crunching and analysis; monitor - sales; work

     20    with Joan on the SharePoint system; and marrying up

     21    all of the data."

     22                  Do you see that?

     23           A.     I do see that.

     24           Q.     Do you recall this being an issue that

    Golkow Litigation Services                                           Page 301
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further89Confidentiality
                                                         of 344. PageID #: 251920
                                                                             Review

      1    they -- you needed someone in to help to marry up all

      2    of the data, track the system, all of those items?

      3           MR. HOFFMAN:     Object to form.

      4    BY THE WITNESS:

      5           A.     This is the -- appears to me to be between

      6    the time that Betsy Adams was supporting the committee

      7    and Giselle Issa took the full-time role.              I'm not

      8    sure how much time Michael Carraturo, if any, spent

      9    with this.

     10    BY MS. CONROY:

     11           Q.     Do you know if anyone ever spent any time

     12    with that?

     13           MR. HOFFMAN:     Object to form.

     14    BY THE WITNESS:

     15           A.     Well, I was going to finish and say that

     16    in that paragraph above the numbered bullets that it

     17    is suggesting a full-time equivalent and/or a slash

     18    contractor and that was, I guess, why they were

     19    considering Michael, but ultimately it became Giselle

     20    Issa who became the full-time equivalent.

     21    BY MS. CONROY:

     22           Q.     So it was Giselle Issa that ended up

     23    dealing with the six numbered items there?

     24           A.     Among other things.

    Golkow Litigation Services                                           Page 302
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further90Confidentiality
                                                         of 344. PageID #: 251921
                                                                             Review

      1           Q.     And where it says at the bottom there:

      2    "We want to create a more disciplined schedule for

      3    review and decision making.          Everyone agreed that we

      4    definitely need someone to own the system."

      5                  That would be Giselle?

      6           A.     My speculation, knowing Jack Crowley's

      7    verbiage, would be what he meant by "own" there was

      8    somebody who would be in charge of gathering the data

      9    and putting it together and coordinating everything.

     10           Q.     Would that be Giselle Issa?

     11           A.     Ultimately it would have been Giselle

     12    since that was her title, OMS director.

     13           Q.     Okay.

     14           A.     Or something along those lines.

     15           Q.     If you turn the page:         "Mark stated that

     16    we need to 'paper the world,' document the files

     17    concerning interactions with wholesalers, and reports

     18    and interactions with DEA where appropriate."

     19                  Do you see that?

     20           A.     Yes, I do.

     21           Q.     And those would be the files that were

     22    kept in the legal department?

     23           A.     Perhaps.     I'm not sure what Jack was

     24    getting to there, but perhaps that would be the files

    Golkow Litigation Services                                           Page 303
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further91Confidentiality
                                                         of 344. PageID #: 251922
                                                                             Review

      1    kept in the legal department.

      2           Q.     Well, the files that concerned

      3    interactions with the wholesalers, reports and

      4    interactions with DEA, would those types -- would that

      5    type of information, if it was put in a file, be in

      6    the legal department?

      7           A.     I would suspect it would be, yes.

      8           Q.     Anywhere else it would be?

      9           A.     I'm not sure.      I don't -- not sure if some

     10    of it would be -- since he is quoting Mark Geraci, I

     11    don't know if some of that is in the corporate

     12    security department or that it might be in the

     13    corporate security department, or both.

     14           Q.     Okay.    So the two places to look would be

     15    the legal department and the corporate security

     16    department?

     17           A.     I would -- I would think so.

     18           Q.     Okay.    If you look next:

     19                  "Robin expressed one other idea.            We need

     20    to ensure that our files are in order, so that SOP and

     21    procedures documents are up-to-date, so that we can

     22    survive an inspection challenge by the government

     23    (i.e. the Drug Enforcement Administration)."

     24                  Do you see that?

    Golkow Litigation Services                                           Page 304
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further92Confidentiality
                                                         of 344. PageID #: 251923
                                                                             Review

      1           A.     Yes.

      2           Q.     Are you -- do you know if there ever was

      3    an inspection or challenge by the DEA?

      4           A.     Not that I'm aware of.

      5           Q.     Do you know if there was an attempt to get

      6    your files up-to-date for that purpose?

      7           A.     For that purpose?

      8           Q.     In case there was a -- in case there was

      9    an inspection or a challenge?

     10           A.     I can't say for that purpose.           I can say

     11    that the -- one of the reasons of getting a

     12    coordinator was that everything was in order,

     13    recorded, documented and kept up-to-date.              I don't

     14    know specifically it was -- the intention was for a

     15    DEA inspection.

     16           Q.     Okay.    And then Robin also advanced two

     17    more agenda items:

     18                  "We will reach out to all other authorized

     19    distributors that we have not had a face-to-face

     20    meeting via teleconference and follow that up with a

     21    letter."

     22                  Do you see that?

     23           A.     Yes.

     24           Q.     And it looked like you were -- you were

    Golkow Litigation Services                                           Page 305
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further93Confidentiality
                                                         of 344. PageID #: 251924
                                                                             Review

      1    assigned that task.

      2                  Do you agree?

      3           A.     I agree it says I was assigned that task,

      4    and I assume if I was assigned that task I did my best

      5    to accomplish it.

      6           Q.     Do you know if you had an opportunity to

      7    talk to all of the authorized distributors about

      8    keeping up-to-date with suspicious order monitoring?

      9           A.     I know -- unrelated to this or just in

     10    general?

     11           Q.     Just in general.

     12           A.     There was not a distributor we had that

     13    supply chain security and suspicious order monitoring

     14    was not discussed.

     15           Q.     Okay.    So there was no one that -- that --

     16           A.     There was --

     17           Q.     -- did not have that dis --

     18           A.     There was --

     19           Q.     -- none of your other --

     20           A.     There was no one that was missed.

     21           Q.     And then it says -- she says:

     22                  "We need to amend our wholesaler contracts

     23    to require that they have a comprehensive suspicious

     24    order monitoring program and limiting their ability to

    Golkow Litigation Services                                           Page 306
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further94Confidentiality
                                                         of 344. PageID #: 251925
                                                                             Review

      1    sell our products to other secondary distributors."

      2                  Do you see that?

      3           A.     Yes.

      4           Q.     Was that ever accomplished, to have a

      5    contract that could lim -- that could limit their

      6    ability to sell Purdue products to other secondary

      7    distributors?

      8           A.     I haven't looked at those contracts in

      9    five, five-and-a-half years, so I can't tell you

     10    specifically if they are in there.            I believe, but I'm

     11    not positive, but I believe that limiting their

     12    ability to sell to secondary distributors is part of

     13    the authorized distributor agreement, and not being --

     14    and I'm not -- since I can't guarantee it, because

     15    I -- it's been a long time since I read it, but I

     16    would be surprised if those two items weren't added.

     17    The language may be different in some of the

     18    contracts, but it would be the same concept.

     19           Q.     And those two items would be an authorized

     20    distributor would need to have a comprehensive

     21    suspicious order monitoring program and limit their

     22    ability to sell Purdue products to other secondary

     23    distributors, those are the two items?

     24           A.     Those -- that is correct.

    Golkow Litigation Services                                           Page 307
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further95Confidentiality
                                                         of 344. PageID #: 251926
                                                                             Review

      1           Q.     The comprehensive suspicious order

      2    monitoring program, is that something that you would

      3    have your eyes on, a wholesaler's suspicious order

      4    monitoring program?

      5           A.     My eyes?

      6           Q.     Correct.

      7           A.     I would not have it on -- I would not

      8    personally have it on their program.

      9           Q.     Could you, pursuant to the distributor

     10    contract, could you audit their suspicious order

     11    monitoring program?

     12           A.     As per previous testimony, we would meet

     13    with our trading area partners -- I mean our

     14    wholesaler partners and discuss policies and

     15    procedures as related to suspicious order monitoring.

     16           Q.     Did you ever audit their suspicious order

     17    monitor files?

     18           A.     I did not do it personally.

     19           Q.     Did someone --

     20           A.     So I -- if it was done, it would be from

     21    another department.        I would check with legal or

     22    corporate security.

     23           Q.     Was there -- did Purdue have the right to

     24    audit the suspicious order monitoring programs of its

    Golkow Litigation Services                                           Page 308
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further96Confidentiality
                                                         of 344. PageID #: 251927
                                                                             Review

      1    authorized distributors?

      2           A.     Unless I had the opportunity to read

      3    through a contract, I couldn't tell you.

      4           Q.     Do you have a -- do you have an -- I'm not

      5    asking you about a specific authorized distributor.

      6                  Do you recall if there were any that there

      7    were auditing rights by Purdue?

      8           A.     I don't remember.

      9           Q.     You do remember, though, that if there

     10    were, it would be a different department that would do

     11    that?

     12           A.     I don't remember that, but since much of

     13    the interaction with the nuts and bolts of a

     14    wholesaler's suspicious order monitoring system or

     15    discussions about accounts was done by either Jack or

     16    Lou Bauza, I would assume, but certainly cannot

     17    guarantee, that it was -- since Jack reported through

     18    legal and Lou reported through corporate security that

     19    it would be one of those departments.

     20           Q.     And if there was an audit ability, that

     21    would be in the distributor agreement, not the

     22    fee-for-service agreement?

     23           A.     If there was something about auditing --

     24    well, there is -- there -- to my recollection,

    Golkow Litigation Services                                           Page 309
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further97Confidentiality
                                                         of 344. PageID #: 251928
                                                                             Review

      1    anything about auditing would probably be in the

      2    fee-for-service because there was other things we

      3    audited like chargebacks -- audited like chargebacks,

      4    so I'm not -- I'm not sure where it would be.               My

      5    assumption was the fee-for-service is a good place to

      6    look, but I'm not sure.

      7           Q.     And you negotiated the fee-for-service

      8    contracts?

      9           A.     Yes, I did.

     10           Q.     But you don't recall if they had an -- an

     11    audit ability?

     12           A.     I don't recall because many folks had

     13    their eyes and contributed to the language in the

     14    fee-for-service agreement.

     15           Q.     Was it something -- and so are you -- are

     16    you telling me that it's something you would have put

     17    in there but someone else may have taken it out down

     18    the -- down the line?

     19           A.     That's not what I'm telling you.

     20           Q.     Okay.    What -- what are you telling me?

     21           A.     I'm telling you that -- that the folks who

     22    reviewed the document before it was submitted to the

     23    account, and then subsequent to the submission,

     24    because the accounts, rightly so, had the opportunity

    Golkow Litigation Services                                           Page 310
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further98Confidentiality
                                                         of 344. PageID #: 251929
                                                                             Review

      1    to review the language in the document, adjust,

      2    contest, add what they felt was appropriate in the

      3    document.     We would receive the document back and

      4    counter, accept, revise.         There were numerous people

      5    in areas of expertise which I did not have which were

      6    included in the fee-for-service contract that would --

      7    would adjust that language all under legal review, of

      8    course.     And if they felt -- if they believed that

      9    that area of expertise, which may have been audit, I'm

     10    not sure, then I would negotiate and say this is what

     11    we stand by.

     12           Q.     So is an audit function -- function

     13    something that you as a committee member of the

     14    suspicious order monitoring committee would have

     15    wanted in a fee-for-service contract, whether or not

     16    you got it or not?

     17           A.     I --

     18           MR. HOFFMAN:     Object to form.

     19    BY THE WITNESS:

     20           A.     I don't -- I don't remember discussing

     21    audits.

     22    BY MS. CONROY:

     23           Q.     With a --

     24           A.     From -- from myself.        Not that it was a

    Golkow Litigation Services                                           Page 311
Case: Highly
      1:17-md-02804-DAP Doc #:-1984-13
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further99Confidentiality
                                                         of 344. PageID #: 251930
                                                                             Review

      1    bad idea, but if you are asking me if I said that, I

      2    don't remember saying it.

      3           Q.     Well, let me ask it this way then.

      4                  So -- so having the ability -- you having

      5    the ability to audit a wholesale -- a -- an authorized

      6    distributor, a wholesaler's suspicious order

      7    monitoring program was not significant to you?

      8           A.     That's not what I said.

      9           Q.     Okay.    Was it --

     10           A.     As --

     11           Q.     Let me -- let me ask you this, then.

     12                  Was -- was it significant to you to have

     13    the ability to audit a wholesaler's suspicious order

     14    monitoring program?

     15           A.     I don't remember if I discussed auditing

     16    at that time.      I knew it was important to me that we

     17    engaged our wholesalers and discussed policies and

     18    procedures where we could work together.              If that is

     19    an audit, then that would -- you -- you could call

     20    that an audit, but that specific word I don't remember

     21    saying.

     22           Q.     Okay.    For clarity, I would not call that

     23    an audit.     I'm talking about an ability of Purdue to

     24    go in and actually see the suspicious mon -- order

    Golkow Litigation Services                                           Page 312
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 100Confidentiality
                                                           of 344. PageID #: 251931
                                                                               Review

       1    monitoring program in place at a wholesaler and -- and

       2    see how the data was collected and -- and make some

       3    assessment of the -- the quality of that data and of

       4    that program.

       5                  Is that anything that you were ever aware

       6    that Purdue was able to do with any of its authorized

       7    wholesalers?

       8          A.      I don't know if it was done or not.

       9          Q.      Have you ever heard anything about that in

      10    existence at all?        Do you know anything about that?

      11          A.      I know that there was engagement with the

      12    wholesalers from our staff with their staff and I

      13    don't know if it was on an audit basis.

      14          Q.      So you don't know if Purdue's staff may,

      15    in fact, have been able to audit some or all of the

      16    wholesalers' suspicious order monitoring programs?

      17          A.      I do not know if it was -- they were

      18    audited.

      19          Q.      No, my question is a little different.

      20    Not whether they were audited.            You don't know if

      21    Purdue had the ability to audit?

      22          A.      I don't know that as a fact, no, that they

      23    had the ability to audit.

      24          Q.      And where would I look to determine if

     Golkow Litigation Services                                            Page 313
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 101Confidentiality
                                                           of 344. PageID #: 251932
                                                                               Review

       1    Purdue had the ability to audit a particular

       2    wholesaler?      Where would -- where would that -- where

       3    would that information be?

       4          A.      Let's just say that Robin advanced this as

       5    an agenda item.       If, in fact, she required it, it

       6    would have been added to the fee-for-service

       7    agreements, so you -- you would look there.                Again,

       8    perhaps there was audit information in the corporate

       9    security files that were specific -- specific audits,

      10    but those are the places I can think of.

      11          Q.      Okay.    So those would be the two places,

      12    the legal department and corporate security?

      13          A.      That I would recommend, yes.

      14          Q.      You can put that document away.

      15                       (WHEREUPON, a certain document was

      16                         marked Purdue-Seid Deposition Exhibit

      17                         No. 024, for identification, as of

      18                         12/13/2018.)

      19    BY MS. CONROY:

      20          Q.      Let me show you what I've marked as

      21    Exhibit 24.      So I guess all of the copies are in that

      22    packet there.

      23                  Exhibit 24, PPLPC004000207529 through 30.

      24    This is an e-mail from you to ValueTrak?

     Golkow Litigation Services                                            Page 314
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 102Confidentiality
                                                           of 344. PageID #: 251933
                                                                               Review

       1          A.      Yes.

       2          Q.      July 13th, 2009.

       3          A.      Yes.

       4          Q.      Do you see this?

       5          A.      Correct.

       6          Q.      And this starts with an e-mail from

       7    ValueTrak, Monday, July 13th, at 1:42 p.m., 2009, to

       8    you, and it says:        "Item exceeds average."

       9                  Do you see that?

      10          A.      Yes.

      11          Q.      Is this an alert concerning something that

      12    triggered a suspicious order over the algorithm at

      13    Purdue?

      14          A.      Yes.

      15          Q.      And this would come directly to you from

      16    ValueTrak as an e-mail?

      17          A.      Yes.

      18          Q.      And is this -- did it typically follow

      19    this, the way this looks, it says:             "The following

      20    exception was generated based on an order number."

      21                  Do you see that?

      22          A.      Yes.

      23          Q.      And then it says:        "Item on order exceeds

      24    average order size."         And then the trigger is an Item

     Golkow Litigation Services                                            Page 315
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 103Confidentiality
                                                           of 344. PageID #: 251934
                                                                               Review

       1    Total of $166,000, which is 162 units, on order and

       2    then the order number exceeded the six-week average by

       3    22.73 percent.

       4                  Do you see that?

       5          A.      Yes.

       6          Q.      So that -- that basically means that

       7    whatever algorithm is in the -- is in the database, it

       8    triggered it 22.73 percent over what was the average

       9    in the database?

      10          A.      That's correct.

      11          Q.      And the trading partner is Smith Drug?

      12          A.      Correct.

      13          Q.      That's a pharmacy?

      14          A.      No.    That's a wholesaler.

      15          Q.      So the trading partner is Smith Drug and

      16    they are located in Valdosta?

      17          A.      I believe that was their -- a distribution

      18    center.

      19          Q.      Okay.    And it involved OxyContin

      20    80-milligram tablets?

      21          A.      Yes.

      22          Q.      And where it says:        "Average exceeded by

      23    20 percent, order handling hold order," what does that

      24    mean?

     Golkow Litigation Services                                            Page 316
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 104Confidentiality
                                                           of 344. PageID #: 251935
                                                                               Review

       1          A.      The trigger for the order alert was then

       2    at the average exceeded 20 percent.

       3          Q.      And what does that mean "hold order"?

       4          A.      The hold order, the order had to be held

       5    before -- until it was reviewed.

       6          Q.      And that review was you?

       7          A.      It was me at that time, yes.

       8          Q.      Okay.    And then we see this came in at

       9    1:41, 1:42 in the afternoon, and then you approved the

      10    order just around five o'clock that afternoon,

      11    correct?

      12          A.      Correct.

      13          Q.      Is that typical?

      14          A.      Is that typical for what?

      15          Q.      For the way you would operate, you

      16    would -- you would get an e-mail like this and then do

      17    whatever you do and then approve or not approve by

      18    e-mail?

      19          A.      Yes.    Correct.

      20          Q.      What would you have done in the interim

      21    between quarter to 2:00 to 5:00 p.m. to -- to reach

      22    your decision?

      23          A.      To reach my decision, I would look at

      24    their ordering patterns, I would go beyond the

     Golkow Litigation Services                                            Page 317
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 105Confidentiality
                                                           of 344. PageID #: 251936
                                                                               Review

       1    six-week average, I would look at the overall sales

       2    for the account, I would look at if there are spikes

       3    for various reasons, if it was a particular concern, I

       4    would have the individual responsible for the account

       5    contact the account and find out if there was any

       6    business reason, meaning new account or anything that

       7    would, you know, change in Medicaid to the area,

       8    whatever, that would impact the ordering pattern.

       9          Q.      And I -- I take it at least in this

      10    instance based on this -- based on your e-mail, you

      11    were satisfied that the 22.73 percent increase was not

      12    suspicious?

      13          A.      I was satisfied --

      14          Q.      And you --

      15          A.      -- apparently.

      16          Q.      Anyone else have to approve to release the

      17    hold?

      18          A.      Not at that time.

      19          Q.      And by "that time," you mean in 2009?

      20          A.      Right.

      21          Q.      Did that change?

      22          A.      We added -- once I added Steven Projansky

      23    to my team, he did a lot of the releases.

      24          Q.      Did anyone else have -- so could Steve

     Golkow Litigation Services                                            Page 318
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 106Confidentiality
                                                           of 344. PageID #: 251937
                                                                               Review

       1    Projansky approve an order or did he have to get your

       2    approval to let the order go through?

       3          A.      As I remember, once he was on board for a

       4    while, he was allowed to approve.

       5          Q.      And so he could take some of the burden

       6    from you?

       7          A.      I guess -- I don't consider it is a

       8    burden, but, yes, he could take some of the

       9    responsibility from me.

      10          Q.      Okay.    There was no one -- you didn't have

      11    to go to Robin Abrams or anyone else?

      12          A.      No, not in that situation.

      13          Q.      Okay.    When you say "not in that

      14    situation," what does that mean?

      15          A.      Because the procedure at that time was

      16    that I was allowed to approve and release the order on

      17    my own.

      18          Q.      Okay.    And that's in July of 2009?

      19          A.      Yes.

      20          Q.      And did that change at any time up until

      21    you retired?

      22          A.      The only major change, again, was the

      23    addition of Steve, who was doing it --

      24          Q.      So --

     Golkow Litigation Services                                            Page 319
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 107Confidentiality
                                                           of 344. PageID #: 251938
                                                                               Review

       1          A.      -- basically full time.

       2          Q.      So either you or then ultimately Steve --

       3          A.      Right.

       4          Q.      -- had the final say with respect --

       5          A.      Correct.

       6          Q.      -- to whether an order would be

       7    approved --

       8          A.      Correct.

       9          Q.      -- or not?

      10                  If the order was not approved, would it

      11    go -- what would happen?          Would it go through the

      12    order monitoring committee?

      13          A.      Well, it depends on -- it was situational.

      14    If, for whatever reason, there was something very

      15    unusual, the account would be contacted.               If it got --

      16    if there was not a satisfactory answer from the

      17    national accounts manager who was responsible for the

      18    account, I would call the account myself.               And then

      19    there was occasion where I would say to the account,

      20    we -- it is our intention to cut the order by

      21    36 units, 24 units, and then we would release it.

      22                       (WHEREUPON, a certain document was

      23                         marked Purdue-Seid Deposition Exhibit

      24                         No. 025, for identification, as of

     Golkow Litigation Services                                            Page 320
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 108Confidentiality
                                                           of 344. PageID #: 251939
                                                                               Review

       1                         12/13/2018.)

       2    BY MS. CONROY:

       3          Q.      Let me show you what I have marked as

       4    Exhibit 25.

       5          A.      Thank you.

       6          Q.      PPLPC004000207523 to 524.

       7                  This is another one, it looks very

       8    similar.     This one, the trigger -- this is dated

       9    Monday, July 13th.        This comes in at 11:35 in the

      10    morning.     The trigger is an H.D. Smith that exceeds by

      11    63.64 percent for OxyContin 30-milligram controlled

      12    release tablets.

      13                  Do you see that?

      14          A.      Yes.

      15          Q.      And about a little under an hour later you

      16    approved that?

      17          A.      Yes.

      18                       (WHEREUPON, a certain document was

      19                         marked Purdue-Seid Deposition Exhibit

      20                         No. 026, for identification, as of

      21                         12/13/2018.)

      22    BY MS. CONROY:

      23          Q.      Take a look at Exhibit 26.

      24          A.      Thank you.

     Golkow Litigation Services                                            Page 321
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 109Confidentiality
                                                           of 344. PageID #: 251940
                                                                               Review

       1           Q.     PPLPC004000208240 to 241.

       2                  Monday, July 20th, 2009.

       3                  Would you get these sort of triggers every

       4    day?

       5           A.     Some days I would get several, other days

       6    I would get none.

       7           Q.     Would a week ever go by that you would not

       8    get any triggers?

       9           A.     I don't -- I'm not sure, but my

      10    expectation is that there would be at least one a

      11    week.    These -- this one and the one before is a small

      12    number of units and OxyContin is packaged -- was

      13    packaged all strengths in cases of 12 -- or multiples

      14    of six, so this was -- they were -- it's a small

      15    account that used to exist here in Chicago that was

      16    ordering a small amount.          The percentage seems high,

      17    but basically it was to send them a full case because

      18    we didn't sell individual units, or we tried not to

      19    sell individual units.

      20           Q.     So would this -- something like this,

      21    Exhibit 20 -- is this 25?

      22           A.     26.

      23           Q.     26.    Something like Exhibit 26, you could

      24    make a decision pretty quickly on something like this?

     Golkow Litigation Services                                            Page 322
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 110Confidentiality
                                                           of 344. PageID #: 251941
                                                                               Review

       1          A.      Something like that.

       2          Q.      Okay.    And, in fact, you did.          It took you

       3    under two hours to make that decision, correct?

       4          A.      Correct.

       5                       (WHEREUPON, a certain document was

       6                         marked Purdue-Seid Deposition Exhibit

       7                         No. 027, for identification, as of

       8                         12/13/2018.)

       9    BY MS. CONROY:

      10          Q.      Exhibit 27, PPLPC00400213649 to 650.

      11                  This is September 9th of 2009 and this

      12    was, again, an e-mail from ValueTrak to you.                This is

      13    a trigger on what looks like a much larger order,

      14    $442,063, 408 units, and it was up about

      15    146.26 percent for OxyContin 80-milligram controlled

      16    release tablets.

      17                  Do you see that?

      18          A.      Yes.

      19          Q.      And this was, again, Smith Drug and this

      20    was a quick approval in about 30 minutes.

      21                  Did you do any investigation to approve

      22    this suspicious order?

      23          MR. HOFFMAN:       Object to form.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 323
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 111Confidentiality
                                                           of 344. PageID #: 251942
                                                                               Review

       1          A.      I don't know.       I assume I did, but I don't

       2    know.

       3    BY MS. CONROY:

       4          Q.      But whatever you did, you did it within

       5    about a half an hour?

       6          A.      That's what it appears, yeah.

       7          Q.      And that's 146.26 percent on a large

       8    order, that's not like the one we just looked at,

       9    correct?

      10          A.      Correct.

      11          Q.      Which was just concerning a case?

      12          MR. HOFFMAN:       Object to form.

      13    BY MS. CONROY:

      14          Q.      You have to answer verbally.

      15          A.      Correct.

      16          Q.      And this was a large order, correct?

      17          A.      Correct.

      18                       (WHEREUPON, a certain document was

      19                         marked Purdue-Seid Deposition Exhibit

      20                         No. 028, for identification, as of

      21                         12/13/2018.)

      22    BY MS. CONROY:

      23          Q.      Exhibit 28, PPLPC004000214875.            This was

      24    H.D. Smith dated September 24th of 2009.               This was an

     Golkow Litigation Services                                            Page 324
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 112Confidentiality
                                                           of 344. PageID #: 251943
                                                                               Review

       1    order of 144 units oxy 80-milligram controlled release

       2    and the trigger was -- trigger average was up by

       3    133.41 percent.

       4                  Do you see that?

       5          A.      Yes.

       6          Q.      And this was approved in about ten

       7    minutes, correct?

       8          A.      Correct.

       9          Q.      Do you have any understanding or memory of

      10    what sort of investigation you would have done to

      11    release this order?

      12          A.      I don't.

      13          Q.      Do you consider this a large order?

      14          A.      I'll -- for that account that was a pretty

      15    large order, not exceptionally large, but a large

      16    order.     I mean a large order relatively, but...

      17                       (WHEREUPON, a certain document was

      18                         marked Purdue-Seid Deposition Exhibit

      19                         No. 029, for identification, as of

      20                         12/13/2018.)

      21    BY MS. CONROY:

      22          Q.      Let me show you Exhibit 29,

      23    PPLPC00400218107 through 108.

      24                  Exhibit 29 is a -- an order trigger on

     Golkow Litigation Services                                            Page 325
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 113Confidentiality
                                                           of 344. PageID #: 251944
                                                                               Review

       1    October 27th of 2009 and the wholesaler is Cardinal

       2    Health and this is a -- an order of OxyContin

       3    15-milligram tablets controlled release that was up by

       4    almost 95 percent over the average and this took you

       5    about a minute to approve?

       6          A.      Um-hum.

       7          Q.      Two minutes.

       8                  You couldn't do any investigation in two

       9    minutes, correct?

      10          MR. HOFFMAN:       Object to form.

      11    BY THE WITNESS:

      12          A.      Other than what I knew of the account, no.

      13    BY MS. CONROY:

      14          Q.      And what did you know of the account?

      15          A.      That this was the National Logistics

      16    Center, this was products for all of their DCs, that

      17    there was variability as to the orders that would go

      18    to the NLC -- NLC because they were distributing to

      19    24, 26 locations, so I would release this order.                 This

      20    was the lowest strength of OxyContin.

      21          Q.      Did that make a difference to you, the

      22    fact that it was the lowest strength of OxyContin?

      23          A.      Well, it was lowest strength and -- I

      24    don't know other -- what other issues may have been --

     Golkow Litigation Services                                            Page 326
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 114Confidentiality
                                                           of 344. PageID #: 251945
                                                                               Review

       1    I may have been looking at at the time.              There could

       2    have been an -- have out-of-stock situation previously

       3    or -- I don't know off the top of my head.

       4                       (WHEREUPON, a certain document was

       5                         marked Purdue-Seid Deposition Exhibit

       6                         No. 030, for identification, as of

       7                         12/13/2018.)

       8    BY MS. CONROY:

       9          Q.      I'm going to mark as Exhibit 30

      10    PPLPC00400215590.

      11                  This is dated October 1st of 2009.             This

      12    is a McKesson RDC.        Is that one of those --

      13          A.      Regional distribution centers, yes.

      14          Q.      Okay.    And this is very large,

      15    $4.6 million, 14,256 units of OxyContin 20-milligrams.

      16                  Do you see that?

      17          A.      Yes, I do.

      18          Q.      And over by 76.1 percent.          And you

      19    approved this one in under an hour.

      20                  Would that be because it is an RDC?

      21          A.      One of the key factors, yes, it would be

      22    an RDC.

      23          Q.      Is there a reason why you did not attempt

      24    to change the algorithm in some way to -- to account

     Golkow Litigation Services                                            Page 327
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 115Confidentiality
                                                           of 344. PageID #: 251946
                                                                               Review

       1    for RDCs and those issues?

       2          MR. HOFFMAN:       Object to form, foundation.

       3    BY THE WITNESS:

       4          A.      As I recollect, I'm not sure why we didn't

       5    change it, but I remember saying to the folks -- no, I

       6    shouldn't say I remember saying to the folks in

       7    customer service, but that's certainly one of the

       8    things I thought about was I'd rather have the

       9    responsibility of looking at the order rather than

      10    changing the algorithm just so it would pass my eyes

      11    one more time, there would be one set -- more set of

      12    eyes on it before it was released rather than just

      13    upping the algorithm.

      14          Q.      And -- and that's because even though it

      15    was an RDC or for some other reason, it may still be

      16    suspicious to you, correct?

      17          A.      Right, so I wanted the opportunity to put

      18    one more set of eyes on it.

      19          Q.      The issue of chargebacks, are they -- is

      20    that something that would be in the fee-for-service

      21    agreement or in the distributor agreement or both?

      22          A.      Would you be more specific on chargebacks?

      23          Q.      Sure.    Let me -- I -- I think you need to

      24    explain to me, I'm going to mark as the next

     Golkow Litigation Services                                            Page 328
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 116Confidentiality
                                                           of 344. PageID #: 251947
                                                                               Review

       1    exhibit 31.

       2                       (WHEREUPON, a certain document was

       3                         marked Purdue-Seid Deposition Exhibit

       4                         No. 031, for identification, as of

       5                         12/13/2018.)

       6    BY MS. CONROY:

       7          Q.      This is something that you are not on

       8    but --

       9          A.      Then since it may take a -- a minute for

      10    me to look at, can we take a break?

      11          Q.      Sure.

      12          A.      Okay.    Thanks.

      13          THE VIDEOGRAPHER:        We are off the record at

      14    12:03 p.m.

      15                       (WHEREUPON, a recess was had

      16                         from 12:03 to 12:13 p.m.)

      17                       (WHEREUPON, certain documents were

      18                         marked Purdue-Seid Deposition Exhibit

      19                         No. 032 and No. 033, for

      20                         identification, as of 12/13/2018.)

      21          THE VIDEOGRAPHER:        We are back on the record at

      22    12:13 p.m.

      23    BY MS. CONROY:

      24          Q.      Mr. Seid, while you were employed by

     Golkow Litigation Services                                            Page 329
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 117Confidentiality
                                                           of 344. PageID #: 251948
                                                                               Review

       1    Purdue, did you ever communicate using a personal

       2    e-mail and not your corporate e-mail?

       3          A.      I didn't have a personal e-mail until I

       4    retired.

       5          Q.      Okay.    That makes it easy.

       6                  Have you ever been convicted of a crime

       7    yourself?

       8          A.      No.

       9          Q.      If you would take a look at Exhibit 32,

      10    this is an e-mail dated November 10th of 2010, and

      11    it's talking about, if you look at the bottom, it's

      12    Steve Bishop from Michael Kody about Butrans and then

      13    it goes up to you, but it's talking about a

      14    one-page Word version of the information that you

      15    would like to include in the fax blast:

      16                  "We will send the document to

      17    approximately 7,000 customers and bill Purdue $8,400."

      18                  Do you see that?

      19          A.      Yes.

      20          Q.      And this is an example of the type of

      21    promotion that would be carried out by

      22    AmerisourceBergen on behalf of Purdue and then

      23    Purdue -- then AmerisourceBergen would bill Purdue for

      24    that, correct?

     Golkow Litigation Services                                            Page 330
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 118Confidentiality
                                                           of 344. PageID #: 251949
                                                                               Review

       1          MR. HOFFMAN:       Object to form.

       2    BY THE WITNESS:

       3          A.      So this was starting with Kody to Steve.

       4    And there is no attachment with this, it talks about a

       5    list that was attached.

       6    BY MS. CONROY:

       7          Q.      I don't have the attachment, but what I'm

       8    asking is do you see Michael Kody is at

       9    AmerisourceBergen?

      10          A.      Yes.    You know, I just want to get the

      11    full understanding of what was -- this is about.

      12                  Yes, this looks like an approved document

      13    that was distributed under a marketing program by

      14    AmerisourceBergen that we paid for.

      15          Q.      Thank you.      You can put that away.

      16                  Take a look at Exhibit 33, which I'm just

      17    going to ask you -- it looks pretty thick, but I'm

      18    just going to ask you about it.            I see that it is

      19    dated April 16th of 2014 and there is a -- a Purdue

      20    meeting scheduled with AmerisourceBergen the next day?

      21          A.      Yes.

      22          Q.      That's up on the subject line.

      23                  And would this -- would this be the type

      24    of meeting that was -- or an example of a presentation

     Golkow Litigation Services                                            Page 331
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 119Confidentiality
                                                           of 344. PageID #: 251950
                                                                               Review

       1    that would be given to a wholesaler concerning the

       2    suspicious order monitoring program?

       3                  If you take a look on Page 3 of the slide

       4    deck, that might help you.

       5          A.      Yes, this looks like a -- one of a series

       6    of meetings shortly before I retired.              And it does say

       7    on the -- Points of Discussion, Collaboration, Purdue

       8    OMS Update, et cetera.

       9          Q.      And then on Page 3 it says:

      10    "Collaboration Efforts.         Supporting authorized

      11    distributors with their order monitoring" --

      12          A.      Um-hum.

      13          Q.      -- "system programs in an effort to limit

      14    diversion while ensuring access for appropriate

      15    patients."

      16                  Do you see that on the slide itself on

      17    Page 3?

      18          A.      I just want to see, those look like

      19    speaker notes to me.

      20          Q.      Right.     And do you just see on Page 3 it

      21    has the Slide No. 3?

      22          A.      Yes, I see that.

      23          Q.      Do you see the language there:

      24    "Collaboration Efforts.         Supporting authorized

     Golkow Litigation Services                                            Page 332
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 120Confidentiality
                                                           of 344. PageID #: 251951
                                                                               Review

       1    distributors with their OMS programs in an effort to

       2    limit diversion while ensuring access for appropriate

       3    patients."

       4                  Do you see that?

       5          A.      Yes, I see that.

       6          Q.      And this would have been part of the

       7    presentation that you would have given to

       8    AmerisourceBergen the next day?

       9          A.      It would be part of a presentation that I

      10    attended with AmerisourceBergen.

      11          Q.      And would --

      12          A.      I -- I'm not necessarily the speaker.

      13          Q.      Okay.    And then if you take -- is it -- is

      14    it fair to say that these presentations would have

      15    been conducted with other wholesaler distrib --

      16    distributors as well --

      17          A.      They would --

      18          Q.      -- this sort of -- of presentation?

      19          A.      This sort of presentation would be done

      20    with other wholesalers.

      21          Q.      And you would have been present?

      22          A.      I would have been present.

      23          Q.      Okay.    You can put that away.

      24                  The Exhibit 31 looks to me like a

     Golkow Litigation Services                                            Page 333
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 121Confidentiality
                                                           of 344. PageID #: 251952
                                                                               Review

       1    teaching -- a teaching Level 150 on institutional

       2    contracts that was conducted by Christine Ostrowski.

       3                  Do you see that?

       4          A.      Yes, I see that.

       5          Q.      And I have a question about -- the best

       6    way to get to it is if you look at the Bates at the

       7    bottom, 744 is what I would like to look at.

       8          A.      744.

       9          Q.      Actually, we can even go to 7 -- 743

      10    first.     It has a -- it has a -- has a diagram.

      11                  Do you see that?

      12          A.      Yeah.

      13          Q.      Are you familiar with this process?             Is

      14    that something you would have understood as head of

      15    national accounts and trade relations?

      16          A.      I was certainly familiar with it.

      17          Q.      Would you have been aware of the pricing

      18    differences and the chargebacks between wholesalers

      19    and Purdue or would that be a different department?

      20          A.      That would be a different department.

      21          Q.      So the scorecard that you would look at

      22    with respect to a wholesaler, that would not -- would

      23    that have chargebacks on it?

      24          A.      No.

     Golkow Litigation Services                                            Page 334
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 122Confidentiality
                                                           of 344. PageID #: 251953
                                                                               Review

       1          Q.      And what about managed care rebates or

       2    Medicaid or Medicare rebates, would that be anything

       3    you would deal with in national accounts?

       4          A.      That was not me.        That was not national

       5    accounts.     I'm sorry.

       6          Q.      Okay.    Was this anything -- would the --

       7    was the kind of information concerning a GPO contract

       8    that may have op -- been in operation at Purdue,

       9    versus distributor pricing, anything to do with your

      10    suspicious order monitoring tracking system?                Would

      11    it -- would -- would the GPO contract be of any

      12    interest to you in determining whether or not an order

      13    was suspicious?

      14          A.      Well, if a product was on a GPO contract

      15    or a wholesaler was awarded an additional GPO

      16    contract, it might be a factor in whether the -- or if

      17    it lost the GPO contract, it might be a factor as to

      18    what the order should look like.

      19          Q.      Would you -- would you be able to see

      20    whether or not there was a GPO contract in effect or

      21    is that something you would learn through

      22    investigation -- internal investigation at Purdue?

      23          A.      I -- that department was operated

      24    separately and very efficiently.            If there was an

     Golkow Litigation Services                                            Page 335
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 123Confidentiality
                                                           of 344. PageID #: 251954
                                                                               Review

       1    issue with one of my wholesalers or one of our

       2    wholesalers, the folks at -- involved with the

       3    contracts and rebates would reach out to me.

       4          MS. CONROY:      Thank you.      I have no further

       5    questions at this time.

       6                  Oh, maybe I do?

       7                  Oh, I do.      I'm sorry.

       8                        (WHEREUPON, a certain document was

       9                         marked Purdue-Seid Deposition Exhibit

      10                         No. 034, for identification, as of

      11                         12/13/2018.)

      12    BY MS. CONROY:

      13          Q.      I gave you -- I just want to put on the

      14    record, I gave you exhibit -- what is that exhibit in

      15    front of you?

      16          A.      34.

      17          Q.      34 is the -- is your personnel file that

      18    was provided to us.        I don't have more copies.          I

      19    think there is one copy of that.            So that's marked and

      20    on the record.

      21                  And just for the record, I'm going to mark

      22    as exhibit -- I'll put them in a folder, Exhibit 35,

      23    my Elmo notes so we have them for the record.

      24          A.      I assure you I don't want to read this.

     Golkow Litigation Services                                            Page 336
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 124Confidentiality
                                                           of 344. PageID #: 251955
                                                                               Review

       1          Q.      Yeah, it's very solid.

       2                       (WHEREUPON, a certain document was

       3                         marked Purdue-Seid Deposition Exhibit

       4                         No. 035, for identification, as of

       5                         12/13/2018.)

       6          MS. CONROY:      Thank you, Mr. Seid.

       7          THE WITNESS:       Thank you.

       8          MS. CONROY:      I'm just going to put a clip on

       9    these.

      10          THE VIDEOGRAPHER:        We'll go off the record at

      11    12:23 p.m.

      12                       (WHEREUPON, a recess was had

      13                         from 12:23 to 1:33 p.m.)

      14          THE VIDEOGRAPHER:        We are back on the record at

      15    1:33 p.m.

      16                               EXAMINATION

      17    BY MR. STEWART:

      18          Q.      Mr. Seid, I am Mike Stewart and I

      19    represent some Plaintiffs in Tennessee.

      20                  A question, you had talked -- do you

      21    recall during this -- your testimony that you have

      22    talked periodically about Purdue's order monitoring

      23    system?

      24          A.      Yes, I have.

     Golkow Litigation Services                                            Page 337
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 125Confidentiality
                                                           of 344. PageID #: 251956
                                                                               Review

       1          Q.      And that's a system that covers order

       2    monitoring across the United States?

       3          A.      Yes.

       4          Q.      Is your testimony regarding the order

       5    monitoring system applicable to how it works in all of

       6    the states?

       7          A.      I'm not sure I understand.

       8          Q.      I guess my question is, you know, I'm

       9    representing people in Tennessee, and I'll assume from

      10    the way you've described the order monitoring system

      11    that it generally applies to Tennessee in the same way

      12    it applies to every other state?

      13          A.      It would be applied, yes, the same across

      14    the board.

      15          Q.      Generally speaking, when you've been

      16    talking about Purdue's national policies in your

      17    deposition testimony, have you been talking about

      18    policies that apply across the board, across the

      19    United States?

      20          A.      Policies were consistent.

      21          Q.      So it's -- you don't have policies that

      22    treat Tennessee differently from other states?

      23          A.      No.    We wouldn't do that.

      24                        (WHEREUPON, a certain document was

     Golkow Litigation Services                                            Page 338
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 126Confidentiality
                                                           of 344. PageID #: 251957
                                                                               Review

       1                         marked Purdue-Seid Deposition Exhibit

       2                         No. 036, for identification, as of

       3                         12/13/2018.)

       4    BY MR. STEWART:

       5          Q.      I'd like to start out with an exhibit.

       6    I'll hand the witness a document which we've already

       7    seen, which is --

       8          MR. HOFFMAN:       Is that from yesterday's?

       9          MR. STEWART:       Yes.   It is from the 30(b)(6)

      10    deposition.

      11    BY MR. STEWART:

      12          Q.      Do you recognize that document?

      13          A.      Yes, from yesterday.

      14          Q.      And can you read the exhibit sticker, what

      15    exhibit is it?

      16          A.      Seid 36.

      17          Q.      Yes.

      18                  And what is Exhibit Seid 36?

      19          A.      It looks to be a slide presentation.

      20          Q.      And what -- what is -- what is the

      21    presentation of?

      22          A.      The title of the presentation is:             "Order

      23    Monitoring System (OMS):          A Manufacturer's

      24    Perspective."

     Golkow Litigation Services                                            Page 339
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 127Confidentiality
                                                           of 344. PageID #: 251958
                                                                               Review

       1          Q.      And I think you testified this

       2    presentation that you are looking at is one that you

       3    actually attended, fair?

       4          A.      Yes.

       5          Q.      And remind us who Robin Abrams is?

       6          A.      Robin Abrams -- Abrams -- Robert --

       7    Robin -- sorry.

       8                  Robin Abrams is the vice president and

       9    associate general counsel at Purdue.

      10          Q.      And what was her relationship to the order

      11    monitoring system?

      12          A.      She was the chair of the order monitoring

      13    system group.

      14          Q.      That put her essentially, is it fair to

      15    say, in charge of the order monitoring system at

      16    Purdue?

      17          A.      I would say that's fair.

      18          Q.      And can you turn to the -- they are not

      19    page numbers, but can you turn to the next page of the

      20    PowerPoint presentation that you are looking at?

      21          A.      Yep.

      22          MR. STANNER:       Do you have a screen or put it up

      23    on the Elmo?

      24          MR. STEWART:       We have so many versions.

     Golkow Litigation Services                                            Page 340
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 128Confidentiality
                                                           of 344. PageID #: 251959
                                                                               Review

       1          MR. HOFFMAN:       You know what, Mike, I think we

       2    might have a problem because yours is double sided and

       3    it looks like ours are single sided and every other

       4    page is skipped.       Because I have 3, 5, 7, 9.

       5          THE WITNESS:       I was just going to say the same

       6    thing.

       7          MR. STEWART:       Well, first of all, you all have

       8    copies, theoretically, but let's go off the record for

       9    a moment and just fix that right now.

      10          THE VIDEOGRAPHER:        We are off the record at

      11    1:36 p.m.

      12                       (WHEREUPON, a recess was had

      13                         from 1:36 to 1:45 p.m.)

      14          THE VIDEOGRAPHER:        We are back on the record at

      15    1:45 p.m.

      16    BY MR. STEWART:

      17          Q.      Mr. Seid, we are back on the record.              And

      18    just to keep things clear, can you look on the

      19    document you've got and confirm that you've got

      20    Exhibit 36 in front of you?

      21          A.      That's what I have.

      22          Q.      Okay.    Can you turn to the second page of

      23    this PowerPoint presentation?

      24          A.      I am there.

     Golkow Litigation Services                                            Page 341
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 129Confidentiality
                                                           of 344. PageID #: 251960
                                                                               Review

       1          Q.      And this is the Robin Abrams PowerPoint

       2    presentation you've already testified about today?

       3          A.      Correct.

       4          Q.      And do you see a -- this slide is entitled

       5    "Mission of the Purdue OMS Program"?

       6          A.      Yes.

       7          Q.      What does "OMS" stand for?

       8          A.      Order monitoring system.

       9          Q.      If we talk about an OMS program, can we

      10    agree today that we are talking about the order

      11    monitoring system?

      12          A.      Yes.

      13          Q.      And do you see that at the bottom of this

      14    slide there is a statement:           "Reporting of suspicious

      15    ordering to DEA, other law enforcement, or state

      16    licensing boards, as appropriate."

      17                  Do you see that?

      18          A.      Yes.

      19          Q.      That is listed as a mission of the Purdue

      20    order monitoring system -- OMS program?

      21          A.      That's what it says on the slide.

      22          Q.      Okay.

      23                  Question:      Can you explain when, per the

      24    OMS program, a suspicious order would be reported to

     Golkow Litigation Services                                            Page 342
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 130Confidentiality
                                                           of 344. PageID #: 251961
                                                                               Review

       1    law enforcement as opposed to the DEA?

       2          A.      I really don't know the distinction there.

       3          Q.      Okay.    You've got the DEA.

       4                  Do you know what the DEA is?

       5          A.      Yeah, I understand that.          I don't

       6    understand -- I know that there were individuals who

       7    were in contact with local law enforcement and I know

       8    that Robin put this in the slide and I am not sure why

       9    she put it with reporting of suspicious order

      10    monitoring.

      11          Q.      With regard to the OMS program, were you

      12    on the OMS committee?

      13          A.      Yes, I was.

      14          Q.      And Robin Abrams was the chairwoman of

      15    that committee, correct?

      16          A.      Correct.

      17          Q.      And the OMS committee would make the

      18    decisions about referrals to the DEA?

      19          A.      DEA.

      20          Q.      Is that right?

      21          A.      Yes.

      22          Q.      And if we talk about the DEA today, we are

      23    talking about the US Drug Enforcement Administration,

      24    is that fair?

     Golkow Litigation Services                                            Page 343
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 131Confidentiality
                                                           of 344. PageID #: 251962
                                                                               Review

       1          A.      Yes.

       2          Q.      So, to be clear, did -- did -- do you

       3    recall the OMS committee ever referring a pharmacist

       4    to law enforcement other than the Drug Enforcement

       5    Administration?

       6          A.      I don't recall it.        I can't say it wasn't

       7    done or it was done or not -- it was done or not done,

       8    but I don't recall it.

       9          Q.      You are on the OMS committee from its

      10    inception to -- until the time you retired, is that

      11    fair?

      12          A.      That's fair.

      13          Q.      You retired in when?

      14          A.      May 2014.

      15          Q.      Okay.    So when we are talking about what

      16    you remember, you can certainly speak with regard to

      17    the OMS program for the period that you were on the

      18    OMS committee, is that fair?

      19          A.      That's correct.

      20          Q.      Do you recall the OMS committee ever

      21    referring a pharmacist or medical provider or anybody

      22    else to a state licensing board?

      23          A.      I don't.

      24          Q.      Direct your attention to the next page of

     Golkow Litigation Services                                            Page 344
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 132Confidentiality
                                                           of 344. PageID #: 251963
                                                                               Review

       1    this PowerPoint presentation that is Exhibit 36.

       2                  Do you see that this is a PowerPoint slide

       3    that is entitled "The History of the Purdue OMS

       4    Program"?

       5          A.      Yes, I see that.

       6          Q.      And was the OMS program instituted after

       7    the DEA demanded that manufacturers start conducting

       8    independent analysis and exercise due diligence to

       9    confirm the legitimacy of orders and to scrutinize

      10    suspicious circumstances?

      11          MR. HOFFMAN:       Object to form.

      12    BY THE WITNESS:

      13          A.      Yes.

      14    BY MR. STEWART:

      15          Q.      Now, if you could move two pages forward,

      16    I'd like to move to a page entitled "OMS Information

      17    Sources."

      18                  Do you see that?

      19          A.      I do see that.

      20          Q.      Okay.    What is this slide telling the

      21    viewer?

      22          A.      It's telling the viewer that there were

      23    various sources of information utilized by the OMS.

      24          Q.      Was there any legal limit on the sources

     Golkow Litigation Services                                            Page 345
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 133Confidentiality
                                                           of 344. PageID #: 251964
                                                                               Review

       1    that the OMS committee could review in its discretion?

       2          MR. HOFFMAN:       Object to form.

       3    BY THE WITNESS:

       4          A.      Was there any legal limit?

       5    BY MR. STEWART:

       6          Q.      I'll tell you what.         Strike that.      Let me

       7    rephrase it.

       8                  The -- the DEA directed that Purdue use

       9    due diligence to try to ferret out diversion, fair?

      10          MR. HOFFMAN:       Object to form.

      11    BY THE WITNESS:

      12          A.      The DEA -- if you read the letters of

      13    September 2016 or December 2017, what the letters

      14    specifically say, and I'm doing this from memory,

      15    is -- I shouldn't say specifically then.               I'm doing

      16    this from memory.

      17                  But what the letters say is that

      18    distributors of opioid products are required under

      19    Sections USC 823 and more specifically under

      20    1301.74(b) to develop and implement a suspicious order

      21    monitoring system.

      22                  In one of those two letters, and I forget

      23    which, perhaps in both, it says the -- something along

      24    the lines of the type and form of that committee,

     Golkow Litigation Services                                            Page 346
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 134Confidentiality
                                                           of 344. PageID #: 251965
                                                                               Review

       1    there will be no specific recommendations by the DEA

       2    as to the form and type of that committee and it is

       3    the obligation of the -- the manufacturer or

       4    distributor, as they called it, to develop that.

       5          MR. HOFFMAN:       I'm sorry.     Mike, can I -- go

       6    ahead.     Go ahead.

       7          MS. PORTER:      I was just going to pause.

       8                  You said 2016 and 2017.          I just wanted

       9    to --

      10          THE WITNESS:       Sorry.

      11          MS. PORTER:      -- check with you on the -- on the

      12    years.

      13          THE WITNESS:       Sorry about that.

      14          MS. PORTER:      Before we get too far down the

      15    road.

      16          THE WITNESS:       Yes, I did.      I'm sorry.

      17    BY THE WITNESS:

      18          A.      It was 2006 and 2007.

      19    BY MR. STEWART:

      20          Q.      And --

      21          A.      Sorry about that.

      22          Q.      Your -- your counsel answered my next

      23    question.

      24                  So -- so the point is what the DEA -- the

     Golkow Litigation Services                                            Page 347
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 135Confidentiality
                                                           of 344. PageID #: 251966
                                                                               Review

       1    DEA didn't -- didn't send out a precise framework,

       2    they assigned a duty to Purdue and then Purdue's order

       3    monitoring system was developed to fulfill that duty

       4    to use due diligence and care to try to ferret out

       5    diversion, fair?

       6          A.      Fair that it's not just Purdue but anybody

       7    who is a distributor was required to do that.

       8          Q.      And -- and so when you are talking about

       9    the information that -- information sources that

      10    Purdue would use as part of its OMS system, those are

      11    information sources that are not -- that are simply

      12    information available to Purdue that it can use to

      13    fulfill this mission, they are not req -- in other

      14    words -- strike that.

      15                  Purdue, I take it, and the OMS committee

      16    specifically, will use whatever information is at hand

      17    to fulfill the mission of using due diligence to find

      18    diversion, fair?

      19          MR. HOFFMAN:       Object to form.

      20    BY THE WITNESS:

      21          A.      Purdue would use whatever information was

      22    available and seek other resources as we refined the

      23    activities of the -- the committee.

      24    BY MR. STEWART:

     Golkow Litigation Services                                            Page 348
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 136Confidentiality
                                                           of 344. PageID #: 251967
                                                                               Review

       1          Q.      And are the items listed on the slide

       2    that's part of Exhibit 36, the slide you are looking

       3    at right now --

       4          A.      Yes.

       5          Q.      -- entitled "OMS Information Sources"?

       6          A.      Yes.

       7          Q.      Are those all types of information that,

       8    in fact, the OMS committee felt it could look at?

       9          MS. PORTER:      I think you are on the wrong page.

      10                  Here.

      11    BY THE WITNESS:

      12          A.      I think, since this was not my

      13    presentation and I'm going to give my assumption here,

      14    is that these points were fleshed out and that there

      15    were probably sub points underneath these would --

      16    that would uncover more granularity as to various

      17    aspects of the sources.

      18                  For example, when it's talking about the

      19    second bullet of "IMS outlook prescriber data and

      20    sales ops outlier analysis," there would be other

      21    things underneath that, I would assume, that would be

      22    presented, so that this is a broader overview.

      23    BY MR. STEWART:

      24          Q.      But I take it the board -- or the OMS

     Golkow Litigation Services                                            Page 349
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 137Confidentiality
                                                           of 344. PageID #: 251968
                                                                               Review

       1    committee within Purdue recognized that

       2    fee-for-service data was a good source of information?

       3          A.      Yes, they did.

       4          Q.      And if we talk today about FFS data, can

       5    we agree we are talking about fee-for-service data?

       6          A.      Yes.

       7          Q.      And I think you testified, tell me if I'm

       8    wrong, that that's the data that you would purchase

       9    from distributors to gain insight into what Purdue

      10    products were being sold to particular pharmacies?

      11          A.      Only as far as clarification goes, and I

      12    guess you could call it purchased, the fee-for-service

      13    data was a -- a byproduct of agreements we signed with

      14    the wholesalers and we were paying them a fee for

      15    certain activities, and one of them was providing the

      16    data.

      17          Q.      And the fee-for-service data allowed you

      18    to determine what Purdue products, take, for example,

      19    OxyContin, were sold by what pharmacy in the

      20    United States, fair?

      21          MR. HOFFMAN:       Object to form.       Overly broad.

      22    BY THE WITNESS:

      23          A.      I'm sorry.      Could you do that one more

      24    time?

     Golkow Litigation Services                                            Page 350
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 138Confidentiality
                                                           of 344. PageID #: 251969
                                                                               Review

       1    BY MR. STEWART:

       2          Q.      Sure.

       3                  I take it the fee-for-service data that

       4    Purdue used would allow the OMS committee to look at

       5    how much of a given product, Purdue product was sold

       6    at a given pharmacy or other outlet in the

       7    United States, fair?

       8          MR. HOFFMAN:       Object -- object to form, overly

       9    broad.

      10    BY THE WITNESS:

      11          A.      Yes.

      12    BY MR. STEWART:

      13          Q.      And what about IMS outlet/prescriber data

      14    and sales ops outlier analysis, is that also a source

      15    of data that was available to the OMS committee?

      16          A.      Yes.

      17          Q.      And is this the IMS data that would show

      18    prescribers prescribing habits with respect to Purdue

      19    Pharmaceuticals and other pharmaceuticals?

      20          A.      That was not -- I was more familiar with

      21    the data we were providing, but, I mean, my department

      22    was providing the fee-for-service, but that would be

      23    included in that data.

      24          Q.      And then you've got sales force reports of

     Golkow Litigation Services                                            Page 351
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 139Confidentiality
                                                           of 344. PageID #: 251970
                                                                               Review

       1    concern.

       2                  Was that another area of information that

       3    the OMS committee could draw upon?

       4          A.      Yes.

       5          Q.      And these were reports from the Purdue

       6    sales force of potential diversion and other

       7    concerning activities, is that fair?

       8          A.      Yes.

       9          Q.      And what about prescriber program

      10    information, can you tell me what -- what that means

      11    in the context of Ms. Abrams' presentation?

      12          A.      I'm not sure what she meant by that.

      13          Q.      Do you have a hunch?

      14          A.      No.

      15          Q.      We'd have to ask Ms. Abrams, I take it?

      16          A.      Yes.

      17          Q.      What about government agencies/law

      18    enforcement, how would you normally draw information

      19    from government agencies and law enforcement?

      20          A.      Well, that was basically done through the

      21    legal department and state government -- state

      22    government affairs -- and corporate security based on

      23    contacts they had.

      24                  As previously testified, we had an

     Golkow Litigation Services                                            Page 352
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 140Confidentiality
                                                           of 344. PageID #: 251971
                                                                               Review

       1    executive director of CSA compliance and we also had a

       2    very extensive corporate security department that

       3    include investigators.         They had developed over time

       4    relationships in particular with local law enforcement

       5    in some areas that they would utilize.              They are our

       6    contact.

       7                  State licensing boards generally was from

       8    public information and doing research.              Legislative

       9    contacts, you would have to -- I don't know what Robin

      10    meant in there and I didn't have any personal

      11    legislative contacts, so I couldn't tell you.

      12          Q.      Did -- did the OMS committee receive

      13    information from government agencies, law enforcement

      14    on a case-by-case basis?

      15          A.      I don't know how they received it.

      16          Q.      Well, when you were on the OMS committee,

      17    did you receive a report every month or periodically

      18    outlining law enforcement events that were germane to

      19    the OMS mission?

      20          A.      There would be an individual from,

      21    generally, corporate security, the responsibility of

      22    Mark Geraci and Lou -- Lou Bauza, who was also on the

      23    committee, and if there was pertinent law enforcement

      24    information, they would provide it.

     Golkow Litigation Services                                            Page 353
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 141Confidentiality
                                                           of 344. PageID #: 251972
                                                                               Review

       1          Q.      When you say "pertinent law enforcement

       2    information," are you saying pertinent to a

       3    particular -- a particular file or a case that came

       4    before the OMS committee?

       5          A.      Yes.

       6          Q.      I guess my question is a little different.

       7                  Did you OS -- did the OMS committee

       8    receive reports that purported to describe law

       9    enforcement activities related to drug diversion

      10    across the United States?

      11          A.      I can't answer that.

      12          Q.      Can you answer whether you received it

      13    when you were on the committee?

      14          A.      What I saw was law enforcement reports

      15    pertinent to a particular customer we were reviewing.

      16          Q.      Do you know whether Purdue in any of its

      17    departments systematically reviewed records of arrests

      18    relating to drug diversion?

      19          A.      The only thing that I was aware of that

      20    would somewhat relate to that was a service that

      21    Purdue provided to the pharmacy community called

      22    RxPATROL.

      23          Q.      What was RxPATROL?

      24          A.      RxPATROL was a information resource to

     Golkow Litigation Services                                            Page 354
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 142Confidentiality
                                                           of 344. PageID #: 251973
                                                                               Review

       1    pharmacies and law enforcement, primarily focused on

       2    thefts and robberies in a particular area.               That was

       3    provided to -- or the access was provided to licensed

       4    pharmacists and law enforcement.

       5          Q.      Do you know if Purdue in any of its -- any

       6    of its departments systematically reviewed arrests of

       7    pharmacists for misuse of pharmaceuticals, drug

       8    diversion and the like?

       9          A.      I know that certainly in related --

      10    relation to the activities of the OMS committee that

      11    the -- not only the arrests, but complaints to

      12    pharmacy boards were reviewed.

      13          Q.      So the OMS committee would re -- would

      14    review arrests, but I think I heard you say that would

      15    be in the context of a specific case, is that fair?

      16          A.      Generally a specific case.

      17          Q.      And when you were reviewing state

      18    licensing board action, that would, again, at the OMS

      19    committee level be with respect to a specific case you

      20    are looking at?

      21          MR. HOFFMAN:       Object to form.

      22    BY THE WITNESS:

      23          A.      Yes.

      24    BY MR. STEWART:

     Golkow Litigation Services                                            Page 355
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 143Confidentiality
                                                           of 344. PageID #: 251974
                                                                               Review

       1          Q.      Do you know whether Purdue systematically

       2    reviewed arrests of pharmacists in the United States

       3    to determine whether they related to drug diversion?

       4          A.      I don't know if they did or they didn't.

       5          Q.      Do you know if Purdue systematically

       6    reviewed arrests of physicians, nurse practitioners

       7    and other prescribers to determine whether or not

       8    those arrests were related to drug diversion?

       9          A.      I don't know if they did or they didn't.

      10          Q.      Do you know if Purdue ever reviewed

      11    systematically records of state licensing boards for

      12    pharmacists, physicians, nurse practitioners, and

      13    other healthcare providers?

      14          A.      I don't know if they did or they didn't.

      15          Q.      You have the FFS data on the slide we are

      16    looking at.      Could it be used to determine what

      17    prescribers were acquire -- were prescribing, the

      18    pharmaceuticals that a pharmacy was -- was selling?

      19          A.      The FS -- FFS data in itself?

      20          Q.      Yes.

      21          A.      Could not.

      22          Q.      Do you know of data that could show that,

      23    that could link the prescriber to the pharmacy?

      24          A.      The prescriber data that was listed in

     Golkow Litigation Services                                            Page 356
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 144Confidentiality
                                                           of 344. PageID #: 251975
                                                                               Review

       1    Point 2.

       2          Q.      You'd look at the IMS data to figure out,

       3    okay, at this particular pharmacy, this is the doctor

       4    that's ordering this amount of OxyContin,

       5    80-milligram, fair?

       6          A.      Fair.

       7          Q.      And that would be true not just for

       8    80-milligram OxyContin but for all Purdue prescription

       9    products, fair?

      10          A.      Yeah, that's correct.

      11          Q.      I'd like to turn your attention to the

      12    next page, and do you see it's entitled, and this is

      13    still the Robin Abrams PowerPoint that's Exhibit 36,

      14    do you see the next page is entitled "Prescriber

      15    Versus Dispenser"?

      16          A.      Yes, I do.

      17          Q.      And do you see it says:          "Prescriber

      18    program:     Focus is on the prescriber and Rx

      19    history/patterns."

      20                  Do you see that?

      21          A.      Yes, I do.

      22          Q.      What is the prescriber program that is

      23    referred to by Ms. Abrams here on this slide?

      24          A.      I believe -- I believe what she refers to

     Golkow Litigation Services                                            Page 357
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 145Confidentiality
                                                           of 344. PageID #: 251976
                                                                               Review

       1    here is a focus on the individual prescriber, their Rx

       2    history as it relates to that product and the patterns

       3    that develop from that history.

       4          Q.      And here we are talking about IMS data

       5    that provides that, fair?

       6          A.      It looks to be IMS data.

       7          Q.      And then it says -- she says:            "OMS:

       8    Focus is on dispenser/pharmacist and ordering

       9    history/patterns," right?

      10          A.      Yes.

      11          Q.      And what she says for -- and OMS, here we

      12    are talking about the use of -- of the data that you

      13    purchase that I think we have been referring to as FFS

      14    data, fair?

      15          A.      That's correct.

      16          Q.      And do you see that Ms. Abrams in her

      17    PowerPoint says:       "Sharing of signal detection

      18    information between OMS and prescriber programs," she

      19    talks about that?

      20          A.      Yes.

      21          Q.      She says that that sharing of signal

      22    detection information between OMS and prescriber

      23    programs "enables us to consider prescriber and

      24    pharmacy issues within particular geographic area."

     Golkow Litigation Services                                            Page 358
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 146Confidentiality
                                                           of 344. PageID #: 251977
                                                                               Review

       1                  Do you see that?

       2          A.      I do see that bullet point.

       3          Q.      Do you see Ms. Abrams also says:             "Sharing

       4    of signal detection information between OMS and

       5    prescriber programs results in more robust information

       6    shared with internal (e.g., risk management) and

       7    external (e.g., authorized distributors) partners."

       8                  Do you see that?

       9          A.      I do see that bullet point.

      10          Q.      Now, can you tell me, having been on the

      11    OMS committee from its inception until you left Purdue

      12    in 2014, how did this sharing process work?

      13          A.      So, you are referring to the second bullet

      14    point under the third main bullet, correct?

      15          Q.      I'm referring to the third main bullet and

      16    the subparts, I'm referring to the sharing of signal

      17    detection information between OMS and prescriber

      18    programs.

      19                  How did that work in the OMS committee?

      20          A.      I am -- I believe what she is talking

      21    about here as it relates to our authorized distributor

      22    partners is that we have information that is

      23    individual -- we have -- Purdue had individual --

      24    information at a time that was related to individual

     Golkow Litigation Services                                            Page 359
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 147Confidentiality
                                                           of 344. PageID #: 251978
                                                                               Review

       1    prescribers in a given geographic area that could be

       2    beneficial to one of our -- or a particular wholesaler

       3    partner as it relates -- related to a potential issue

       4    that resulted in prescriptions that impacted pharmacy

       5    or pharmacies of concern.

       6          Q.      Is what you are saying that you could look

       7    at IMS data to find prescribing practices that seemed

       8    to suggest diversion and that might be used to ferret

       9    out diversion at the pharmacy level?

      10          A.      It could be -- it could be beneficial in

      11    helping to understand what was going on at the

      12    pharmacy.

      13          Q.      Did -- did you see in your experience on

      14    the OMS committee situations where pharmacies and pill

      15    mills would be linked?

      16          MR. HOFFMAN:       Object to form.

      17    BY THE WITNESS:

      18          A.      We saw situations where there were

      19    particular prescribers that were influencing

      20    particular pharmacies.

      21    BY MR. STEWART:

      22          Q.      And -- and when you talk about particular

      23    subscribers influencing particular pharmacists, I take

      24    it given we are talking about the OMS committee that

     Golkow Litigation Services                                            Page 360
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 148Confidentiality
                                                           of 344. PageID #: 251979
                                                                               Review

       1    you are saying influencing them in the context of drug

       2    diversion?

       3          MR. HOFFMAN:       Did you mean prescribers, Mike,

       4    just so we are clear?

       5    BY MR. STEWART:

       6          Q.      I'll tell you what, I'll strike that

       7    question.

       8                  Did -- did you mean with your previous

       9    testimony to talk about prescribers influencing

      10    pharmacists with respect to drug diversion?

      11          A.      There -- yes, there may be particular

      12    prescribers that may be of concern that were sending

      13    significant prescriptions to a particular pharmacy.

      14          Q.      When -- when you would review a case

      15    involving a pharmacist to determine whether to report

      16    the pharmacist to the DEA for diversion, would you

      17    also on the OS -- MS committee look at the prescribers

      18    in the geographic area around that pharmacist to see

      19    whether they were also engaged in diversion?

      20          A.      We would look -- first of all, let me

      21    correct you if I may.         That we didn't refer

      22    pharmacists, we referred pharmacies.             I'm sure the

      23    byproduct of the referral, once the DEA got it, was

      24    the pharmacist was involved or the owner or both.

     Golkow Litigation Services                                            Page 361
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 149Confidentiality
                                                           of 344. PageID #: 251980
                                                                               Review

       1                  But we would look at whatever factors we

       2    needed or we felt was beneficial to ascertain whether

       3    that particular pharmacist -- pharmacist was doing

       4    something that was untoward.

       5          Q.      Well, was there a standard procedure,

       6    though, that established that once a pharmacist was

       7    referred to the DEA that there would be an

       8    investigation of prescribing patterns in the area

       9    where that pharmacist had functioned?

      10          MR. HOFFMAN:       Object to form.

      11    BY THE WITNESS:

      12          A.      I don't -- I am -- don't know and cannot

      13    testify to what additional actions would have been

      14    done after that.       The focus of the OMS and the focus

      15    of that committee was to uncover suspicious orders.

      16                  As previously testified to, we utilized

      17    data such as prescriber data at -- that we had

      18    available, but to answer your question, I am -- I am

      19    not the person to ask if that was then done

      20    afterwards.

      21    BY MR. STEWART:

      22          Q.      You are not the person to ask because you

      23    don't know?

      24          A.      Well, I'd guess, I don't know, that's why

     Golkow Litigation Services                                            Page 362
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 150Confidentiality
                                                           of 344. PageID #: 251981
                                                                               Review

       1    I'm not the person to ask.

       2           Q.     Are you familiar with the -- with the term

       3    "region zero"?

       4           A.     Yes, I am aware of region zero.

       5           Q.     What's region zero with respect to

       6    Purdue's business operations?

       7           A.     I will give you what I know about it, but,

       8    again, I will give the caveat that there are others

       9    who have much more experience than I have and

      10    knowledge, so they would be better resources.

      11                  But region zero, as I understand it, are

      12    physicians that our reps were prohibited from calling

      13    on, were not -- I don't believe they were compensated

      14    for.    I'm pretty confident they weren't compensated

      15    for, and because of the fact that they were considered

      16    to be potential div -- diverters.

      17           Q.     Did Purdue ever analyze region zero

      18    providers to see whether they used particular

      19    pharmacies?

      20           MR. HOFFMAN:      Object to form, foundation.

      21    BY THE WITNESS:

      22           A.     I don't know if they did that

      23    independently of the OMS, but certainly if we were

      24    looking at a particular account and a specific area

     Golkow Litigation Services                                            Page 363
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 151Confidentiality
                                                           of 344. PageID #: 251982
                                                                               Review

       1    and there was a region zero doctor or doctors in that

       2    area, it would influence our decision on the pharmacy.

       3    BY MR. STEWART:

       4          Q.      But I guess my question is when you were

       5    on the OMS committee, did you ever see a report at

       6    Purdue that reflected a study using algorithms or some

       7    other method to -- to use the existence of region zero

       8    prescribers in an area to find pharmacies engaged in

       9    diversion?

      10          A.      I recollect a study that was done, and I

      11    think may even -- shared, that looked at various

      12    datas -- data to areas of the country that might be

      13    areas of concern.

      14          Q.      What study was that?

      15          A.      I don't know the exact name of the study.

      16          Q.      Tell me how -- everything you know that

      17    can help me identify the study.

      18          A.      I was aware that that study was discussed.

      19    I don't know if that was part of what was called

      20    "radars."     It might have been.         But it was

      21    epidemiological study of the areas and I'm not sure

      22    who -- whose or what department is responsible for it.

      23          Q.      And you are not sure whether that focused

      24    on region zero doctors or not, fair?

     Golkow Litigation Services                                            Page 364
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 152Confidentiality
                                                           of 344. PageID #: 251983
                                                                               Review

       1          A.      Fair.    I'm not sure.       I would assume that

       2    that information would have been included, but I'm not

       3    sure.

       4          Q.      Maybe I put -- I take it from your

       5    testimony that it wasn't a standard practice when

       6    materials were being assembled for the OMS committee

       7    to put in the materials an analysis that would

       8    evaluate region zero doctors in the area.

       9          MR. HOFFMAN:       Object to form.

      10    BY MR. STEWART:

      11          Q.      Is that correct?

      12          MR. HOFFMAN:       Object to form.

      13    BY THE WITNESS:

      14          A.      I think we have to go back to the purpose

      15    of the OMS committee.

      16                  The OMS committee was designed to monitor

      17    and look for suspicious orders and the data used of

      18    all types were focused on those accounts.               So I don't

      19    remember a particular case where, and it may have

      20    happened, but I don't remember it, that somebody came

      21    in and said, Well, in this area of Chicago in the

      22    Wicker Park/Bucktown area there are 17 pharmacies and

      23    11 doctors that are relate -- related to a region

      24    zero.    I don't remember it.

     Golkow Litigation Services                                            Page 365
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 153Confidentiality
                                                           of 344. PageID #: 251984
                                                                               Review

       1    BY MR. STEWART:

       2          Q.      Do you think that's something you would

       3    remember if it had happened?

       4          A.      That's an interesting question.            I

       5    don't -- I don't know if it's something I would

       6    remember.

       7          MR. STEWART:       And I'll tell you I'm going to ask

       8    him in a moment about Exhibit 19, you may want to pull

       9    that out, but for now I'd like to turn to the next

      10    page of the PowerPoint.

      11    BY MR. STEWART:

      12          Q.      Do you see there is a page entitled "OMS

      13    Process"?

      14          A.      Yes.

      15          Q.      And do you see that it lists a series of

      16    bullet points and it -- it says:            "Outlets with orders

      17    outside the normal range based on algorithm"?

      18          A.      Yes.

      19          Q.      And do I remember correctly that the first

      20    pass of -- of information that would bring pharmacies

      21    to the OMS committee's attention would be study of FFS

      22    data using algorithms, is that fair?

      23          MR. HOFFMAN:       Object to the form.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 366
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 154Confidentiality
                                                           of 344. PageID #: 251985
                                                                               Review

       1          A.      The first thing that would bring a

       2    pharmacy to the attention of the committee would be

       3    based on this series of algorithm -- algorithms, this

       4    is what you are asking?

       5    BY MR. STEWART:

       6          Q.      Yes.

       7          A.      Okay.

       8          Q.      Is that fair?

       9          A.      That's fair.

      10          Q.      And is an outlet the same as a pharmacy

      11    when we are talking about the OMS process?

      12          A.      Yes, an outlet is a pharmacy.

      13          Q.      And do each of these bullet points

      14    starting with "Total volume of Purdue product orders"

      15    reflect a potential indicator of diversion?

      16          A.      Does each one or in the aggregate?

      17          Q.      You tell me.

      18          A.      Generally it was a series of factors.              Any

      19    one could trigger an alert, but generally it was a

      20    combination of -- of factors that would create an

      21    alert.

      22          Q.      And the point is all of these factors from

      23    total volume of Purdue product orders to percentage of

      24    OxyContin/non-OxyContin orders to percentage of orders

     Golkow Litigation Services                                            Page 367
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 155Confidentiality
                                                           of 344. PageID #: 251986
                                                                               Review

       1    of higher doses of OxyContin, these were all

       2    indicators of diversion that then would be weighed and

       3    considered within the algorithms, is that correct?

       4          MR. HOFFMAN:       Object to form.

       5    BY THE WITNESS:

       6          A.      These parameters were indication of

       7    potential diversion, not of diversion.

       8    BY MR. STEWART:

       9          Q.      Do you see that at the bottom of the

      10    page it says:      "Based on the algorithm, 500 to 600

      11    outlets met the criteria."

      12                  Do you see that?

      13          A.      I do see that.

      14          Q.      And that would be in '09-'10 according to

      15    the PowerPoint slide?

      16          A.      Yes.

      17          Q.      And remind me who you said would select

      18    from among the 500 to 600 outlets the ones that would

      19    receive a review by the OMS committee?

      20          A.      Generally the director would, but first of

      21    all as point of clarification, and I don't know if it

      22    was two years here or the end of '09 to the beginning

      23    of '10, so it would be hard for me to tell, but just

      24    as a point of clarification, it wasn't as if 500 or

     Golkow Litigation Services                                            Page 368
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 156Confidentiality
                                                           of 344. PageID #: 251987
                                                                               Review

       1    600 popped up at one time.          This is over a period of

       2    time.    And we were meeting monthly at that time,

       3    three -- sometimes every three weeks.

       4                  So for those monthly meetings for those

       5    that popped up at that time, the director of OMS at

       6    that time, the full-time person whose job it was to

       7    monitor would create a list.

       8          Q.      And I guess my question is:           Would the

       9    list include every single pharmacy that had been spit

      10    out of the com -- computer using algorithms or would

      11    it be a -- a selection from that list?

      12          A.      I'm not sure.

      13          Q.      You would receive a list of suspect

      14    pharmacies?

      15          A.      I would receive a -- a list and an initial

      16    report of suspect pharmacies.

      17          Q.      And typically how many would you consider

      18    at a meeting?

      19          A.      When I was doing it, it seemed like there

      20    was a hundred at every meeting, but I'm sure it was

      21    not that.     It was probably anywhere from 8 to 15.

      22          Q.      And I believe you've said you would not

      23    get the underlying report generated by the algorithm,

      24    you would just get the recommendation from --

     Golkow Litigation Services                                            Page 369
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 157Confidentiality
                                                           of 344. PageID #: 251988
                                                                               Review

       1          A.      No.    I would get -- I'd get certainly the

       2    data report.

       3          Q.      Let me make -- you said the -- the

       4    director of OMS would come to you with the list of

       5    suspect pharmacies, fair?

       6          A.      It would -- it would be on the agenda, but

       7    if there was information on them available, she would

       8    attach it to the agenda.

       9          Q.      But you would not be able to look behind

      10    that list to figure out whether that list was a

      11    complete list of every pharmacy that had been -- that

      12    had met the criterion of the algorithm or whether

      13    there was a subset selected, is that fair?

      14          A.      I'm not sure.

      15          Q.      I take it the -- the -- your starting

      16    point for investigation as a member of the OMS

      17    committee was that list that was provided?

      18          A.      Yes.

      19          Q.      Is that correct?

      20                  And who was the human being that was

      21    providing that list?

      22          A.      The director of OM -- of OMS.

      23          Q.      And it was always the director of OMS?

      24          A.      Yes.

     Golkow Litigation Services                                            Page 370
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 158Confidentiality
                                                           of 344. PageID #: 251989
                                                                               Review

       1          Q.      I think that was two people held that

       2    position, is that correct?

       3          A.      Yes.

       4          Q.      And who were they?

       5          A.      Betsy Adams and Giselle Issa.

       6          Q.      And I'd like you to turn to the next page.

       7                  Do you see it's another page entitled "OMS

       8    Process (continued)"?

       9          A.      Yes.

      10          Q.      And is this -- is this -- when it -- you

      11    see it, there is a title that says:             "Outlets

      12    identified by other signals"?

      13          A.      Yes.

      14          Q.      And what does that involve?

      15          A.      It involves apparently what is listed

      16    there.

      17          Q.      Turn to the next page.          Do you see it

      18    says:    "OMS process continues"?

      19          A.      Yes.

      20          Q.      And it talks about "outlier pharmacies

      21    selected for review"?

      22          A.      Yes.

      23          Q.      And it says:      "Total FFS data outliers (as

      24    ranked by sales ops)"?

     Golkow Litigation Services                                            Page 371
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 159Confidentiality
                                                           of 344. PageID #: 251990
                                                                               Review

       1          A.      Yes.

       2          Q.      Okay.    What is that process?         Is that the

       3    one you just described where the head of OMS would

       4    provide you a list?

       5          A.      Yeah, yes, the -- in the system -- the

       6    system with its algorithms was designed to rank the

       7    pharmacies.

       8          Q.      But you wouldn't actually get the raw data

       9    showing the ranking, I take it?

      10          A.      I could certainly look at it.

      11          Q.      I'm hearing you.        Did you ever look at it?

      12          A.      Yeah, I would look at it.

      13          Q.      Well, I guess what I'm saying is would you

      14    ever look at the data to show why these particular

      15    pharmacies were selected?

      16          A.      Before I would go to the meeting I would

      17    look at why the pharmacies were selected.

      18          Q.      The ones that had been given to you on the

      19    list?

      20          A.      Right.

      21          Q.      You just don't know how many were

      22    excluded, if any, that met the algorithm requirements?

      23          A.      I don't know if any were excluded.

      24          Q.      You don't know one way or the other, is

     Golkow Litigation Services                                            Page 372
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 160Confidentiality
                                                           of 344. PageID #: 251991
                                                                               Review

       1    that fair?

       2          A.      Yeah.

       3          Q.      What does this mean:         "Input from national

       4    accounts"?

       5                  Was there another way to get on the list

       6    for consideration by the OMS committee?

       7          A.      If there was anything that national

       8    accounts knew from our dealings in the -- in the field

       9    that would -- that would come to our attention and,

      10    therefore, as outlined by Robin here, would require a

      11    need for further follow-up.

      12          Q.      Now, we -- we talked about Purdue looking

      13    at things systematically.

      14                  Do you know if Purdue systematically

      15    reviewed media reports of diversion at pharmacies?

      16          A.      I think somewhere in here she -- Robin

      17    points to looking at media reports.             I think on the

      18    previous page, as a matter of fact.

      19          Q.      But do you know yourself whether or not

      20    Purdue looks at media reports on a daily basis to gain

      21    information about where pharmacies might be engaged in

      22    diversion?

      23          A.      I know that there were people reviewing

      24    material every day, both digit -- mostly digitally.

     Golkow Litigation Services                                            Page 373
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 161Confidentiality
                                                           of 344. PageID #: 251992
                                                                               Review

       1          Q.      Okay.    How do you know that?

       2          A.      Because when we got reports of something,

       3    it was because somebody had done a media review.

       4          Q.      When you got reports on the OMS committee,

       5    was that related to a particular case?

       6          A.      When we got reports on the OMS committee,

       7    reports of what?

       8          Q.      When you got reports of news -- news

       9    articles and so forth relating to pharmacists and

      10    diversion, were those news articles assembled for you

      11    because these pharmacists were before the --

      12    pharmacies were before the OMS committee for analysis?

      13          A.      Yes, that's what we're there for.

      14          Q.      The point is, you didn't get lists of

      15    inform -- of -- of news reports from across the

      16    country indicating diversion by pharmacists, fair?

      17          MR. HOFFMAN:       Object to form.

      18    BY THE WITNESS:

      19          A.      The purpose of the OMS committee was to

      20    review individual pharmacies.           If there was a report

      21    going somewhere else, it would not come before that

      22    committee to analyze one pharmacy.

      23    BY MR. STEWART:

      24          Q.      And in your time at Purdue, you didn't see

     Golkow Litigation Services                                            Page 374
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 162Confidentiality
                                                           of 344. PageID #: 251993
                                                                               Review

       1    such a report, is that fair?

       2          A.      I was not on that distribution list.

       3          Q.      Do you see that the next page of this

       4    document is entitled "OMS Process (continued), DEA

       5    Compliance:      Collaboration With Authorized

       6    Distributors"?

       7          A.      Yes.

       8          Q.      And do you see it talks about following up

       9    with respect to individual outlets, which may include

      10    surveillance, reduction or cut off of supply, and I'm

      11    paraphrasing, or reporting to the licensing board,

      12    DEA, et cetera?

      13          A.      Yes.

      14          Q.      Okay.    Is this follow-up that would occur

      15    after you had reported somebody to the DEA, is that

      16    what this is describing?

      17          A.      That's prior to reporting.

      18          Q.      Okay.    So what is it follow-up to?

      19          A.      I believe it is prior to reporting, I

      20    should --

      21          Q.      What sort of follow-up is Ms. Abrams

      22    referring to then in this context?

      23          A.      Well, to put it into context, I believe

      24    what she is saying here, and, again, you'd have to ask

     Golkow Litigation Services                                            Page 375
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 163Confidentiality
                                                           of 344. PageID #: 251994
                                                                               Review

       1    Ms. Abrams to do that herself, but the context here

       2    from the way I read it is that if there was -- if

       3    there were or was an outlet of concern, we would work

       4    with our wholesale partners to try to gather

       5    additional or share information not limited to but

       6    including, when it says surveillance or site -- site

       7    visit it means literally going out ourselves or -- or

       8    going with a representative from the wholesaler to

       9    observe a -- a particular outlet, for want of a better

      10    term, to do a stakeout which -- or they would do a

      11    site visit and confront the pharmacy or owner or both,

      12    pharmacist, owner -- owner, both, about specifically

      13    what was going on in the pharmacy.

      14          Q.      So --

      15          A.      Go ahead.

      16          Q.      No.    Go ahead and continue if you'd like.

      17          A.      I'm finished.

      18          Q.      So it sounds like the way the OMS

      19    committee would work is data would be used, the FFS

      20    data would be analyzed to come up with a potential

      21    suspect diverters and then the OMS committee would

      22    respond at times by sending out investigators to

      23    figure out, Okay, in the field are these signals of

      24    diversion true or -- or are they not true, is that

     Golkow Litigation Services                                            Page 376
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 164Confidentiality
                                                           of 344. PageID #: 251995
                                                                               Review

       1    fair?

       2          A.      What they would do was use all of the

       3    information that was available to them, including

       4    data, to ascertain as to whether some -- a particular

       5    outlet was suspected of being a diverter or abuser of

       6    controlled substances.

       7          Q.      But the starting point that got the OMS

       8    committee on the trail was an analysis of FFS data,

       9    fair?

      10          A.      No, I don't think that's --

      11          MR. HOFFMAN:       Object to form.

      12    BY THE WITNESS:

      13          A.      -- necessarily fair because if you go back

      14    earlier in the reports, earlier in the slide deck, the

      15    problem refers to other sources.

      16    BY MR. STEWART:

      17          Q.      But -- but I would a say --

      18          A.      I would say the FFS was the driver, but

      19    other sources.

      20          Q.      So when you say "the driver," in a --

      21    in -- in a situation involving FFS, what would happen

      22    is FFS data would be analyzed using algorithms and

      23    that would indicate suspect pharmacies and then the

      24    OMS committee would investigate them using

     Golkow Litigation Services                                            Page 377
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 165Confidentiality
                                                           of 344. PageID #: 251996
                                                                               Review

       1    investigators or other means, fair?

       2          A.      True.

       3          Q.      Turn to the next page.          It's entitled

       4    "OMS" -- or it's two pages.           "OMS Report and Committee

       5    Decision."

       6          A.      Excuse me.

       7          Q.      Do you see that?

       8          A.      Yes, I do.

       9                       (WHEREUPON, a certain document was

      10                         marked Purdue-Seid Deposition Exhibit

      11                         No. 037, for identification, as of

      12                         12/13/2018.)

      13    BY MR. STEWART:

      14          Q.      I'm going to hand you -- I can't use that

      15    one -- I'm going to hand you Exhibit 37.

      16          A.      Thank you.

      17          Q.      And ask you, is Exhibit 37 an example --

      18    there is an e-mail in front and it seems to attach an

      19    OMS report, and I'm wondering if that's an example of

      20    a written report for OMS committee review?

      21          A.      Yes.

      22          Q.      Okay.    You can set that exhibit aside.

      23                  Turn to the next page --

      24          MR. STANNER:       Can you pass down 37?

     Golkow Litigation Services                                            Page 378
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 166Confidentiality
                                                           of 344. PageID #: 251997
                                                                               Review

       1                  Thanks.

       2    BY MR. STEWART:

       3          Q.      Do you see this slide entitled "OMS

       4    Process:     Post Reformulation"?

       5          A.      Yes.

       6          Q.      Do you remember what this involves?

       7          A.      This was based if the -- in August of 2010

       8    the reformulated Ox -- OxyContin was released.                And

       9    based on that, ob -- observing the ordering --

      10    ordering patterns of the reformulated product and how

      11    it impacted the FFS system, the algorithms were

      12    adjusted to see if -- where there may have been a

      13    reduction in dispensing of a pharmacy after the launch

      14    of the abuse deterrent formulation in August of 2010.

      15          Q.      Do you see there is a line, it's the

      16    fourth bullet down, it says:

      17                  "Percentage of OxyContin decline post

      18    reformulation versus contemporaneous increase in other

      19    opioids"?

      20          A.      Yes.

      21          Q.      Is that one thing that the study was

      22    measuring?

      23          A.      It was one of the points that she

      24    indicates here.

     Golkow Litigation Services                                            Page 379
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 167Confidentiality
                                                           of 344. PageID #: 251998
                                                                               Review

       1          Q.      Was trying to determine whether or not,

       2    after they reformulated OxyContin to the abuse

       3    deterrent-type, that some pharmacies would have a

       4    dramatic decline in -- in selling that OxyContin, is

       5    that correct?

       6          A.      That is correct.

       7                  Are you referring to the fourth bullet

       8    after the main bullet in yellow?

       9          Q.      That's correct.

      10          A.      You -- I will note that it also includes

      11    the contemporaneous increase in other opioids.

      12          Q.      And was the theory -- was the theory

      13    behind the study that if you had a pharmacy that saw a

      14    dramatic decline post formulation in sales of

      15    OxyContin, that probably that reflected the fact that

      16    that pharmacy had been serving the illegal drug market

      17    for diverted OxyContin?

      18          MR. HOFFMAN:       So object to form.        I think your

      19    question might be a little unclear.             You said "post

      20    formulation in sales of OxyContin."

      21    BY MR. STEWART:

      22          Q.      Um, I'll -- I'll rephrase.

      23                  Do you -- do you -- is the theory

      24    underlying this study that if you have a pharmacy that

     Golkow Litigation Services                                            Page 380
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 168Confidentiality
                                                           of 344. PageID #: 251999
                                                                               Review

       1    showed a significant decline in sales of OxyContin

       2    after the reformulation, that that suggested that the

       3    pharmacy had been involved in the market for diverted

       4    drugs?

       5          A.      There was a potential that there -- that

       6    that pharmacy may have been involved in a situation

       7    where abuse and diversion may have been prevalent.

       8          Q.      The theory being that proper users of

       9    OxyContin didn't have a problem with the reformulated

      10    drug because they weren't planning to crush it?

      11          A.      Most didn't, right.

      12          Q.      Do you see that the bullet says:

      13    "Evaluate whether geographically" -- "geographically

      14    located near prescribers of concern"?

      15          A.      I do see that bullet.

      16          Q.      What did that involve?

      17          A.      Well, that goes back to even -- it goes

      18    back to pre reformulation.

      19                  As mentioned several times over the last

      20    couple of days is that one of the things -- one of the

      21    criteria -- criteria and data that was looked at was

      22    prescriber data as it related to that particular

      23    pharmacy.

      24          Q.      So as part of this report what they did is

     Golkow Litigation Services                                            Page 381
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 169Confidentiality
                                                           of 344. PageID #: 252000
                                                                               Review

       1    they looked at pharmacies and they said, Is the

       2    pharmacy located near prescribers of concern that

       3    we've already identified, fair?

       4          A.      But this is -- first of all, this is an

       5    algorithm and not a report.           So this wasn't creating a

       6    report.     It was creating an algorithm.

       7          Q.      So -- so was the algorithm structured such

       8    that it could also incorporate information about the

       9    location of prescribers of concern?

      10          A.      It used prescribers of concern as a factor

      11    in looking at the data.

      12          Q.      Do you know whether, other than with

      13    respect to this report, Purdue systematically used its

      14    algorithms to evaluate the relationship of prescribers

      15    of concern to pharmacies involved in -- in diversion?

      16          MR. HOFFMAN:       Object to form.

      17    BY THE WITNESS:

      18          A.      You have to give me that one more time.

      19    BY MR. STEWART:

      20          Q.      Sure.

      21                  Here you're -- you just testified, right,

      22    that -- that one aspect of this algorithm was it would

      23    evaluate whether a pharmacy potentially engaged in

      24    diversion was located near prescribers of concern,

     Golkow Litigation Services                                            Page 382
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 170Confidentiality
                                                           of 344. PageID #: 252001
                                                                               Review

       1    right?

       2          A.      Correct.

       3          Q.      Prescribers of concern, a lot of them

       4    would end up in region zero, fair?

       5          A.      I don't know that for a fact since I was

       6    not on that side of the business at the time, but I'm

       7    sure some of them did.

       8          Q.      And -- and I guess the question is:

       9    Did -- here they made this -- this algorithm evaluate

      10    prescribers of concern as related to pharmacies.

      11                  Did Purdue that -- do that systematically

      12    as a business practice?

      13          A.      I can't tell you if they did or they

      14    didn't.

      15          Q.      Who could tell us about this algorithm

      16    that's referred to on this particular slide entitled

      17    "OMS Process:      Post Reformulation"?

      18          A.      Well, I can tell you about the algorithm

      19    because I was part of the team who did it, but what

      20    more would you be looking for?

      21          Q.      I guess I'd like to know if there is -- is

      22    there a broader report that explains how this

      23    algorithm precisely worked?

      24          A.      I don't know if there is a broader report.

     Golkow Litigation Services                                            Page 383
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 171Confidentiality
                                                           of 344. PageID #: 252002
                                                                               Review

       1          Q.      As part of the team that did it, did you

       2    find a lot of situations where these problem

       3    pharmacies were identified as located near prescribers

       4    of concern?

       5          A.      Again, you have to give me that one more

       6    time.    I'm not --

       7          Q.      Sure.

       8          A.      -- sure where you are going.

       9          Q.      Did you, in fact, since you were part of

      10    the team that developed this algorithm, did you find a

      11    lot of pharmacies that were geographically located

      12    near prescribers of concern?

      13          A.      What I was looking at as part of the team

      14    as related to this algorithm was the pharmacies and

      15    the amount of product they dispensed because that was

      16    my area of expertise.         And as part of the

      17    decision-making and being on part of the team, a

      18    source that was brought in was the prescriber

      19    information.      So somebody who was responsible for that

      20    dealt with all of that information.

      21          Q.      Do you remember who that team member was

      22    with respect to this particular study?

      23          A.      Well, they -- they received it from --

      24    from sales operations.         There was not a sales

     Golkow Litigation Services                                            Page 384
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 172Confidentiality
                                                           of 344. PageID #: 252003
                                                                               Review

       1    operations member, as I remember, on the OMS

       2    committee.      I would imagine -- I shouldn't say I would

       3    imagine.     I would guess that there was somebody

       4    feeding Giselle that data or Robin or both.

       5          Q.      You don't know who the human being was in

       6    the sales operation that did that?

       7          A.      That's a -- I don't know who it was

       8    because there were some changes over that department,

       9    certainly in the last few years that I was there there

      10    were several changes, so I'm not sure.

      11          Q.      So we'd have to ask Robin or Giselle?

      12          A.      Yeah, I would think they would be a better

      13    source.

      14          Q.      It says, though, do you see:           "Based on

      15    the new algorithm, 100 to 200 outlets met the

      16    criteria."

      17                  Do you see that?

      18          A.      Yes.

      19          Q.      And so those were now outlets, pharmacies

      20    that were suspected as being involved in diversion?

      21          A.      We were concerned, yes.

      22          Q.      Where could I get a list of those

      23    pharmacies that were identified as the 100 to 200

      24    outlets that met the criteria?

     Golkow Litigation Services                                            Page 385
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 173Confidentiality
                                                           of 344. PageID #: 252004
                                                                               Review

       1          A.      I'm not sure who the person is for -- for

       2    that.

       3          Q.      Certainly probably Robin Abrams would be

       4    one person, right?

       5          A.      Well, she is no longer with the company,

       6    so she is probably not the right person.

       7          Q.      But somewhere there must be some record of

       8    those particular people?

       9          A.      I'm sure there is some record somewhere.

      10          Q.      And turn over to the next slide.

      11                  Do you see you've got a slide "Meetings

      12    with the DEA"?

      13          A.      Yes.

      14          Q.      And did you have to turn over these 100 to

      15    200 prescribers to the DEA, did you do that?

      16          A.      I have no idea.

      17          Q.      Okay.    Was there any follow-up done with

      18    the 100 to 200 prescribers identified in the study

      19    that you have been describing or the algorithm related

      20    to the reformulation?

      21          MR. HOFFMAN:       Object to form.       I'm sorry.     I

      22    think you are saying "prescribers" now, which I don't

      23    know if that's what you intend.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 386
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 174Confidentiality
                                                           of 344. PageID #: 252005
                                                                               Review

       1          A.      Do you mean pharmacies?

       2    BY MR. STEWART:

       3          Q.      That's right.       Thank you.

       4                  You talked about -- well, outlets, we'll

       5    use the word used in the materials.

       6          A.      Outlets, yes.

       7          Q.      "Based on the new algorithm, 100 to 200

       8    outlets met criteria."

       9                  And I'm wondering, was there any follow-up

      10    with respect to those outlets that you know of?

      11          A.      I know the data was shared with the DEA.

      12    I don't know if -- how and in what format, but we

      13    were -- not we, because I was not the individual who

      14    did it.     The people involved were pretty open and

      15    transparent with the DEA on the findings we had.

      16          Q.      Do you know if they identified the

      17    pharmacies or the outlets by name to the DEA?

      18          A.      I don't know that.

      19          Q.      What human being was responsible for

      20    interfacing with the DEA with respect to those outlets

      21    that were identified in the post -- in the

      22    reformulation study?

      23          A.      I do not know specifically who went to

      24    those -- these meetings.          It certainly was not

     Golkow Litigation Services                                            Page 387
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 175Confidentiality
                                                           of 344. PageID #: 252006
                                                                               Review

       1    national accounts.        And it certainly was nobody from

       2    the sales department.         So if I was to guess, they were

       3    from either corporate security or the general

       4    counsel's office.

       5          Q.      So what human being do you think would

       6    have gone?

       7          A.      A guess would be Robin Abrams.

       8          Q.      Okay.    Would Jack Crowley have gone to

       9    such a meeting with the DEA?

      10          A.      Possibly.      Possibly Mark Geraci.

      11          Q.      Can you pull out Exhibit 19 for just one

      12    moment, sir.

      13          A.      Thank you.

      14          Q.      And I would like to turn your attention --

      15    do you recall specifically you testified about it

      16    earlier today?

      17          A.      Yes.

      18          Q.      Do you see it's an e-mail from Jack

      19    Crowley to you, among other people?

      20          A.      Yes.

      21          Q.      Okay.    And can you flip to the second

      22    page.

      23                  And do you see that Mr. Crowley says, and

      24    this is the final full paragraph:

     Golkow Litigation Services                                            Page 388
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 176Confidentiality
                                                           of 344. PageID #: 252007
                                                                               Review

       1                  "Steve, system orders to one account in

       2    Florida where orders appear to have increased

       3    substantially, I have spoke to Robin about this retail

       4    pharmacy account last Thursday.            I soon realized this

       5    account was related to a physician who I had reported

       6    to the DEA last October at Robin's direction due to

       7    IMS data that Robin monitors."

       8                  Do you see that?

       9          A.      Yes, I do.

      10          Q.      In this correspondence, isn't Mr. Crowley

      11    talking about what you have referred to, which is

      12    this, the fact that to get the full picture of

      13    diversion, you have to look at both the OMS data with

      14    respect to the pharmacies and the I -- the IMS data

      15    with respect to the prescribers, is that fair?

      16          A.      So let me rephrase, if -- if I may, to

      17    make sure I understand.

      18          Q.      Sure, um-hum.

      19          A.      And is that to -- for the OMS to be

      20    effective, you need to look at the prescriber data to

      21    assure that the pharmacy data was correct?

      22          Q.      I guess Crowley, Mr. Crowley in this

      23    letter, you tell me, seems to be telling people, you

      24    know, here we looked at pharmacists -- we -- we -- we

     Golkow Litigation Services                                            Page 389
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 177Confidentiality
                                                           of 344. PageID #: 252008
                                                                               Review

       1    were looking at a pharmacy, okay, a retail pharmacy

       2    account, and then I soon realized, he says, that this

       3    was related to a physician I reported to the DEA based

       4    on IMS data.

       5                  Do you see that, that's the paragraph that

       6    we read?

       7          A.      Yes.

       8          Q.      And then you might want to read it, do you

       9    see Mr. Crowley goes on to talk about the fact that

      10    you have to put two and two together to really develop

      11    the pattern of diversion here.

      12                  Do you see that?

      13          A.      I do see that.

      14          Q.      When he is talking about putting two and

      15    two together, isn't he talking about the fact that

      16    sometimes the best evidence of diversion comes from

      17    the FFS data with respect to what the pharmacies are

      18    selling and sometimes it comes from the IMS data with

      19    respect to what the physicians and nurse practitioners

      20    are prescribing, fair?

      21          MR. HOFFMAN:       Object to form.

      22    BY THE WITNESS:

      23          A.      I think what Jack is saying here is that,

      24    being the good retired DEA agent that he is, that he

     Golkow Litigation Services                                            Page 390
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 178Confidentiality
                                                           of 344. PageID #: 252009
                                                                               Review

       1    looked at more than one aspect of the crime to get the

       2    impact.

       3                  Again, the OMS -- the -- how can I put

       4    it -- the charge of 1301.74(b) is to know your

       5    customer's customer.         The wholesaler is our customer.

       6    Their customer is the pharmacy.            It appears to me that

       7    Jack did a good job of going beyond what was

       8    prescribed by the DEA to be more effective.

       9    BY MR. STEWART:

      10           Q.     To figure out the true pattern of

      11    diversion, fair?

      12           A.     Yep.

      13           Q.     Can you turn to --

      14           MS. PORTER:       Are you done with Exhibit 19?

      15           MR. STEWART:      Yes, take away Exhibit 19.          Thank

      16    you.

      17    BY MR. STEWART:

      18           Q.     And can you turn back to the PowerPoint

      19    and turn to the page entitled "Summary of OMS Program

      20    Activity"?

      21           A.     Yes.

      22           Q.     And do you see that you've got a summary

      23    of outlets reviewed and referred between -- between

      24    the years of '08 and '11?

     Golkow Litigation Services                                            Page 391
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 179Confidentiality
                                                           of 344. PageID #: 252010
                                                                               Review

       1          A.      Yes.

       2          Q.      Okay.    Do you see that it seems to rank

       3    outlets by state?

       4          A.      Yes.

       5          Q.      And do you see that they are ranked in

       6    order of the number of -- of outlets that are

       7    investigated?

       8          A.      Yes.

       9          Q.      And the fifth on the -- the sixth on the

      10    list is Tennessee, fair?

      11          A.      That's what I see.

      12          Q.      So it looks like Tennessee had the sixth

      13    most number of outlets that were investigated by the

      14    OMS committee, fair?

      15          A.      That's what it looks like.

      16          Q.      And any reason to think that's not the

      17    case?

      18          A.      I have no reason to think it's not the

      19    case.

      20          Q.      Do you remember any of these particular

      21    Tennessee cases as we sit here?

      22          A.      No, I don't.

      23          Q.      Do you know how many of them were referred

      24    to the DEA after an investigation by the OMS

     Golkow Litigation Services                                            Page 392
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 180Confidentiality
                                                           of 344. PageID #: 252011
                                                                               Review

       1    committee?

       2          A.      No, I don't.

       3          Q.      Well, what this is showing us here, this

       4    slide is showing us, that Tennessee had 14 outlets

       5    that were sufficiently suspected of diversion that

       6    they were given an investigation by the OMS committee?

       7          A.      That is correct.

       8          Q.      Once -- once Purdue refers somebody to the

       9    DEA, refers an outlet to the DEA, does Purdue continue

      10    to supply pharmaceuticals to that outlet?

      11          A.      We don't supply pharmaceuticals to

      12    outlets.

      13          Q.      Fair enough.      Let me rephrase.

      14                  When Purdue decides to refer an outlet to

      15    the DEA, such as the outlets listed on the

      16    exhibit here on this slide entitled "Summary of OMS

      17    Probe" -- "Program Activity," does anything happen to

      18    Purdue's relationship to that outlet?

      19          A.      We keep our -- certainly keep our

      20    representatives out of that outlet, that's for sure.

      21    We advise our -- or urge our trading area partners not

      22    to supply product to that outlet or restrict flow to

      23    that off -- outlet, and we continue to monitor the

      24    outlet, because I'm sure, as you are well aware, that

     Golkow Litigation Services                                            Page 393
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 181Confidentiality
                                                           of 344. PageID #: 252012
                                                                               Review

       1    the wheels of law enforcement sometimes grind slowly

       2    and we continue to monitor because the DEA may not

       3    take action for a period of time --

       4          Q.      So --

       5          A.      -- after we report.

       6          Q.      So while the DEA's wheels are grinding,

       7    Purdue is basically monitoring the situation with the

       8    di -- diverting pharmacy, fair?

       9          A.      Sure.    We want to make sure that nobody is

      10    going to pick up the volume.

      11          Q.      But during that period the pharmacy that's

      12    been referred to the DEA remains in business unless

      13    some other factor intervenes, fair?

      14          A.      Well, if I -- unless some kind of

      15    adjudicating agency takes the lighted -- license away.

      16          Q.      Let's turn now to Exhibit 37.            I think

      17    you've got it, sir.

      18                  Can you tell me what this exhibit is?

      19          A.      It is a letter -- e-mail from Giselle Issa

      20    to, it looks like members of the OMS committee with

      21    copies to several other people with an attached agenda

      22    and one additional topic to be discussed by Steve Seid

      23    and the remaining three outstanding reports.

      24          Q.      Let me ask you, okay, so if you turn to

     Golkow Litigation Services                                            Page 394
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 182Confidentiality
                                                           of 344. PageID #: 252013
                                                                               Review

       1    the next page, and I'll tell you the next page has a

       2    Bates number that ends in the numbers 5580.

       3                  Do you see that?

       4          A.      Yes, I do.

       5          Q.      Is this the first page of an OMS report

       6    that the committee is supposed to analyze?

       7          A.      It looks to be one.

       8          Q.      What information would you always expect

       9    to be in these reports for your review?

      10          A.      The data -- the data that's listed there.

      11    There is more granular -- granular data on the second

      12    page, yeah, the second page, background and reason for

      13    the OMS review, of course, is initial.              There is

      14    additional data obtained by sales operation.                I --

      15    those charts are hard to read and I have no -- I don't

      16    know what they are.

      17          MS. PORTER:      Are you referring to Page 5583?

      18          THE WITNESS:       5583.

      19    BY THE WITNESS:

      20          A.      On 5584 there is no national accounts

      21    input which needs to be in there.             Luis Bauza did a

      22    records search.       Field sales force input.          There was

      23    some attachment there.         And then it's missing

      24    wholesaler input and recommendation.

     Golkow Litigation Services                                            Page 395
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 183Confidentiality
                                                           of 344. PageID #: 252014
                                                                               Review

       1          MR. HOFFMAN:       Mike, real quick, I'm sorry for

       2    the record, it looks like the -- we are missing one

       3    page in order, which is 79, Bates 79.              I'm not

       4    suggesting we need it, but it looks like the agenda

       5    for whatever reason wasn't included in the exhibit.

       6    BY MR. STEWART:

       7          Q.      Sir, do you -- turn your attention to

       8    Page 5592.

       9          A.      92.

      10          Q.      Now, do you see that that's a news report?

      11          A.      Yes.

      12          Q.      Okay.

      13                  Is that the sort of thing you would expect

      14    to see in the packets, the reports that are provided

      15    to you on the OMS committee?

      16          A.      I would expect to see data that was

      17    pertinent to the particular account, yes.

      18          Q.      And if there is a news report about

      19    diversion at this particular pharmacy, would you

      20    expect that?

      21          A.      Yes.

      22          Q.      Turn to Page 5594.

      23          A.      Okay.

      24          Q.      And do you see that it's a second report

     Golkow Litigation Services                                            Page 396
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 184Confidentiality
                                                           of 344. PageID #: 252015
                                                                               Review

       1    about a second pharmacy?

       2           A.     Yes.

       3           Q.     And this is the Food City Pharmacy?

       4           A.     Yes.

       5           Q.     It's in Knoxville, Tennessee?

       6           A.     Yes.

       7           Q.     On Hardin Valley, it is 11501 Hardin

       8    Valley ROA?

       9           A.     Yes.

      10           Q.     So, now, this is the second pharmacy in

      11    this package that is in Tennessee and before your

      12    committee as suspected of diversion, fair?

      13           MR. HOFFMAN:      Object to form.

      14    BY THE WITNESS:

      15           A.     It's suspect if it's a reason for review,

      16    yes.

      17    BY MR. STEWART:

      18           Q.     And let me ask you, if we wanted to look

      19    at every report that has ever been filed of the sort

      20    that is included in Exhibit 37, would Purdue have

      21    these reports on file?

      22           A.     I would suspect they do.

      23           Q.     We ought to be able to go into Purdue's

      24    records and figure out how many pharmacies in

     Golkow Litigation Services                                            Page 397
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 185Confidentiality
                                                           of 344. PageID #: 252016
                                                                               Review

       1    Tennessee, for example, have been subject to OMS

       2    review, fair?

       3          MR. HOFFMAN:       Object to form, foundation.

       4    BY THE WITNESS:

       5          A.      I would expect you would be able to find

       6    those pharmacies anywhere that have been reviewed.

       7    BY MR. STEWART:

       8          Q.      Turn to Page 5599, sir.

       9          A.      5599.    Yes.

      10          Q.      Do you see it's a narrative?

      11          A.      Yes.

      12          Q.      Do you see there is a section that's

      13    entitled "Wholesaler Input"?

      14          A.      Yes.

      15          Q.      And tell me what you have here in this

      16    narrative.

      17                  Why -- why is this included in this

      18    report?

      19                  I mean, do you always have these sorts of

      20    narratives in these reports?

      21          A.      There is usually wholesaler input.

      22    It's -- some is more significant than others or longer

      23    than others or multiple accounts.

      24          Q.      But if there is investigations, if there

     Golkow Litigation Services                                            Page 398
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 186Confidentiality
                                                           of 344. PageID #: 252017
                                                                               Review

       1    are investigations that have been done, you would

       2    expect that these reports would be included so that

       3    you could review them on the OMS committee, is that

       4    fair?

       5          A.      If the -- if we were able to get input

       6    from our wholesaler partners, we would do so.

       7          Q.      Do you see that it says, "Jack and

       8    Giselle," it is the very first line under Wholesaler

       9    Input --

      10          A.      Yes.

      11          Q.      -- "contacted Ed Hazewski from ABC on

      12    May 24th, 2012."

      13                  Do you see that?

      14          A.      Yes, I do.

      15          Q.      Who do you think Jack is?          Is that Jack

      16    Crowley?

      17          A.      That's Jack Crowley.

      18          Q.      And who is Gis -- Giselle?

      19          A.      Giselle Issa.

      20          Q.      And do you see that -- that it says that:

      21                  "Ed stated that his comments are

      22    applicable to the three Food City Pharmacies.                Ed

      23    stated that a year ago ABC started forcing Food City's

      24    volume down.      Ed stated that their volume is mainly

     Golkow Litigation Services                                            Page 399
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 187Confidentiality
                                                           of 344. PageID #: 252018
                                                                               Review

       1    driven by Bearden Clinic (managed by Drs. Frank and

       2    Janet McNeil) both region zero doctors."

       3                  Do you see that?

       4          A.      I do see that.

       5          Q.      And then do you see it says down, I've

       6    underlined it:

       7                  "Ed stated that there are three Food City

       8    Pharmacies in Knoxville and they all fill

       9    prescriptions for the Bearden Clinic."

      10                  Do you see that?

      11          A.      Yes.

      12          Q.      And -- and do you know what -- what was

      13    done to follow up on this report?

      14          A.      This specific report?

      15          Q.      Yeah, um-hum.

      16          A.      I don't know.

      17          Q.      Okay.    Can you turn to Page 5600.

      18                  Do you see that there is a recommendation

      19    made?

      20          A.      Yes.

      21          Q.      And what's the recommendation?

      22          A.      The recommendation is:

      23                  "We recommend that Purdue" -- "Purdue

      24    assist in the site visit of this Food City account.

     Golkow Litigation Services                                            Page 400
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 188Confidentiality
                                                           of 344. PageID #: 252019
                                                                               Review

       1    In particular, we are interested in confirming whether

       2    the account is complying with state reporting

       3    requirements under the Prescription Drug Monitoring

       4    Program, and attempt to learn more about the

       5    prescribers whose patients they are servicing.                If we

       6    participate in a visit with ABC, this account will

       7    qualify for MOEs 1 and 2.          The sales reps may continue

       8    to call, and will be requested to notify the General

       9    Counsel's Office if further derogatory information is

      10    obtained."

      11          Q.      So what happened was the OMS committee was

      12    presented with a report with a pharmacy and there is a

      13    report involving large amounts of -- of OxyContin, for

      14    example, prescribed and the recommendation is that you

      15    send some field representatives, go down to look at

      16    it, is that fair?

      17          MR. HOFFMAN:       Object to form.

      18    BY THE WITNESS:

      19          A.      The last line is a field representative,

      20    the Purdue assisted in the site visit would be with

      21    the executive director of CSA, I assume, or -- and/or

      22    Luis Bauza, director of investigations.

      23    BY MR. STEWART:

      24          Q.      So the point is at this point the

     Golkow Litigation Services                                            Page 401
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 189Confidentiality
                                                           of 344. PageID #: 252020
                                                                               Review

       1    recommendation, and this is taking place in June 2012,

       2    the recommendation is don't take any action with

       3    regard to referring this pharmacy to the DEA, but

       4    conduct further investigation, is that correct?

       5          A.      I am not sure, because I forget right now,

       6    MOEs stand for recommendation actions, and I don't

       7    remember what each MOE number was and meant.                So I can

       8    tell you -- I can't tell you what specific

       9    Recommendations 1 and 2 are.

      10          Q.      We'd have to look at the MOEs to figure

      11    that out?

      12          A.      Yeah.

      13          Q.      But what we do know is that there is a

      14    recommendation that there be a site visit of the Food

      15    City account?

      16          A.      Yes.

      17          Q.      Fair?

      18                  Do you know if that ever happened?

      19          A.      I don't.

      20          Q.      Okay.

      21          A.      I'm --

      22          MR. HOFFMAN:       Hey, Mike, is it a good time to

      23    take --

      24          MR. STEWART:       Sure.

     Golkow Litigation Services                                            Page 402
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 190Confidentiality
                                                           of 344. PageID #: 252021
                                                                               Review

       1          MR. HOFFMAN:       -- just a quick break?

       2          MR. STEWART:       Absolutely.      Let's take five.

       3          THE VIDEOGRAPHER:        We are off the record at

       4    3:04 p.m.

       5                       (WHEREUPON, a recess was had

       6                         from 3:04 to 3:18 p.m.)

       7          THE VIDEOGRAPHER:        We are back on the record at

       8    3:18 p.m.

       9                       (WHEREUPON, a certain document was

      10                         marked Purdue-Seid Deposition Exhibit

      11                         No. 038, for identification, as of

      12                         12/13/2018.)

      13    BY MR. STEWART:

      14          Q.      I'm going to hand the exhibit -- the

      15    witness Exhibit 38.

      16                  Sir, do you recognize that document?

      17          A.      I do not.

      18          Q.      Do you recognize the type of document, a

      19    Field Research Result Summary?

      20          A.      Who -- who authored this?

      21          Q.      I don't know.

      22                  Do you -- do you know what it is?

      23          A.      I do not know what it is.

      24          Q.      Okay.    You -- you -- you haven't seen or

     Golkow Litigation Services                                            Page 403
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 191Confidentiality
                                                           of 344. PageID #: 252022
                                                                               Review

       1    you are not familiar with the document that has a

       2    Bates number P_TN_000055997?

       3          A.      No.

       4          Q.      And --

       5          A.      I'm trying to figure out what, even, prism

       6    map is here.

       7          Q.      It doesn't sound like it is a document

       8    that you recall using on the OMS committee?

       9          A.      I don't recall this document, no.

      10                        (WHEREUPON, a certain document was

      11                         marked Purdue-Seid Deposition Exhibit

      12                         No. 039, for identification, as of

      13                         12/13/2018.)

      14    BY MR. STEWART:

      15          Q.      I hand you Exhibit 39.

      16          A.      Thank you.

      17          Q.      And --

      18          MR. STEWART:       Oh.   Here, let me take one back.

      19    BY MR. STEWART:

      20          Q.      Do you recognize Exhibit 39?

      21          A.      I rec -- do I recognize that this is

      22    Exhibit 39?

      23          Q.      Yeah.

      24          A.      Yes, this is Exhibit 39.

     Golkow Litigation Services                                            Page 404
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 192Confidentiality
                                                           of 344. PageID #: 252023
                                                                               Review

       1          Q.      Do you recognize what sort of document it

       2    is?

       3          A.      This is a document from a rep to I believe

       4    Russell Johnson was a DM -- no, Clyde Williams I think

       5    was a DM and Phil Cramer was an RN, and Mark

       6    Carraturo, Windell Fisher, Paul Rusu, Joan Zooper were

       7    all copied, but I would not have seen this document.

       8    I don't believe.

       9          Q.      And do you -- are you familiar with

      10    documents in which Purdue will decide whether or not

      11    doctors can -- can be detailed by Purdue salespeople?

      12          A.      2007, I was in corporate and it had been

      13    better than seven years that I was in the sales field,

      14    so I am not familiar with this type of document.

      15          Q.      Okay.    So you are not familiar with this

      16    document here that says:          "Purdue has decided that

      17    sales representatives may call on Dr. Frank and Janet

      18    McNeil."

      19                  Do you see that?

      20          A.      Yes, I saw it.       I read it.      And I'm not

      21    familiar --

      22          Q.      And -- and you are not -- you are just not

      23    familiar with --

      24          A.      This type of document?

     Golkow Litigation Services                                            Page 405
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 193Confidentiality
                                                           of 344. PageID #: 252024
                                                                               Review

       1           Q.     -- that type of document?

       2           A.     Oh.    And I said Alieen -- Aileen was a

       3    rep.    She was still a paralegal at Purdue at that

       4    time.    She went from being a paralegal to a rep.

       5           Q.     Do you recognize --

       6           A.     Too much information.

       7           Q.     Do you recognize that the McNeils are the

       8    doctors that were mentioned in the OMS -- in the OMS

       9    report that we looked at that's Exhibit 37?

      10           A.     I do remember seeing those names.

      11                        (WHEREUPON, a certain document was

      12                         marked Purdue-Seid Deposition Exhibit

      13                         No. 040, for identification, as of

      14                         12/13/2018.)

      15    BY MR. STEWART:

      16           Q.     I'm going to hand you Exhibit 40.

      17           A.     Thank you.

      18           Q.     And ask you if you recognize that?

      19                  Do you recognize that document?

      20           A.     No.

      21           Q.     Do you recognize -- do you know what an

      22    ROC is?

      23           A.     Yes, it is a report of concern.

      24           Q.     And is that the sort of document -- well,

     Golkow Litigation Services                                            Page 406
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 194Confidentiality
                                                           of 344. PageID #: 252025
                                                                               Review

       1    first, tell me what a report of concern is within

       2    Purdue?

       3          A.      Report of concern is a report that -- I

       4    believe it is anybody in the organization.               I don't

       5    know if that's still in -- the case, but I believe

       6    it's anybody in the organization who sees or hears

       7    something that may be a report of concern as it

       8    relates to one of our products, in particular as to

       9    the inappropriate use of a product, that they are

      10    expected, not that they can, they are expected to --

      11    to document that with an ROC, as it was called.

      12          Q.      And -- and what is the date of the report

      13    of concern that's Exhibit 40 to your deposition?

      14          A.      The date, it's date stamped August 25,

      15    2008.

      16          Q.      Okay.    And do you see that -- what the

      17    report of concern said is that:

      18                  "Purdue sales rep called to report in the

      19    Metro Pulse (21 August 2008, Volume 18), he read an

      20    article called Drug Zone.          There were statements about

      21    OxyContin, Food City Pharmacy and the Vearden Heart

      22    Associates Clinic."

      23                  Do you see that?

      24          A.      Yes.

     Golkow Litigation Services                                            Page 407
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 195Confidentiality
                                                           of 344. PageID #: 252026
                                                                               Review

       1          Q.      Okay.    Do you see, if you turn to

       2    Page 6589 in the Bates numbering, that there is a

       3    newspaper article called "Drug Zone"?

       4          A.      Yes.

       5          Q.      Do you see that the "Drug Zone" article,

       6    and you can look up on the screen, it talks about Food

       7    City, the Food City, and it talks about the McNeils?

       8                  I'll turn it this way for you.

       9                  Do you see that?

      10          A.      Yeah, it's a bit hard to read either in

      11    the copy here or on the screen.

      12          Q.      Do you see it talks about Bearden

      13    Healthcare Associates as operated by Drs. Frank and

      14    Janet McNeil?

      15          A.      Yes.

      16          Q.      Do you see it talks about the Food City

      17    parking lot?

      18          A.      Where is that?

      19          Q.      It is highlighted.        It is up on the

      20    screen.

      21          A.      I can't see that.

      22          Q.      Well, do you see the headline is "Drug

      23    Zone Westwood Residents Allege Irresponsible" --

      24    "Allege Irresponsible Prescription Practices At

     Golkow Litigation Services                                            Page 408
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 196Confidentiality
                                                           of 344. PageID #: 252027
                                                                               Review

       1    Neighborhood Food City and Nearby Clinic"?

       2           A.     Yes.

       3           Q.     Okay.    Now, before we looked at an

       4    Exhibit 37, which was a June 2012 report on a Food

       5    City Pharmacy in the Knoxville area.

       6                  Do you see -- do you remember that?

       7           A.     I do remember that.

       8           Q.     Okay.    And you remember that report

       9    contained investigator comments regarding Drs. Frank

      10    and Janet McNeil?

      11           A.     I remember they were in that report.

      12           Q.     Now here we have a newspaper article

      13    addressing those same doctors, fair?

      14           A.     I -- the same names are in this article,

      15    yes.

      16           Q.     Right.     The -- Exhibit 40 has got the same

      17    names of the doctors, it has got Food City, and it is

      18    a Food City in Knoxville, fair?

      19           A.     Okay.    It is a Food City in Knoxville.

      20           Q.     And my question is:         Do you know why this

      21    newspaper article is not included in the package of

      22    materials that you were given to review on the OMS

      23    committee?

      24           A.     I do not know.

     Golkow Litigation Services                                            Page 409
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 197Confidentiality
                                                           of 344. PageID #: 252028
                                                                               Review

       1                       (WHEREUPON, a certain document was

       2                         marked Purdue-Seid Deposition Exhibit

       3                         No. 041, for identification, as of

       4                         12/13/2018.)

       5    BY MR. STEWART:

       6          Q.      I'm going to hand you Exhibit 41.

       7          A.      Thank you.

       8          MR. STEWART:       If you can share, I would

       9    appreciate it.

      10    BY MR. STEWART:

      11          Q.      Do you see here you have an e-mail from

      12    Steve Bishop to you?

      13          A.      Yes.

      14          Q.      Do you see he says:

      15                  "I'm looking at my calendar and I will try

      16    to plan a trip to see Food City headquarters and then

      17    drive to the Knoxville area the last week of October"?

      18                  Do you see that?

      19          A.      Yes.

      20          Q.      Okay.    And do you see forwarded is a

      21    report, if you go down to the bottom of the page, from

      22    Russell Johnson and he reports that:

      23                  "Approximately a year ago there was a news

      24    report on TV that discussed Food City Pharmacy in

     Golkow Litigation Services                                            Page 410
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 198Confidentiality
                                                           of 344. PageID #: 252029
                                                                               Review

       1    Knoxville, Tennessee as being the largest distributor

       2    of opioids in Tennessee.          They then insinuated the

       3    prescriptions were coming from Bearden Healthcare.

       4    The report did not condemn the pharmacy or the

       5    clinic."

       6                  Do you see that?

       7          A.      Yes.

       8          Q.      And then below that there is a paragraph

       9    talking about the Metro Pulse article "Drug Zone"?

      10          A.      Yes.

      11          Q.      That's the article we just looked at?

      12          A.      Yes.

      13          Q.      Okay.    And what -- what was your reaction,

      14    do you remember this?

      15          A.      I don't.

      16          Q.      I take it you've now -- with this 2 --

      17    September 2008 correspondence you've been put on

      18    notice personally of these reports about the Food City

      19    Pharmacy in Knoxville and the McNeils, fair?

      20          MR. HOFFMAN:       Object to form.

      21    BY THE WITNESS:

      22          A.      I think -- I've been put on notice because

      23    I've read these here or --

      24    BY MS. CONROY:

     Golkow Litigation Services                                            Page 411
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 199Confidentiality
                                                           of 344. PageID #: 252030
                                                                               Review

       1          Q.      Right.     Someone has now sent an e-mail to

       2    you --

       3          A.      Oh, I see -- I see what you are asking.

       4          Q.      -- telling you about the "Drug Zone"

       5    article and the television report, fair?

       6          A.      I was copied on this.

       7          Q.      Well, you were sent an e-mail from

       8    Steve Bishop, right?

       9          A.      Yes.

      10          Q.      And why would Steve Bishop send you an

      11    e-mail about this?

      12          A.      Because he reported to me.

      13          Q.      Why would this be something that would

      14    come to your attention within Purdue?

      15          A.      Because Food City was a retail account --

      16    was a -- was a distributor, was a retailer, a chain

      17    retailer and geographically it was Steve Bishop's

      18    responsibility.

      19          Q.      So this didn't come to you, this document

      20    that we are looking at now did not come to you in the

      21    context of your work for the OMS committee, it came to

      22    you through business channels?

      23          A.      It appears so.

      24          Q.      And you're being handed document -- the

     Golkow Litigation Services                                            Page 412
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 200Confidentiality
                                                           of 344. PageID #: 252031
                                                                               Review

       1    document that's Exhibit 41 or you were sent the e-mail

       2    in that document to alert you that one of the

       3    customers that you were ultimately responsible for

       4    managing had been mentioned as potentially involved in

       5    diversion?

       6          A.      That's what it -- the article said.

       7          Q.      What steps did you take?

       8          A.      I don't remember.

       9          Q.      What -- what would normally be your

      10    reaction to receiving such an article?

      11          A.      I don't know who else was copied -- well,

      12    I do see who was copied from Eric, but I don't know

      13    where else it was forwarded, so I don't know if this

      14    wound up in legal or more senior management, sales

      15    management, because I do not see -- a regional manager

      16    was copied and I don't know what she -- if she would

      17    have forwarded this on, so I don't know -- I don't

      18    know what was done with this e-mail.

      19          Q.      What should have been done with the e-mail

      20    that's Exhibit 41?        What should have that -- what

      21    should that have prompted?

      22          MR. HOFFMAN:       Object to form.

      23    BY THE WITNESS:

      24          A.      I -- what it should have prompted, and I

     Golkow Litigation Services                                            Page 413
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 201Confidentiality
                                                           of 344. PageID #: 252032
                                                                               Review

       1    did see 2008 reports of concern were in place, it

       2    should have prompted a ROC, which would have been

       3    triaged through legal and then -- and perhaps there

       4    was action decided on this -- then action would be

       5    decided.     Steve Bishop, perhaps, provided additional

       6    information because he scheduled to get down there in

       7    October.

       8    BY MR. STEWART:

       9          Q.      What should you have done receiving a

      10    report that described diversion, you yourself within

      11    the organization?

      12          MR. HOFFMAN:       Object to form.

      13    BY THE WITNESS:

      14          A.      Well, I don't know what I -- I can't tell

      15    you what I -- I would have done with this.               It was --

      16    these were articles.         It appears they were going to,

      17    like, government affairs, they -- public affairs, the

      18    areas that would review these kind of articles, and I

      19    don't know what action -- my action would have been to

      20    support Steve Bishop to go down there and get some

      21    more information before I did something.

      22    BY MR. STEWART:

      23          Q.      And -- and once again, we've got now this

      24    article describing the problems at Food City and also

     Golkow Litigation Services                                            Page 414
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 202Confidentiality
                                                           of 344. PageID #: 252033
                                                                               Review

       1    describing Bearden Healthcare and the McNeils, fair?

       2          MR. HOFFMAN:       Object to form.

       3    BY THE WITNESS:

       4          A.      It was the previous article you showed me,

       5    right, the Westwood Homeowners --

       6    BY MR. STEWART:

       7          Q.      Right.

       8          A.      Yeah.

       9          Q.      You can read the e-mail from Russell

      10    Johnson that's forwarded to you and it says, do you

      11    see in the paragraph, the second paragraph --

      12          A.      Uh-huh.

      13          Q.      "The article discussed the Westwood

      14    Homeowners Association's newsletter that accused Food

      15    City Pharmacy and Bearden Healthcare and Associates of

      16    conspiring to run a pill mill.            They accused Food City

      17    of filling the highest volume of opioids in the State

      18    of Tennessee.      The community news article went on to

      19    say that the physicians at Bearden Healthcare are the

      20    biggest problem in the state when it comes to

      21    overprescribing."

      22                  Do you see that?

      23          A.      I see that.

      24          Q.      Okay.    So here once again this is a report

     Golkow Litigation Services                                            Page 415
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 203Confidentiality
                                                           of 344. PageID #: 252034
                                                                               Review

       1    of this article warning of Food City and Bearden

       2    Healthcare run by the McNeils, correct?

       3          MR. HOFFMAN:       Object to form.

       4    BY MR. STEWART:

       5          Q.      Is that fair?

       6          A.      It mentions them, yes.

       7          Q.      Well, and my question is:          How come this

       8    article is not in the materials in Exhibit 37 that

       9    were provided to you on the OMS committee when you

      10    were provided a -- a report about a Food City?

      11          A.      Let me --

      12          MR. HOFFMAN:       Object to form, timeframe.

      13    BY THE WITNESS:

      14          A.      -- let me just check, because I want to

      15    just see the date of the other report.

      16                  So I'm not sure that there weren't -- and

      17    it goes back to an earlier question of yours as to

      18    whether an account was reviewed and if it was --

      19    continued to be reviewed.          I'm not sure that Food City

      20    was not reviewed by the OMS committee before 2012, as

      21    this --

      22    BY MR. STEWART:

      23          Q.      If not, would you expect the article to be

      24    included in the packet for you to review on the OMS

     Golkow Litigation Services                                            Page 416
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 204Confidentiality
                                                           of 344. PageID #: 252035
                                                                               Review

       1    committee, the article --

       2          A.      I would have ex --

       3          Q.      -- about the "Drug Zone"?

       4          MR. HOFFMAN:       Object to form, timeframe.

       5    BY THE WITNESS:

       6          A.      I would have expected that if that had

       7    happened in 2008 and if it hit the algorithm, which it

       8    seems it would have, that in that 2008 report if there

       9    was media information available that it should have

      10    been included in that report.

      11    BY MR. STEWART:

      12          Q.      Would -- would you have expected that

      13    Russell Johnson's e-mail recounting the concerns about

      14    Food City and the Bearden health clinic and the

      15    McNeils, would -- would you have expected that that

      16    would be included in the packet for the OMS

      17    committee's review?

      18          MR. HOFFMAN:       Object to form.

      19    BY THE WITNESS:

      20          A.      Not necessarily in the 2012, but as -- do

      21    you have that 2012 on you?          Okay.

      22                  If there had been one in 2000 -- in and

      23    around 2008, just like in this one where Lee Sparks,

      24    who was a Tennessee rep, made a fee -- field sales

     Golkow Litigation Services                                            Page 417
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 205Confidentiality
                                                           of 344. PageID #: 252036
                                                                               Review

       1    report, it would be in here.           It would be in here.

       2    BY MR. STEWART:

       3          Q.      Right.     It sounds like you would have

       4    expected Russell Johnson's report to appear before the

       5    OMS committee in some report depending on -- you know,

       6    timed at some point, fair?

       7          MR. HOFFMAN:       Objection to form, foundation.

       8    BY THE WITNESS:

       9          A.      I would expect a field sales report to

      10    appear, not necessarily the Russell Johnson letter.

      11    There have been times in certain instances where we

      12    send a manager to -- to do an onsite or go in with the

      13    rep to -- or ascertain the information to get a -- a

      14    more senior review, if you will.

      15                  But if there -- since this is dated 2008,

      16    if there was re -- review before the committee in

      17    2008, and I don't know if there was or there wasn't,

      18    but it would be surprising if it wasn't -- if -- if it

      19    hit the algorithm, that there would be field sales

      20    input in the document.

      21    BY MR. STEWART:

      22          Q.      I mean, you would expect as a member of

      23    the OMS committee that at some point the committee

      24    would be apprised of any negative field report

     Golkow Litigation Services                                            Page 418
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 206Confidentiality
                                                           of 344. PageID #: 252037
                                                                               Review

       1    describing diversion or suggesting diversion?

       2          A.      We certainly would not --

       3          MR. HOFFMAN:       Sorry.    Object to form.

       4    BY THE WITNESS:

       5          A.      We certainly would ignore -- not nor --

       6    ignore a field report.

       7    BY MR. STEWART:

       8          Q.      Now, you talk about, Well, perhaps.

       9                  Do you recall saying, Well, it may be

      10    there was a prior report about Food City and the

      11    McNeils, fair?

      12          A.      I would say, yes, perhaps there was.

      13          Q.      Wouldn't you expect any prior report to be

      14    mentioned in Exhibit 37, the 2012 report?

      15          A.      I --

      16          MR. HOFFMAN:       Object to form, foundation.

      17    BY THE WITNESS:

      18          A.      -- am not sure.       I would...

      19    BY MR. STEWART:

      20          Q.      As -- as a matter of general policy,

      21    wouldn't the committee want to know --

      22          A.      It certainly would be possible.

      23          Q.      Go ahead.

      24          A.      Sorry.

     Golkow Litigation Services                                            Page 419
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 207Confidentiality
                                                           of 344. PageID #: 252038
                                                                               Review

       1          Q.      Pardon me.

       2          A.      It certainly would be possible.

       3                       (WHEREUPON, a certain document was

       4                         marked Purdue-Seid Deposition Exhibit

       5                         No. 042, for identification, as of

       6                         12/13/2018.)

       7    BY MR. STEWART:

       8          Q.      Do you recognize the document that you see

       9    up on the screen, and it's Exhibit 42?

      10          A.      "CSA Compliance Accounts, Redacted For

      11    Privilege."

      12                  This looks like -- I don't know what this

      13    is.   This looks like a type of -- it's titled "CS

      14    Compliance Accounts," so it looks like a CSA

      15    compliance report.

      16          Q.      What is a CSA compliance report?

      17          A.      I don't know what it is.

      18          Q.      It is not a document that you are familiar

      19    with --

      20          A.      It is not a document --

      21          Q.      -- within Purdue?

      22          A.      It may have been a precursor to

      23    information for the OMS, but it's not a -- I would not

      24    see this document.        This -- it mentions Luis, which is

     Golkow Litigation Services                                            Page 420
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 208Confidentiality
                                                           of 344. PageID #: 252039
                                                                               Review

       1    Luis Bauza, so it appears that it related to

       2    investigation and that would be through CSA compliance

       3    or the legal department or maybe corporate security.

       4    CS compliance reports to legal, so it would be legal

       5    or corporate compliance.

       6                        (WHEREUPON, a certain document was

       7                         marked Purdue-Seid Deposition Exhibit

       8                         No. 043, for identification, as of

       9                         12/13/2018.)

      10    BY MR. STEWART:

      11          Q.      Do you recognize the document that is

      12    Exhibit 43?

      13          A.      No.

      14          Q.      You -- you don't, you have not seen a

      15    document like that before?

      16          A.      Referral to DEA, no.

      17          Q.      Right.     Do you know what document is used

      18    to refer a doctor to DEA, to the DEA?

      19          A.      No, I don't.

      20          Q.      Is there a similar document used to refer

      21    pharmacists to the DEA by the OMS committee?

      22          A.      The OMS usually contacts -- it's mentioned

      23    in that report you were showed, Robin Abrams' deck, it

      24    said that referral was done by phone or by visit for

     Golkow Litigation Services                                            Page 421
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 209Confidentiality
                                                           of 344. PageID #: 252040
                                                                               Review

       1    the pharmacy.

       2                       (WHEREUPON, a certain document was

       3                         marked Purdue-Seid Deposition Exhibit

       4                         No. 044, for identification, as of

       5                         12/13/2018.)

       6          MS. PORTER:        I'm just going to -- do you want

       7    this Post-it on the exhibit?

       8          MR. STEWART:       You can take it off.

       9    BY MR. STEWART:

      10          Q.      Do you recognize the exhibit that is 44?

      11          MS. PORTER:      Do you have a copy, Counsel?

      12    BY THE WITNESS:

      13          A.      I recognize it was -- a copy was sent to

      14    me.

      15    BY MR. STEWART:

      16          Q.      Do you see it says:         "Reports for OMS

      17    meeting," that's the subject?

      18          A.      Yes.

      19          Q.      Okay.    Do you see the second report from

      20    the bottom of that list is "Food City Pharmacy updated

      21    report for July 2013"?

      22          A.      I see that.

      23          Q.      Okay.    And do you know -- do you know what

      24    happened with respect to Food City in 2013?

     Golkow Litigation Services                                            Page 422
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 210Confidentiality
                                                           of 344. PageID #: 252041
                                                                               Review

       1          A.      I don't.

       2          Q.      But you were once again looking at a

       3    report with regard to Food City Pharmacy?

       4          A.      Apparently.

       5                        (WHEREUPON, a certain document was

       6                         marked Purdue-Seid Deposition Exhibit

       7                         No. 045, for identification, as of

       8                         12/13/2018.)

       9    BY MR. STEWART:

      10          Q.      I'm going to hand you Exhibit 55.

      11          A.      Thank you.

      12          Q.      Do you recognize that document?

      13          MR. HOFFMAN:       Did you say 55?

      14          MR. STEWART:       Oh, 45.    Pardon me.

      15    BY MR. STEWART:

      16          Q.      Is that a document you recognize?

      17          A.      No.

      18          Q.      Okay.

      19                  Do you see it says:         "Sales

      20    representatives should not call on Drs. Janet and

      21    Frank McNeil"?

      22          A.      I see that.

      23          Q.      Okay.    Is the reason you don't recognize

      24    this because it's not a document that would come from

     Golkow Litigation Services                                            Page 423
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 211Confidentiality
                                                           of 344. PageID #: 252042
                                                                               Review

       1    within the OMS system?

       2          A.      Sales reps call on doctors.

       3          Q.      Right.

       4          A.      And report up through the sales

       5    department.      Although I was under the umbrella of the

       6    sales department, my team called only on trade

       7    accounts, so I would not be familiar with this.

       8          Q.      But here is a question.

       9                  You remember that Dr. Frank McNeil and

      10    Janet McNeil --

      11          A.      Yes, I do.

      12          Q.      -- remember they were referred to -- in a

      13    field report which was contained in Exhibit 37 which

      14    was this OMS report that you had?

      15          A.      Yes.

      16          Q.      Fair?

      17                  Wouldn't a Purdue document stating that

      18    the doctors referred to had been put on the "do not

      19    call" list, shouldn't that report be included in the

      20    materials given to the OMS committee?

      21          MR. HOFFMAN:       Object --

      22    BY THE WITNESS:

      23          A.      I believe it was.

      24          MR. HOFFMAN:       Object to form.

     Golkow Litigation Services                                            Page 424
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 212Confidentiality
                                                           of 344. PageID #: 252043
                                                                               Review

       1    BY THE WITNESS:

       2          A.      I believe it was, because, as I remember,

       3    it said they were in region zero, so if they were in

       4    region zero, that is the code name for don't call on

       5    the doc.

       6    BY MR. STEWART:

       7          Q.      The point is you wouldn't -- you -- you

       8    don't think you would have to include this document

       9    with the actual history, fair, that's your thinking?

      10          A.      I would think it would be a duplication.

      11          Q.      Normally would you include sales documents

      12    that would talk about prescribers that are discussed

      13    in the OMS materials?

      14          A.      What do you mean by "sales documents"?

      15          Q.      Well, is there any rule that says, you

      16    know, we are not going to put sales documents in an

      17    OMS committee report as backup?

      18          A.      Not that I'm aware of.

      19          Q.      I mean, in fact, I think you have said

      20    sales documents, reports from salespeople of potential

      21    diversion should go in the OMS materials that you

      22    would rec -- review, fair?

      23          A.      They are in -- they are in those reports.

      24    There is a section that says sales -- field sales

     Golkow Litigation Services                                            Page 425
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 213Confidentiality
                                                           of 344. PageID #: 252044
                                                                               Review

       1    input or something along those lines.

       2                        (WHEREUPON, a certain document was

       3                         marked Purdue-Seid Deposition Exhibit

       4                         No. 046, for identification, as of

       5                         12/13/2018.)

       6    BY MR. STEWART:

       7          Q.      I hand you Exhibit 46.

       8          A.      Thank you.

       9          Q.      Do you recognize this document?

      10          A.      No.

      11          Q.      You do not?

      12          A.      This is an Adverse Event/Product

      13    Complaint/ROC.       This is a form that a Purdue employee

      14    is required to do for adverse events, product

      15    complaints, reports of concern, ADD.             I don't think

      16    it's attention deficit disorder.            I don't know what

      17    ADD is.

      18                  But this is a form that -- I didn't see

      19    this particular one, but this is a form that anyone in

      20    the company is supposed to do to deal with any of

      21    those issues.

      22          Q.      And do you see that the -- if you look at

      23    the top of -- of the second page, it says:

      24                  "Chad said they do not fill prescriptions

     Golkow Litigation Services                                            Page 426
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 214Confidentiality
                                                           of 344. PageID #: 252045
                                                                               Review

       1    for Drs. Frank McNeil's clinic.            Chad said that he has

       2    had some patients come in and tell him that

       3    Dr. Meal" -- "McNeil has told patients that the DEA

       4    has told Dr. McNeil he has got to cut back on his

       5    prescribing."

       6                  Do you see that?

       7          A.      Yes.

       8          Q.      Do you know why this document wouldn't be

       9    included in your materials that the -- that the OMS

      10    committee reviewed when evaluating Food City and its

      11    prescribers, related prescribers, the McNeils?

      12          MR. HOFFMAN:       Object to form, foundation.

      13    BY THE WITNESS:

      14          A.      I don't know if there is any policy as to

      15    why it would or it wouldn't.

      16                       (WHEREUPON, a certain document was

      17                         marked Purdue-Seid Deposition Exhibit

      18                         No. 047, for identification, as of

      19                         12/13/2018.)

      20    BY MR. STEWART:

      21          Q.      I hand you exhibit marked 30 -- 47.

      22                  Do you recognize that document?

      23          A.      It's to me from Jack.         I don't remember

      24    the specific document, but it was to me.

     Golkow Litigation Services                                            Page 427
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 215Confidentiality
                                                           of 344. PageID #: 252046
                                                                               Review

       1          Q.      Okay.    And -- and is this a document that

       2    relates to your work on the OMS committee?

       3          A.      This appears to be Jack just asking me

       4    about three specific accounts.

       5          Q.      Do you see he is asking you about the Food

       6    City account in Knoxville?

       7          A.      Yes.

       8          Q.      Okay.    And he is asking you about a large

       9    order of OxyContin 80 milligrams?

      10          A.      Yes.

      11          Q.      Okay.    And why is he -- why -- why is he

      12    talking to you about this?          I mean, why would Jack

      13    contact you about this?

      14                  Is this a specific -- a suspicious order?

      15          A.      He asked me if we notified customers of

      16    this sales increase.

      17          Q.      What was he -- what was the point of that?

      18          A.      I'd venture to say you'd have to ask Jack

      19    what the point of it was, but he did ask me about the

      20    notification of the customers.

      21          Q.      I guess my question is if Jack Crowley is

      22    contacting you, is it about diversion?              I mean, that's

      23    his area, right?

      24          A.      He is concerned about the size of the

     Golkow Litigation Services                                            Page 428
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 216Confidentiality
                                                           of 344. PageID #: 252047
                                                                               Review

       1    order.

       2          Q.      He is concerned about the size of the

       3    order that Food City Pharmacy is looking at, right?

       4          A.      That's correct.

       5          Q.      Or is making, fair?

       6          A.      Correct.

       7          Q.      And -- and -- and the reason that this

       8    e-mail is not in the materials that the OMS committee

       9    reviewed is because it postdates it, fair?

      10          A.      I guess it postdates it.

      11          Q.      Yeah, if you look at Exhibit 37, the

      12    report that you were looking at, Exhibit 37 is dated

      13    June 2012, fair?

      14          A.      Yes.

      15          Q.      And Jack Crowley is rec -- is noting that

      16    Food City in Knoxville is now ordering a large number

      17    of OxyContin 80 milligrams, fair?

      18          A.      That's what it says.

      19          Q.      And he is concerned about that order?

      20          MR. HOFFMAN:       Object to form.

      21    BY MR. STEWART:

      22          Q.      Is that --

      23          A.      It -- it appears he is concerned.

      24                       (WHEREUPON, a certain document was

     Golkow Litigation Services                                            Page 429
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 217Confidentiality
                                                           of 344. PageID #: 252048
                                                                               Review

       1                         marked Purdue-Seid Deposition Exhibit

       2                         No. 048 and No. 049, for

       3                         identification, as of 12/13/2018.)

       4    BY MR. STEWART:

       5          Q.      I'm going to hand you Exhibit 48.

       6                  Yeah, I take it you've gathered from Jack

       7    Crowley's e-mail that at that point at least one Food

       8    City in Knoxville is still going strong ordering

       9    Oxy-80s, right?

      10          MR. HOFFMAN:       Object to form.

      11    BY THE WITNESS:

      12          A.      I saw that there was a large order at that

      13    Food City in Knoxville.

      14    BY MR. STEWART:

      15          Q.      And do you remember in the report reviewed

      16    by OMS in June, what was reported to you is that there

      17    were actually three Food Cities and the Bearden clinic

      18    used all three of them to sell its pills, fair?

      19          A.      That's what it said.

      20          Q.      Okay.

      21          MR. HOFFMAN:       Object to the form.

      22    BY MR. STEWART:

      23          Q.      So we know at least one of them is --

      24    at -- at the point that Jack Crowley sent that e-mail

     Golkow Litigation Services                                            Page 430
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 218Confidentiality
                                                           of 344. PageID #: 252049
                                                                               Review

       1    is -- is ordering OxyContin-180s [sic] to sell --

       2    strike that.

       3                  We know that at least one Knoxville Food

       4    City is ordering OxyContin 80-milligram tablets to

       5    sell?

       6           A.     It appears that's the case.

       7           MR. HOFFMAN:      Mike, for your planning purposes,

       8    you have about five minutes.

       9    BY MR. STEWART:

      10           Q.     You have in front of you another exhibit.

      11                  Do you see that?

      12           A.     48?

      13           Q.     Exhibit 48?

      14           A.     Yes.

      15           Q.     Okay.    And what's Exhibit 48?

      16           A.     OMS report, September 12th, for Drug Park

      17    Inc.

      18           Q.     And what -- what is this?          Is this a

      19    follow-on report?        And I'll turn your attention to

      20    Page 0258.

      21           A.     I don't know whose report this is.             There

      22    is -- this is not an OMS report.            This -- it looks

      23    like it is some kind of follow-up report.

      24           Q.     Well, do you see on the front cover, okay,

     Golkow Litigation Services                                            Page 431
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 219Confidentiality
                                                           of 344. PageID #: 252050
                                                                               Review

       1    do you see on the front cover of Exhibit 48 it says:

       2    "OMS Summary Report"?

       3          A.      Yes.    But --

       4          Q.      What do you think the word "OMS" -- or the

       5    acronym "OMS" stands for?

       6          A.      Order monitoring system.

       7          Q.      Okay.

       8          A.      But that doesn't mean it is an order

       9    monitoring system committee report.

      10          Q.      Okay.    What do you think it is?

      11          A.      Because it doesn't look like one.

      12          Q.      Okay.    Why don't you turn to Page 0258.

      13          A.      Okay.

      14          Q.      Do you see that here it's -- the -- the --

      15    the -- the headline says -- we are looking at Food

      16    City Pharmacy 674 in Kingston Pike?

      17          A.      Yes.

      18          Q.      Okay.    And do you see that there is a

      19    discussion about an on-site visit?

      20          A.      Yes.

      21          Q.      And now that you are looking at this

      22    document, do you see -- do you see -- do you recognize

      23    it as a document that the OMS would have considered,

      24    the OMS committee?

     Golkow Litigation Services                                            Page 432
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 220Confidentiality
                                                           of 344. PageID #: 252051
                                                                               Review

       1          A.      We would consider the information in it.

       2    If you remember the format of the OMS reports, there

       3    is a section for wholesaler input, and I don't know if

       4    Giselle would cut and paste this or put a summary of

       5    this in that section.

       6          Q.      And so you think this is a wholesaler

       7    pitching in to tell you about -- to tell you about the

       8    Food City and Bearden?

       9          A.      I don't know what it is unless I read it.

      10          Q.      Okay.    Well, take a look at it.

      11          A.      Oh, yes, I know this guy.

      12          Q.      Do you recognize the report?

      13          A.      I don't recognize the report.            I recognize

      14    some of the names in the report, but not the report.

      15          Q.      Well, I'll turn your attention to Page 14

      16    because we have to move quickly here.

      17                  Sir, do you see Page 14, Bates Stamp 0259?

      18          A.      Yes.

      19          Q.      Okay.    Do you see that it talks about a

      20    Mr. Murphy who reveals that he and an associate had

      21    interviewed Frank McNeil at length over two hours

      22    perhaps a year ago, and it says:

      23                  "Matt felt that Dr. McNeil was afraid that

      24    Food City would cut off his patients the same way that

     Golkow Litigation Services                                            Page 433
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 221Confidentiality
                                                           of 344. PageID #: 252052
                                                                               Review

       1    CVS, Walgreens and Walmart had cut them off, therefore

       2    he had agreed to an interview."

       3                  Do you see that?

       4          A.      I do see that.

       5          Q.      Okay.    What do you think this is, this is

       6    a report from a wholesaler about Dr. McNeil and Food

       7    City again?

       8          MR. HOFFMAN:       Object to form.

       9    BY THE WITNESS:

      10          A.      I don't know for sure.          Matt Murphy is the

      11    vice president of pharm -- Pharma Compliance Group.

      12    So that's an outside agency.           There is further

      13    information where it says "contact with wholesaler"

      14    later on.     There is further contact where --

      15    BY MR. STEWART:

      16          Q.      Well, here --

      17          A.      -- Jack and Lou met with sales rep.

      18          Q.      Sir, I'll tell you, I'm going to hand you

      19    another exhibit.

      20          A.      Okay.

      21          Q.      Tell me if you recognize that as an

      22    official OMS report?

      23          A.      This looks like an OMS report.

      24          Q.      And it is, in fact, one about the Food

     Golkow Litigation Services                                            Page 434
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 222Confidentiality
                                                           of 344. PageID #: 252053
                                                                               Review

       1    City Pharmacy?

       2           A.     Yes.

       3           Q.     Okay.    And now I'm going to hand you

       4    Exhibit 51 [sic].        Okay.

       5                       (WHEREUPON, a certain document was

       6                         marked Purdue-Seid Deposition Exhibit

       7                         No. 050, for identification, as of

       8                         12/13/2018.)

       9    BY MR. STEWART:

      10           Q.     And we just had exhibit --

      11           MS. PORTER:     This will be 50.

      12           MR. STEWART:      Okay.    Exhibit 50.

      13           MS. PORTER:       I believe you are at two hours,

      14    but if you want to go ahead and ask the witness --

      15           MR. STEWART:      I'm going to put -- okay.          Thank

      16    you.

      17    BY MR. STEWART:

      18           Q.     Here, I'll hand you Exhibit 50.

      19           A.     Thank you.

      20           MR. STEWART:      And your copies.

      21    BY MR. STEWART:

      22           Q.     And do you recognize that document?

      23           A.     As meeting minutes?

      24           Q.     Yeah, Exhibit 50.

     Golkow Litigation Services                                            Page 435
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 223Confidentiality
                                                           of 344. PageID #: 252054
                                                                               Review

       1          A.      I recognize it is a type of OMS minutes we

       2    would receive.

       3          Q.      And can you turn to the second page,

       4    Page 2148.

       5          A.      2148.    You gave me two here.

       6          Q.      Do you see there in the center of the

       7    page there is a statement:

       8                  "Food City Pharmacy, Knoxville, Tennessee.

       9    Decision closed, suspended by McKesson"?

      10          A.      Yes.

      11          Q.      What does that mean?

      12          A.      That the investigation was closed and

      13    McKesson stopped shipping, from what it sounds like.

      14          Q.      So at that point do you know whether Food

      15    City is still -- is still prescribing -- or is still

      16    selling OxyContin, can you tell from the meeting

      17    minutes?

      18          A.      Oh, these are -- not from this copy of the

      19    minutes for sure.

      20          Q.      And from those minutes you can't tell

      21    whether Food City is still -- it may well be that Food

      22    City even then is still prescribing, fair?

      23          A.      I don't know that.

      24          Q.      And you can't tell whether or not the OMS

     Golkow Litigation Services                                            Page 436
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 224Confidentiality
                                                           of 344. PageID #: 252055
                                                                               Review

       1    committee ever reported Food City to the DEA or not,

       2    fair --

       3          A.      It doesn't --

       4          Q.      -- from any of the documents you've seen?

       5          A.      It doesn't say that here, no.

       6          Q.      Okay.

       7                  Let me ask you:       Do you recall that you

       8    had an e-mail talking about this Food -- the -- the

       9    problem of Food City and the McNeils, it was dated

      10    September 2008?

      11          MR. HOFFMAN:       Object to form.

      12    BY THE WITNESS:

      13          A.      I don't remember that document.

      14    BY MR. STEWART:

      15          Q.      So, I mean, is it fair to say that --

      16    well, I can refer your attention to it.              I believe

      17    it's --

      18          A.      Oh, do you mean in a previous e-mail?

      19          Q.      That's right, that's right.

      20          A.      Yes.

      21          Q.      You looked at an e-mail.

      22          A.      Yep.

      23          Q.      And -- and my point is:          Do you -- do you

      24    see that now over five years have elapsed since this

     Golkow Litigation Services                                            Page 437
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 225Confidentiality
                                                           of 344. PageID #: 252056
                                                                               Review

       1    Food City was first brought to your personal

       2    attention, and even then the record seems to suggest

       3    that after all of these discussions, all of these

       4    newspaper articles, it's still prescribing, it's still

       5    selling OxyContin?

       6          MR. HOFFMAN:       Object to form.

       7    BY THE WITNESS:

       8          A.      Is that -- is that a question?

       9    BY MR. STEWART:

      10          Q.      It is.

      11          A.      It -- if it's still open and they are

      12    getting OxyContin from somebody, they are selling

      13    OxyContin.

      14          Q.      Here it seems like McKesson has stopped

      15    supplying that pharmacy in 2013, fair?

      16          A.      Correct.

      17          Q.      Okay.    So up to that point, McKesson up to

      18    the point referenced in the minute meetings, McKesson

      19    was supplying Purdue pharmaceuticals and other

      20    pharmaceuticals, fair?

      21          MR. HOFFMAN:       Objection to form, foundation.

      22          MR. STANNER:       Objection to form.

      23    BY MR. STEWART:

      24          Q.      Correct?

     Golkow Litigation Services                                            Page 438
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 226Confidentiality
                                                           of 344. PageID #: 252057
                                                                               Review

       1                  Well, we know up until this July 18th,

       2    2013 minutes closed the report and say that McKesson

       3    has stopped supplying, fair?

       4          A.      These minutes, I don't know if these are

       5    the full minutes.        I see that some of it is redacted,

       6    so I don't know if there is any other comments in

       7    here.

       8          MR. HOFFMAN:       Mike, you are at about 2:05.

       9    BY MR. STEWART:

      10          Q.      I understand, but the point is -- and I'll

      11    stop.

      12                  But the point is, what we know is that,

      13    and you heard about this pharmacy in 2008 and we've

      14    seen all of these documents, all of these news

      15    reports, but it looks like Jack Crowley is still

      16    concerned about the pharmacy ordering more Oxy-80s on

      17    up until 2012, fair?

      18          A.      It a --

      19          MR. HOFFMAN:       Object to form, argumentative.

      20    BY THE WITNESS:

      21          A.      It appears he was asking about that.

      22    BY MR. STEWART:

      23          Q.      How -- how does the process, the OMS

      24    process, ever result in anything actually happening

     Golkow Litigation Services                                            Page 439
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 227Confidentiality
                                                           of 344. PageID #: 252058
                                                                               Review

       1    that matters in terms of stopping the flow of drugs

       2    into our communities?

       3          MR. HOFFMAN:       Object to form, argumentative,

       4    speech.

       5    BY THE WITNESS:

       6          A.      According to the information that has been

       7    provided, on the activities and procedures of the OMS

       8    committee, that a minimum of 290 pharmacies were

       9    reported to the DEA.         I suspect the number is higher.

      10    For example, those 100 to 200 by the new algorithm.

      11                  The DEA has taken action on some of those

      12    accounts and some of those pharmacies, so that

      13    restricts the flow.        Even in the discussion of Food

      14    City here there was notes that in discussions with ABC

      15    and McKesson that the flow was restricted.

      16                  So there -- I -- I believe that to paint

      17    the entire OMS procedure with a broad brush and say it

      18    doesn't work based on what you showed me about Food

      19    City is not accurate.

      20          MR. STEWART:       Thank you.

      21          MS. PORTER:      Thank you very much.

      22          MR. STEWART:       And -- and thank you for letting

      23    me complete that line of questions.

      24          MR. HOFFMAN:       Let's go off the record briefly,

     Golkow Litigation Services                                            Page 440
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 228Confidentiality
                                                           of 344. PageID #: 252059
                                                                               Review

       1    please.

       2          THE VIDEOGRAPHER:        We are off the record at

       3    4:01 p.m.

       4                       (WHEREUPON, a recess was had

       5                         from 4:01 to 4:06 p.m.)

       6          THE VIDEOGRAPHER:        We are back on the record at

       7    4:06 p.m.

       8                               EXAMINATION

       9    BY MR. STANNER:

      10          Q.      Mr. Seid, I have what will hopefully be

      11    just a few questions for you.

      12          A.      Okay.

      13          Q.      Thanks for your patience over the last

      14    couple of days.       My name is Dan Stanner, I represent

      15    McKesson.

      16                  I want to just go back and -- and clarify

      17    a couple of points on -- in particular relating to the

      18    banner ad that we talked about yesterday.

      19                  Do you recall that?

      20          A.      Yeah, I recall that ad.

      21          Q.      Okay.    And you recall that that was a

      22    banner ad that was put on McKesson Connect, correct?

      23          A.      Correct.

      24          Q.      Let me ask you first, you talked about

     Golkow Litigation Services                                            Page 441
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 229Confidentiality
                                                           of 344. PageID #: 252060
                                                                               Review

       1    this a little bit last time, but I want to make sure I

       2    understand your understanding of McKesson Connect.

       3                  McKesson Connect is a system that allows

       4    for bulk orders of products, right?

       5          A.      Um-hum.

       6          MS. CONROY:      Objection.

       7    BY MR. STANNER:

       8          Q.      Is that right?

       9          A.      Yes.

      10          Q.      Okay.

      11          A.      I believe so, let's put it that way.

      12          Q.      It's --

      13          MS. CONROY:      Sorry.     I didn't hear that.

      14          THE WITNESS:       I said I believe so.

      15    BY MR. STANNER:

      16          Q.      It's a system that allows McKesson

      17    customers to place orders for their inventory?

      18          A.      Correct.

      19          Q.      So a pharmacy can stock up to be prepared

      20    when prescribers ultimately issue prescriptions for

      21    certain types of medication?

      22          A.      That's correct.

      23          Q.      The McKesson Connect system was not a

      24    system that was designed to go out to individual

     Golkow Litigation Services                                            Page 442
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 230Confidentiality
                                                           of 344. PageID #: 252061
                                                                               Review

       1    doctors so they could do single orders for their

       2    patients, correct?

       3          A.      No.    It was a pharmacy system.

       4          Q.      Okay.    The -- and, therefore, placement of

       5    that banner ad was not designed to drive up individual

       6    prescriptions, correct?

       7          MS. CONROY:      Objection.

       8    BY THE WITNESS:

       9          A.      No, that was not -- that -- going back to

      10    the specifics, it was -- at the time when the

      11    reformulated abuse-deterrent OxyContin formulation was

      12    in -- introduced to the market and the -- obviously

      13    the objective was to replace the original Ox --

      14    OxyContin and tremendous logistical effort was to do

      15    that very quickly and working with people like Chris

      16    Alverson from the McKesson on warehouse orders and

      17    that kind of thing.

      18                  But we anticipated that the medical

      19    community, particularly pharmacists, would have

      20    questions about the new product.            What was created and

      21    approved over a long period of time was a document

      22    called the FAQs about reformulated OxyContin.                And it

      23    was approved by our medical, legal and regulatory, of

      24    course, to be factual and it came with the PI.

     Golkow Litigation Services                                            Page 443
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 231Confidentiality
                                                           of 344. PageID #: 252062
                                                                               Review

       1                  As much as it was to get out to McKesson

       2    customers to stock the reformulated OxyContin, one of

       3    the most important aspects, and if you saw the numbers

       4    on the sheet that was attached as far as contacts go,

       5    was to get eyes on that sheet to educate the

       6    pharmacists.

       7          Q.      Okay.    It was not -- was never designed to

       8    go out to individual prescribers?

       9          A.      Never.     We didn't -- we didn't go to

      10    McKesson to go to the pre -- we didn't create

      11    marketing programs with any wholesaler to go to

      12    prescribers.

      13          Q.      Okay.    And you said that the materials

      14    that were made available to pharmacists through the

      15    program were things that were developed over a long

      16    period of time at Purdue?

      17          MS. CONROY:      Objection to form.

      18    BY THE WITNESS:

      19          A.      It took a -- it took, you know, they have

      20    to go through the medical, legal and regulatory review

      21    process.

      22    BY MR. STANNER:

      23          Q.      So at least three different departments?

      24          A.      Which is laborious for us who were not in

     Golkow Litigation Services                                            Page 444
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 232Confidentiality
                                                           of 344. PageID #: 252063
                                                                               Review

       1    those three different departments.

       2          Q.      And each of them went through their own

       3    protocols --

       4          A.      Protocols, that's right.

       5          Q.      -- to make sure --

       6          A.      That's right.

       7          Q.      -- it was appropriate?

       8          MS. CONROY:      Objection.

       9    BY THE WITNESS:

      10          A.      Yes, and revised it 50 times.

      11          MS. PORTER:      Yeah.    Let him finish.

      12          MS. CONROY:      Could you just give me a chance to

      13    object.      So just --

      14          THE WITNESS:       I'm sorry.

      15          MS. CONROY:      That's all right.

      16          MS. PORTER:      Let him finish.

      17          THE WITNESS:       It is late and we are getting --

      18          MS. CONROY:      I know, but we're dis --

      19          THE WITNESS:       I'm sorry.

      20          MS. CONROY:      There is no way --

      21          THE WITNESS:       I know that.      I'm sorry.

      22          MS. CONROY:      -- this is going to get sped up --

      23          THE WITNESS:       I know.    I understand.

      24          MS. CONROY:      -- no matter how fast we talk.

     Golkow Litigation Services                                            Page 445
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 233Confidentiality
                                                           of 344. PageID #: 252064
                                                                               Review

       1    BY MR. STANNER:

       2          Q.      And we talked yesterday about how on this

       3    fax blast program McKesson wasn't able to change a

       4    comma --

       5          A.      Right.

       6          Q.      -- on those materials.

       7                  Do you recall that?

       8          A.      I recall that.

       9          Q.      Same with this banner ad, right, McKesson

      10    couldn't change a comma on these things?

      11          MS. CONROY:      Object.

      12    BY THE WITNESS:

      13          A.      I recalled that.

      14    BY MR. STANNER:

      15          Q.      I'm asking you now, did that also apply

      16    for the banner ads?

      17          MS. CONROY:      Objection.

      18    BY THE WITNESS:

      19          A.      Yes.

      20    BY MR. STANNER:

      21          Q.      And that's because Purdue had gone through

      22    all of these internal checks to make sure it said

      23    exactly what Purdue wanted it to say?

      24          A.      That is correct.

     Golkow Litigation Services                                            Page 446
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 234Confidentiality
                                                           of 344. PageID #: 252065
                                                                               Review

       1                       (WHEREUPON, a certain document was

       2                         marked Purdue-Seid Deposition Exhibit

       3                         No. 051, for identification, as of

       4                         12/13/2018.)

       5    BY MR. STANNER:

       6           Q.     And I'll hand you what we've marked as

       7    Exhibit 51.      Exhibit 51 is a document entitled a

       8    "Product Promotional Agreement."

       9                  Do you see that?

      10           A.     I see that.

      11           Q.     Are you familiar with this document?

      12           A.     I'm familiar with a document like this,

      13    yes.

      14           Q.     Okay.    And you see that it talks about the

      15    OxyContin promotion that would run in August 2010 and

      16    run for one week.

      17                  Do you see that?

      18           A.     That's correct.

      19           Q.     And that's the banner ad that we were

      20    talking about yesterday?

      21           A.     That's correct.

      22           Q.     Okay.    And you see underneath where it

      23    says Ox -- OxyContin in the middle of the page, it

      24    says:

     Golkow Litigation Services                                            Page 447
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 235Confidentiality
                                                           of 344. PageID #: 252066
                                                                               Review

       1                  "The contect" -- "The content of any

       2    graphical ad is the sole responsibility of the

       3    Perfer" -- "Purdue Pharma L.P."?

       4          A.      That's correct.

       5          Q.      And you agree that it was solely Purdue

       6    Pharma who was responsible for putting that together?

       7          A.      That is correct.

       8          MS. CONROY:      Objection.

       9    BY MR. STANNER:

      10          Q.      And that McKesson couldn't have any --

      11    couldn't change it at all, had to post it as provided?

      12          MS. CONROY:      Objection.

      13    BY THE WITNESS:

      14          A.      That was -- that was the agreement we made

      15    to go forward is that they could not adulterate it in

      16    any way.

      17                       (WHEREUPON, a certain document was

      18                         marked Purdue-Seid Deposition Exhibit

      19                         No. 052, for identification, as of

      20                         12/13/2018.)

      21    BY MR. STANNER:

      22          Q.      Okay.    And I'll hand you what we've marked

      23    as Exhibit 52.

      24                  I guess I'll need one copy.

     Golkow Litigation Services                                            Page 448
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 236Confidentiality
                                                           of 344. PageID #: 252067
                                                                               Review

       1          MS. PORTER:        That's okay.      I can see it.

       2    BY THE WITNESS:

       3          A.      Yes.

       4    BY MR. STANNER:

       5          Q.      Do you recognize that to be the banner ad?

       6          A.      I don't remember it, but it looks like

       7    what it would look like.

       8          Q.      Okay.    Do you have any reason to question

       9    whether this is actually the banner ad that you

      10    purchased for one week?

      11          A.      I have no reason --

      12          MS. CONROY:      Objection.

      13    BY THE WITNESS:

      14          A.      I have no reason to question.            It is from

      15    2010.    I would expect this is --

      16    BY MR. STANNER:

      17          Q.      Okay.

      18          A.      -- the banner ad.

      19          Q.      And we talked yesterday when the issue was

      20    brought up that you had one ad that ran as a banner

      21    for one week.

      22                  Do you recall that?

      23          A.      I recall that.

      24          Q.      Do you recall any other banner ads for

     Golkow Litigation Services                                            Page 449
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 237Confidentiality
                                                           of 344. PageID #: 252068
                                                                               Review

       1    OxyContin?

       2          A.      I don't recall any others.

       3          Q.      Okay.

       4          A.      No.

       5          Q.      And there was some talk about how -- well,

       6    actually, the contract shows you paid $4,500 to have

       7    it on the --

       8          A.      I think it was 4250.

       9          Q.      4250 to have it on for a week?

      10          A.      Um-hum.

      11          Q.      Are you familiar with Purdue's marketing

      12    budget?

      13          MS. CONROY:      Objection.      Misstates the evidence.

      14          MR. HOFFMAN:       Objection to form, foundation.

      15    BY MR. STANNER:

      16          Q.      Are you -- are you familiar with it or is

      17    it outside of your area?

      18          A.      My -- what I needed to do was to go to

      19    marketing and request budget for -- so I don't know

      20    what their marketing budget was.

      21          Q.      Okay.    We'll ask somebody else about that.

      22          MR. STANNER:       Okay.    Thank you.

      23          MR. HOFFMAN:       Go off the record again real

      24    quick.

     Golkow Litigation Services                                            Page 450
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 238Confidentiality
                                                           of 344. PageID #: 252069
                                                                               Review

       1          THE VIDEOGRAPHER:        We are off the record at

       2    4:14 p.m.

       3                       (WHEREUPON, a recess was had

       4                         from 4:14 to 4:28 p.m.)

       5          THE VIDEOGRAPHER:        We are back on the record at

       6    4:28 p.m.

       7                               EXAMINATION

       8    BY MR. HOFFMAN:

       9          Q.      Good afternoon, Mr. Seid.

      10          A.      Good afternoon.

      11          Q.      I guess it is early evening by now.

      12    Thanks again for being patient.

      13                  Again, for the record, my name is Nathan

      14    Hoffman.     I represent Purdue and now it is my chance

      15    to ask you some questions, okay?

      16          A.      Yes.

      17          Q.      I've placed in front of you a stack of

      18    exhibits --

      19          A.      Yes.

      20          Q.      -- that I'd like to go through based upon

      21    the previous questioning, both by Tennessee counsel as

      22    well as Plaintiffs' MDL counsel.

      23                  And the first document I'd like for you to

      24    look at is Exhibit 40.         Do you that in front of you?

     Golkow Litigation Services                                            Page 451
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 239Confidentiality
                                                           of 344. PageID #: 252070
                                                                               Review

       1          A.      Yes, I have Exhibit 40.

       2          Q.      And, again, for the record, Exhibit 40 is

       3    the report of concern dated August 22nd, 2008, that

       4    you were shown by Tennessee counsel, is that right?

       5          A.      That's correct.

       6          Q.      And a report of concern like this, it

       7    would be sent to -- to whom at Purdue?

       8          A.      Drug safety and pharmacovigilance.

       9          Q.      Okay.    And would the legal department or

      10    Robin Abrams also get reports of concern sent to them?

      11          A.      I'm not sure how these were triaged, but I

      12    would imagine that they would go to her at some point.

      13          Q.      Okay.    And then looking at the actual --

      14    so -- so just to get our bearings here again, this is

      15    from a Purdue sales rep and the Purdue sales rep just

      16    happened to be reading something called the Metro

      17    Pulse.     He read the article in a section called "Drug

      18    Zone," right?

      19                  Do you see that?

      20          A.      Yes.

      21          Q.      And just based upon his reading of this

      22    local publication, the sales rep sent in this report

      23    of concern, is that fair?

      24          MS. CONROY:      Objection.

     Golkow Litigation Services                                            Page 452
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 240Confidentiality
                                                           of 344. PageID #: 252071
                                                                               Review

       1    BY THE WITNESS:

       2          A.      That appears to be what happened.

       3    BY MR. HOFFMAN:

       4          Q.      Okay.    Now, and if we go to the actual

       5    publication, which might be a little hard to read, but

       6    I'm going to try to go through it a little bit and see

       7    exactly what it -- what it says.

       8                  On -- are you with me there, Bates ending

       9    89?

      10          A.      Yes.

      11          Q.      It might be -- it might be easier if you

      12    read it up on the screen.          I'm going to try to blow it

      13    up a little bit.

      14                  So the article is entitled:           "Drug Zone?

      15    Westwood residents allege irresponsible prescription

      16    practices at neighborhood" -- "neighborhood Food City

      17    and nearby clinic."

      18                  Do you see that?

      19          A.      I see that.

      20          Q.      And this is based upon a -- a newsletter

      21    by a -- by a -- the home association.

      22                  Do you recall that?

      23          A.      I guess, yeah.

      24          Q.      Okay.

     Golkow Litigation Services                                            Page 453
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 241Confidentiality
                                                           of 344. PageID #: 252072
                                                                               Review

       1          A.      Yes.

       2          Q.      And here, in fact, it says:           "The" -- "The

       3    newsletter goes on to raise concerns about a nearby

       4    clinic," it mentions the clinic, "Drs. Frank and Janet

       5    McNeil," it says, "who did not return repeated

       6    requests for comment on this story."

       7                  Do you see that?

       8          A.      I see that.

       9          Q.      Going down a little bit further, it says

      10    that:    "The allegation supposedly was reported by an

      11    unnamed DEA agent."

      12                  Do you see that?

      13          A.      I see that.

      14          Q.      And it goes on to say:          "These very

      15    serious charges from the Drug Enforcement Agency's

      16    Knoxville field office and unnamed 'experts' in the

      17    Knoxville Police Department."

      18                  Do you see that?

      19          A.      I see that.

      20          Q.      It goes on to say -- there is a gentleman

      21    here, "Neil Morgenstern, head of the DEA's Knoxville

      22    field office, says he is not aware of anyone in his

      23    office having made such a claim and cannot confirm

      24    that there is an ongoing investigation into the

     Golkow Litigation Services                                            Page 454
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 242Confidentiality
                                                           of 344. PageID #: 252073
                                                                               Review

       1    clinic, the pharmacy, or any connection between the

       2    two.    He does say that making these concerns in public

       3    was a less than responsible thing for the organization

       4    to do."

       5                  Do you see that?

       6           MR. STEWART:      Object to form.

       7    BY THE WITNESS:

       8           A.     I see that.

       9    BY MR. HOFFMAN:

      10           Q.     So what we know, based on this local

      11    publication, is that there was -- supposedly it was

      12    being reported that a DEA agent had made the -- the

      13    initial report, is that right?            Or he had a concern?

      14           A.     Are you talking about the ROC or are you

      15    talking about the letter?

      16           Q.     No.    According to this --

      17           A.     Yes, yeah.

      18           Q.     -- there is a mention of a DEA agent,

      19    there is a mention of the Knoxville police department.

      20                  Do you see that?

      21           A.     I see that.

      22           Q.     And then, in fact, the head of the DEA's

      23    Knoxville field office is reviewed for the article and

      24    he comments on the article.

     Golkow Litigation Services                                            Page 455
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 243Confidentiality
                                                           of 344. PageID #: 252074
                                                                               Review

       1                  Do you see that?

       2          A.      I do see that.

       3          Q.      So we know that at least the Knoxville,

       4    the head of the Knoxville DEA field office was aware

       5    of this report at this time, is that fair?

       6          A.      It appears so.

       7          Q.      And then down at the bottom there is a

       8    quote from an attorney.         It says:      "I think there is a

       9    potential liability issue for defamation there."

      10                  Do you see that?

      11          A.      I see that.

      12          Q.      And do you have an understanding that if a

      13    claim is being made by [sic] a doctor that is not

      14    substantiated there could be this potential liability

      15    issue?

      16          MS. CONROY:      Objection.

      17    BY THE WITNESS:

      18          A.      I'm -- I'm not a -- an attorney, so I

      19    don't know what the liability issues would be.

      20    BY MR. HOFFMAN:

      21          Q.      Oh, all right.       Got it.

      22                  But we do know that the -- the DEA was

      23    aware of this publication because the DEA was

      24    interviewed in correspondence with it, is that right?

     Golkow Litigation Services                                            Page 456
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 244Confidentiality
                                                           of 344. PageID #: 252075
                                                                               Review

       1           A.     That's what it says.

       2           Q.     Okay.

       3           A.     Excuse me.

       4           Q.     So this report of concern, just to get our

       5    timeline correct, is August 22, 2008, is that right?

       6           A.     Yeah, it looks like it is date -- date

       7    stamped the 25th, though.

       8           Q.     Okay.

       9                  And then you were shown an e-mail which is

      10    in September, September 22nd, so a month later where a

      11    summary of that very same article was forwarded to

      12    you, is that right?

      13           A.     It appears so, yes.

      14           MS. PORTER:     We are on Exhibit 41?

      15           MR. HOFFMAN:      I'm sorry.     We are on Exhibit 41,

      16    yes.

      17    BY THE WITNESS:

      18           A.     Yes, it appears so.

      19    BY MR. HOFFMAN:

      20           Q.     And Tennessee counsel referred to multiple

      21    news articles, I believe is what he said, but does

      22    this appear to be the same article that was already

      23    submitted as a report of concern or at least a summary

      24    of it?

     Golkow Litigation Services                                            Page 457
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 245Confidentiality
                                                           of 344. PageID #: 252076
                                                                               Review

       1          A.      It appears to be a summary of the same

       2    article in a different periodical.

       3          Q.      Well, it says the -- "Drug Zone," that's

       4    what we looked at, right?

       5          A.      Yeah.    The Metro Pulse, the free magazine,

       6    printed an article called "Drug Zone" and it discussed

       7    the list with owners.

       8          Q.      And so that's what we had just looked at a

       9    moment ago right here, "Drug" -- you can look up on

      10    the screen, Mr. Seid, so this one here, "Drug Zone"?

      11          A.      That's correct.

      12          Q.      So same -- a summary of the same article

      13    and you are receiving it through another means about a

      14    month later, is that right?

      15          A.      That's correct.

      16          Q.      And going to Exhibit 45.

      17          A.      Thank you.

      18          Q.      Plaintiffs' counsel showed you that at

      19    some later point in time, in fact, Drs. Janet and

      20    Frank McNeil were placed into what is referred to as

      21    "region zero" at the company, meaning that sales

      22    representatives were not to call on those physicians

      23    any longer?

      24          A.      That's what region zero means, yes.

     Golkow Litigation Services                                            Page 458
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 246Confidentiality
                                                           of 344. PageID #: 252077
                                                                               Review

       1          Q.      And then Exhibit 43 -- and by the way,

       2    that -- the e-mail for region zero is dated April 7,

       3    2011, that we just looked at, is that right?

       4          A.      Yes.

       5          Q.      Okay.    And then it looks like, and I --

       6    this is really small, but I'm going to do my best.

       7                  And then there is a -- a -- a readout from

       8    referral to DEA Frank McNeil and it looks like it's

       9    April 12, 2011, and it says:

      10                  "The prescriber is one of 82 prescribers

      11    referred to the DEA during a meeting between Purdue

      12    and DEA on April 12, 2011."

      13                  Do you kind of see that?

      14          A.      It's making these cheap readers work very

      15    hard, but I do see it here, actually, better on the

      16    sheet.

      17          Q.      Okay.

      18                  So -- so as of April 12, 2011, what this

      19    refers to is that Frank McNeil was one of 82

      20    prescribers that Purdue was referring to DEA at that

      21    time, is that right?

      22          A.      That's what it says.

      23          Q.      Okay.    So when you were shown the OMS

      24    committee report, which I think is where we started on

     Golkow Litigation Services                                            Page 459
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 247Confidentiality
                                                           of 344. PageID #: 252078
                                                                               Review

       1    this issue with Tennessee counsel, that's now dated

       2    June of 2012, it's Exhibit 37?

       3          A.      Yes.

       4          Q.      Do you have that in front of you?

       5                  So that's dated June 7th, 2012, is that

       6    right?

       7          A.      June 7th, 2012.

       8          Q.      So that would be more than a year after

       9    Dr. Mc -- Dr. McNeil had been referred to DEA by

      10    Purdue, is that fair?

      11          A.      That's what it appears.

      12          Q.      Okay.

      13                  So when there is a discussion about the

      14    site visit, this is over on page Bates ending 599, so

      15    when there is a discussion about a -- a site visit on

      16    May 24, 2012, and it talks about how the wholesaler

      17    started forcing Food City's volume down, do you see

      18    that?

      19          A.      I see that.

      20          Q.      And when it also refers to these

      21    Drs. Frank and Janet McNeil, both region zero doctors,

      22    do you see that?

      23          A.      Yes.

      24          Q.      So all of this is occurring about a year

     Golkow Litigation Services                                            Page 460
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 248Confidentiality
                                                           of 344. PageID #: 252079
                                                                               Review

       1    after Purdue had already referred these physicians to

       2    the DEA, correct?

       3          A.      Correct.

       4          Q.      Tennessee counsel also asked you about --

       5          MR. STEWART:       I object to the form of that.

       6    BY MR. HOFFMAN:

       7          Q.        -- in -- in the context of Ms. Abrams'

       8    PowerPoint presentation, Tennessee counsel asked you

       9    about the algorithm being adjusted after the

      10    reformulation.

      11                  Do you recall that generally?

      12          A.      Yes.

      13          Q.      Okay.    Now, and he -- and he asked whether

      14    or not Purdue had referred those pharmacies at that

      15    time to DEA.

      16                  Do you recall that?

      17          A.      I recall that.

      18          Q.      Okay.    Now, if you actually go into your

      19    30(b)(6) materials right over there from -- from

      20    yesterday, do we have them?

      21                  And if you look at Exhibit 3, Folder 3.

      22          A.      Exhibit 3, I've got it.

      23          Q.      And if you go to the -- the last two

      24    documents in that folder for Topic 5 that you

     Golkow Litigation Services                                            Page 461
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 249Confidentiality
                                                           of 344. PageID #: 252080
                                                                               Review

       1    testified about yesterday.          I just want to -- so for

       2    the record, that was Exhibit 3 to Mr. Seid's 30(b)(6)

       3    deposition, Bates PPLPD004687363 is the initial

       4    e-mail.

       5          A.      I have that.

       6          Q.      You have that one in front of you.

       7                  Dated October 7, 2011, and then it

       8    attaches a spreadsheet with Bates PPLPD004687385.

       9                  Do you have that in front of you as well?

      10          A.      I have that in front of me.

      11          Q.      So this is an e-mail from Jack Crowley who

      12    we've heard referred to many times during your

      13    deposition, executive director, CSA compliance, to a

      14    chief at -- it looks like at -- at the -- is that the

      15    DEA, usdoj.gov?

      16          A.      I -- I don't know if that's DEA or

      17    Department of Justice or --

      18          Q.      Okay.    So it says:

      19                  "Thank you very much for" -- "for the time

      20    you and Supervisory Investigators Levin and Arnold

      21    spent with Robin and me on Tuesday.             The list was

      22    compiled by our colleague Giselle Issa, who is the

      23    director of our order monitoring system program.

      24    Attached please find the list that we have labeled

     Golkow Litigation Services                                            Page 462
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 250Confidentiality
                                                           of 344. PageID #: 252081
                                                                               Review

       1    Slow Pharmacies with the new criteria - retail

       2    pharmacies that have sales greater than 350,000 and

       3    declined in units greater than or equal to

       4    50 percent."

       5                  Do you see that?

       6          A.      Yes.

       7          Q.      It says:     "The total of pharmacies that

       8    met this criteria" -- "criteria is 285.              I believe

       9    that you will be able to sort them by state."

      10                  Do you see that?

      11          A.      I do see that.

      12          Q.      And, in fact, if we look at the

      13    spreadsheet, which is the attachment, it lists the

      14    criteria at the top.

      15                  Do you see that?

      16          A.      Yes, I do see that.

      17          Q.      And then it lists -- or it refers 285

      18    pharmacies in the spreadsheet which goes on for -- for

      19    multiple pages, is that right?

      20          A.      Yes, I see that.

      21          Q.      And, in fact, if we look through the

      22    spreadsheet, we'll see that there are pharmacies

      23    listed, and if -- you can follow along on the screen

      24    because I've highlighted it.

     Golkow Litigation Services                                            Page 463
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 251Confidentiality
                                                           of 344. PageID #: 252082
                                                                               Review

       1          A.      Okay.

       2          Q.      You can see that there are pharmacies

       3    listed from Ohio and Tennessee on Page 1.               Going on to

       4    Page 2, we also have Tennessee Pharmacy No. 63 and

       5    Ohio Pharmacy No. 85.

       6                  Do you see that?

       7          A.      Yes, I see that.

       8          Q.      It goes onto the next page, and there are

       9    a few more -- a couple of more Ohio pharmacies and a

      10    Tennessee pharmacy?

      11                  Do you see that?

      12          A.      I see that.

      13          Q.      And we can go on from there.           I'll just

      14    show you that it goes on and lists some additional

      15    pharmacies, and I've just highlighted the Tennessee

      16    and Ohio pharmacies because this case -- you

      17    understand this case that you are testifying about, it

      18    involves cases in Ohio and Tennessee, is that right?

      19          A.      I understand.

      20          Q.      Okay.    So based upon these documents, does

      21    it appear that in response to the new algorithm after

      22    the reformulation, that Purdue, in fact, referred it

      23    looks like 285 pharmacies to DOJ?

      24          A.      That --

     Golkow Litigation Services                                            Page 464
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 252Confidentiality
                                                           of 344. PageID #: 252083
                                                                               Review

       1          MS. CONROY:      Objection.

       2    BY THE WITNESS:

       3          A.      That's what it looks like.

       4    BY MR. HOFFMAN:

       5          Q.      Do you have Exhibit 19 in front of you?

       6          A.      I do.

       7          Q.      I'd like to go now to some of Ms. Conroy's

       8    questioning of you yesterday -- or maybe it was today.

       9    I'm sorry.      It was today, Exhibit 19.

      10                  I want to go back and look at -- and for

      11    the record, Exhibit 19 is a October 3, 2007 e-mail.

      12    This is the e-mail from Jack Crowley.              It is a fairly

      13    long e-mail, but it is discussing some of the aspects

      14    of the SOM system at that time, is that right?

      15          A.      Yes.

      16          Q.      Okay.    I just want to call your attention

      17    to this highlighted paragraph, which is              I guess, the

      18    fourth paragraph in his e-mail.

      19                  He says -- and, again, this is in October

      20    of 2007, he says:

      21                  "Our system is described in finance and

      22    accounting SOP 7.7, System to Disclose Suspicious

      23    Orders of Controlled Substances.            I feel that this is

      24    a cross-functional responsibility, however-and it

     Golkow Litigation Services                                            Page 465
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 253Confidentiality
                                                           of 344. PageID #: 252084
                                                                               Review

       1    involves the participants in the meeting and Robin's

       2    office as well."

       3                  Do you see that?

       4           A.     I see that.

       5           Q.     And then do you recall that you were shown

       6    Exhibit 16, which I think you also have in front of

       7    you.

       8           A.     I have it in front of me.

       9           Q.     Which was an e-mail that attached SOP 7.7

      10    in June of 2007.       I'm just turning over to that SOP.

      11    Just confirm that this is, in fact, SOP No. 7.7 and it

      12    has a revision date of March 12, 2003.

      13           A.     I see that.

      14           Q.     So would this have been the SOP system to

      15    disclose suspicious orders of controlled substances

      16    that would have been in place in or around mid 2007?

      17           MS. CONROY:     Objection.

      18    BY THE WITNESS:

      19           A.     I -- what that is is a finance department

      20    SOP for suspicious orders of controlled substances.

      21    BY MR. HOFFMAN:

      22           Q.     Okay.    And, in fact, the SOP recites the

      23    DEA regulations, some of which we talked about earlier

      24    today, 21 CFR 1301.74?

     Golkow Litigation Services                                            Page 466
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 254Confidentiality
                                                           of 344. PageID #: 252085
                                                                               Review

       1          A.      Correct.

       2          Q.      But it appears from this SOP that at this

       3    time it says:

       4                  "Procedure for customer service.             It says:

       5    "They review each order for unusual quantities or any

       6    other deviation from the customer's regular order

       7    pattern."

       8                  Do you see that?

       9          MS. CONROY:      Objection.

      10    BY THE WITNESS:

      11          A.      Yes.

      12    BY MR. HOFFMAN:

      13          Q.      So this -- that wouldn't be you at this

      14    time, that would be a function of the customer service

      15    department?

      16          A.      That is what it says, yes.

      17          Q.      It goes on to say:

      18                  "If any deviations are found, the CSR will

      19    submit the customer's purchase order to the senior

      20    management of customer service or the senior director

      21    of finance operations for further review as outlined

      22    in Section 6."

      23                  Do you see that as well?

      24          A.      Yes, I do see that.

     Golkow Litigation Services                                            Page 467
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 255Confidentiality
                                                           of 344. PageID #: 252086
                                                                               Review

       1          Q.      And finally down here at the bottom, it

       2    says:

       3                  "Communication of spesh" -- "suspicious

       4    orders.     The director of credit will provide the

       5    associate general counsel with all of the information

       6    gathered from credit services, customer service,

       7    national sales and Purdue's security group and make an

       8    order recommendation.         The law department will

       9    determine if further investigative steps are required

      10    and if the findings should be reported to the field

      11    office of the DEA."

      12                  Do you see that?

      13          A.      I see that.

      14          Q.      So at least from the exhibit that

      15    Plaintiffs' counsel showed you, which is Exhibit 16

      16    back in mid 2007, which at least was sent to you at

      17    that time, it does appear that a suspicious order

      18    monitoring system was in place but it was being

      19    handled by different departments and reported up at

      20    least differently at that time, is that fair?

      21          A.      That --

      22          MS. CONROY:      Objection.

      23    BY THE WITNESS:

      24          A.      What it appears.

     Golkow Litigation Services                                            Page 468
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 256Confidentiality
                                                           of 344. PageID #: 252087
                                                                               Review

       1    BY MR. HOFFMAN:

       2          Q.      It just concludes, it says:

       3                  "In the event the order needs to be

       4    reported to the DEA field office, Purdue's president

       5    and chief executive officer will be notified."

       6                  Do you see that?

       7          A.      I see that.

       8          Q.      Now, going back to 19 real quick, 19 also

       9    references that around this time in October of 2007,

      10    and I'll refer you to the fifth paragraph on the

      11    second page, which is Bates ending 2947, it talks

      12    about how at this time you were getting involved with

      13    the fee-for-service data and it says:

      14                  "Steve is now analyzing that data and

      15    discussing orders that appear to be suspicious,

      16    analyzing patterns of ordering and looking for

      17    patterns that are out of the ordinary."

      18                  Do you see that?

      19          A.      I do see that.

      20          Q.      And that -- and in -- at this time that's

      21    what, in fact, you were -- you were doing in 2007 was

      22    looking at these data and trying to analyze it in that

      23    fashion, is that right?

      24          A.      Yes.

     Golkow Litigation Services                                            Page 469
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 257Confidentiality
                                                           of 344. PageID #: 252088
                                                                               Review

       1          Q.      Okay.    It talks about your system alerted

       2    the group to a -- an account in Florida.

       3                  Do you recall discussing that with

       4    Tennessee counsel earlier?

       5          A.      Yes.

       6          Q.      And then Crowley's e-mail concludes by

       7    saying:

       8                  "We will always consider improving the

       9    process and further developing best practices."

      10                  Do you see that?

      11          A.      Yes.

      12          Q.      And can you tell us whether or not that

      13    was the general attitude of the group, would be to

      14    always consider improvements and developing best

      15    practices?

      16          MS. CONROY:      Objection.

      17    BY THE WITNESS:

      18          A.      What the group tried to do, as we thought

      19    about it and experienced working with it, was that if

      20    there were other sources we could tap into that would

      21    be beneficial in our review, we would do so.

      22    BY MR. HOFFMAN:

      23          Q.      Okay.    And then Ms. Conroy showed you

      24    Exhibit 20.

     Golkow Litigation Services                                            Page 470
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 258Confidentiality
                                                           of 344. PageID #: 252089
                                                                               Review

       1                  Do you have that in front of you?

       2          A.      Yes, I do.

       3          Q.      Exhibit 20 is -- these are the rough draft

       4    of minutes from a little -- it looks like it is now

       5    February of 2008 and part of what's being considered

       6    at that time, it says a couple of things at the end of

       7    the minutes:

       8                  "Finance SOP 7.7 may need to be updated"

       9    and then the action item is:           "Update SOP 7.7."

      10                  Is that right?

      11          A.      Yes.

      12          Q.      And, in fact, did -- did that occur?

      13          A.      I don't know --

      14          MS. CONROY:      Objection.

      15    BY THE WITNESS:

      16          A.      I don't know if 7.7 was updated, but we

      17    did develop a -- an OMS subsequently to that meeting.

      18    BY MR. HOFFMAN:

      19          Q.      Okay.

      20          A.      A different OMS, I guess, from 7.7.

      21                       (WHEREUPON, a certain document was

      22                         marked Purdue-Seid Deposition Exhibit

      23                         No. 053, for identification, as of

      24                         12/13/2018.)

     Golkow Litigation Services                                            Page 471
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 259Confidentiality
                                                           of 344. PageID #: 252090
                                                                               Review

       1    BY MR. HOFFMAN:

       2          Q.      So I'll just mark for the record as Seid

       3    Exhibit 53 --

       4          A.      Thank you.

       5          Q.      You just mentioned a -- a subsequent SOP

       6    on the OMS system, and can you just confirm for the

       7    record that this SOP dated March 23, 2009 is that SOP

       8    that you just referred to?

       9          A.      Yes.

      10          Q.      So we know that as of this date the SOP

      11    had moved from finance over into a -- a different

      12    group that included the general counsel, national

      13    accounts, corporate security and CSA compliance, is

      14    that right?

      15          MS. CONROY:      Objection.

      16    BY THE WITNESS:

      17          A.      The only thing I don't know is whether

      18    this 7.7 still existed in some format revised or

      19    otherwise.

      20    BY MR. HOFFMAN:

      21          Q.      Okay.

      22          A.      I -- this is the one I focused on.

      23          Q.      In response to some questions by Tennessee

      24    counsel you mentioned something called RxPATROL?

     Golkow Litigation Services                                            Page 472
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 260Confidentiality
                                                           of 344. PageID #: 252091
                                                                               Review

       1          A.      Yes, I did.

       2          Q.      And is that something that you were

       3    familiar with during your time at Purdue?

       4          A.      Yes, it was.

       5          Q.      There has been some discussion in other

       6    depositions about RxPATROL.           But I want to ask you

       7    about it and see if it is something that you were

       8    involved with.

       9                       (WHEREUPON, a certain document was

      10                         marked Purdue-Seid Deposition Exhibit

      11                         No. 054, for identification, as of

      12                         12/13/2018.)

      13    BY MR. HOFFMAN:

      14          Q.      So I'll hand you Seid Exhibit 54.

      15          A.      Yes.

      16          Q.      And for the record, Exhibit 54 appears to

      17    be something from the www.rxpatrol.org website that

      18    discusses the RxPATROL program, is that right?

      19          A.      Yes.

      20          Q.      And it looks like it is dated, I don't

      21    know if I can -- it looks like it is dated 2008.

      22                  Do you see that?

      23          A.      I think --

      24          Q.      It is hard to see it on the...?

     Golkow Litigation Services                                            Page 473
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 261Confidentiality
                                                           of 344. PageID #: 252092
                                                                               Review

       1          A.      Yeah, it's hard to see and...

       2          Q.      Okay.    I don't know if that's any better.

       3                  But anyway, I believe you described

       4    earlier generally what -- what RxPATROL was when you

       5    were being questioned by Tennessee counsel, but I just

       6    want to go through a couple of these points with you.

       7          A.      Okay.

       8          Q.      It mentions that R -- strike that.             Let me

       9    back up.

      10                  Do you recall when -- when Purdue first

      11    started this particular program, RxPATROL?

      12          A.      I am -- my recollection is, and I use Jim

      13    Lang's retirement as a benchmark for the time there,

      14    because it was before his retirement, it was either

      15    late 2002 or early 2003.

      16          Q.      Okay.    And were you involved in some form

      17    or fashion with RxPATROL since its in -- its

      18    inception?

      19          A.      Yes, I was.

      20          Q.      And in what -- what way were you involved?

      21          A.      Pharmacy robbery and pharmacy theft, which

      22    one of the things I learned from the place that I was

      23    working, the people I was working with, are two

      24    different things, were prevalent for opioids,

     Golkow Litigation Services                                            Page 474
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 262Confidentiality
                                                           of 344. PageID #: 252093
                                                                               Review

       1    including Purdue's opioids in the early 2000s.

       2                  One area that was particularly hit hard

       3    was Massachusetts.        There was an outcry from our

       4    retail customers at corporate and at the store level

       5    is somebody needs to do something.             And they looked to

       6    us because we sold opioids.

       7                  In discussion with my supervisor at that

       8    time, who was James Lang, and a newly hired VP of

       9    corporate security, Aaron Graham, we decided to

      10    schedule a meeting in Boston, I believe it was at the

      11    Parker house, for about two-thirds of the day,

      12    inviting all of the chains and representative from the

      13    National Community of Pharmacists Association, which

      14    represents independent pharmacists, to come to the

      15    meeting.     There was, I'm guessing, about, as I

      16    remember, maybe 25 people invited, 25 different

      17    organizations and maybe 35 people invited.

      18                  And quite frankly, we, at the time said we

      19    will be standing in an empty room or we'll have a

      20    packed house.      We had no idea.        But it was a hot topic

      21    and the room was full, representatives from CVS,

      22    Walgreens -- I believe Walgreens was there -- the

      23    chains up in that area, NCPA was represented.

      24                  And what the big issue was was that these

     Golkow Litigation Services                                            Page 475
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 263Confidentiality
                                                           of 344. PageID #: 252094
                                                                               Review

       1    pharmacies -- robberies were taking place, that there

       2    was no database available, that different

       3    jurisdictions were not speaking to each other, and

       4    particularly in Massachusetts, being a commonwealth,

       5    there were dozens of sheriffs' offices and that kind

       6    of thing.

       7                  So what was proposed, and actually Aaron

       8    came up with the idea, is that you need a database so

       9    that you can start talking to each other, help

      10    apprehend these people.         And it became a very

      11    productive meeting which did last the entire time we

      12    had booked the room for.

      13                  Long story short, we went back and

      14    created, "we" being Purdue, created that, under the

      15    guidance and our own grants department, a repository

      16    for this information, we hired an outside source to

      17    analyze it, because we wanted active law enforcement,

      18    so it was an active Stanford police captain.

      19                  And RxPATROL was born and where my group

      20    got involved was recruiting pharmaceuticals to

      21    participate, because the more information we had, the

      22    more eyes on it, the better.

      23          Q.      Okay.

      24          A.      It became a very robust and very popular

     Golkow Litigation Services                                            Page 476
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 264Confidentiality
                                                           of 344. PageID #: 252095
                                                                               Review

       1    website.     I don't know the exact numbers, but they had

       2    data to show that it had -- this information from

       3    this -- and it also was for law enforcement, that

       4    information from this website resulted in numerous

       5    arrests.

       6                  So you see on the back, not only was it

       7    endorsed by the pharmacy community, but it was

       8    endorsed by the National Association of Drug Diversion

       9    Investigators, LEEDA also supported it, which is the

      10    Laud -- the Law Enforcement Executive Development

      11    Association of the FBI.         So it was something that we

      12    provided as a service to the pharmacy community.

      13          Q.      Okay.    So you referred to LEEDA, and

      14    that's -- that's a -- a branch of -- of the FBI, is

      15    that what you said?

      16          A.      That's a -- an Executive Development

      17    Association --

      18          Q.      Okay.

      19          A.      -- of the FBI.

      20          Q.      And so, in part what this is referring to

      21    is that FBI Law Enforcement Executive Development

      22    Association was joining in endorsing the RxPATROL --

      23    RxPATROL that was being initiated by Purdue at that

      24    time, is that right?

     Golkow Litigation Services                                            Page 477
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 265Confidentiality
                                                           of 344. PageID #: 252096
                                                                               Review

       1          A.      Um-hum, yes.

       2          Q.      And then you mentioned NADDI, that's the

       3    National Association of Drug Diversion Investigators?

       4          A.      National Association of Drug Diversion

       5    Investigators.

       6          Q.      Okay.    And it looks like it actually

       7    launched, it looks like, in mid 2000 and -- and '3, is

       8    that right?

       9          A.      Yes.    It launched very quickly after that

      10    meeting.

      11          Q.      Okay.    And then if we just go back just to

      12    confirm, it mentions that the RxPATROL system, and

      13    RxPATROL stands for Rx Pattern Analysis Tracking --

      14    Tracking Robberies and Other Losses.

      15                  Do you see that?

      16          A.      Correct.

      17          Q.      It says it collects, analyzes and shares

      18    information to do three things, among other things,

      19    help protect pharmacists, guard against potential

      20    robberies and burglars, and then assist law

      21    enforcement to apprehend and successfully prosecute

      22    those engaged in pharmacy theft of controlled

      23    substances.

      24                  Do you see that?

     Golkow Litigation Services                                            Page 478
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 266Confidentiality
                                                           of 344. PageID #: 252097
                                                                               Review

       1          A.      That is correct.

       2          Q.      And is that generally -- based upon your

       3    experience, is that generally correct that those were

       4    some of the functions of RxPATROL?

       5          A.      Those were some of the functions.

       6          Q.      It also talks about it uses state of the

       7    art computer program to collate, analyze and

       8    disseminate information to the law enforcement

       9    community, analyzing patterns to create profiles of

      10    vulnerable pharmacies and of effective security

      11    systems for deterring burglars and robbers.

      12                  Based upon your experience, are those some

      13    of the other functions that it served --

      14          A.      Yes.

      15          Q.      -- the RxPATROL system?

      16          A.      It was.

      17          Q.      Okay.    And you mentioned the -- the

      18    RxPATROL website just a -- a minute ago?

      19          A.      Yes.

      20          Q.      I noticed that, if we go to Exhibit 7,

      21    which I think you have in front of you.

      22          A.      I do.

      23          Q.      I noticed that in one of the PowerPoint

      24    presentations that was shown -- shown to you by

     Golkow Litigation Services                                            Page 479
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 267Confidentiality
                                                           of 344. PageID #: 252098
                                                                               Review

       1    Ms. Conroy, there was a fairly detailed discussion of

       2    RxPATROL.

       3                  It's -- there are no Bates numbers on this

       4    portion of Exhibit 7, but if you go in quite a ways,

       5    the page that I want to ask you about looks like this.

       6          A.      "Keeping your pharmacy safe and secure."

       7                  Well, it has got to be around here

       8    somewhere.

       9          Q.      Yeah, yeah, it's just -- there it is.

      10          A.      Yeah.

      11          Q.      Okay.    So was this a -- is this at least a

      12    snapshot of what the RxPATROL --

      13          A.      Yes.

      14          Q.      -- website --

      15          A.      Yes.

      16          Q.      -- would have looked like?

      17                  It say -- it says as of January 7, 2010.

      18                  Do you see that?

      19          A.      Right.

      20          Q.      It looks like, among other things it -- it

      21    talks about collaborating with crime stoppers and

      22    providing -- in fact, providing awards for referrals

      23    that led to arrests.

      24                  Do you see that?

     Golkow Litigation Services                                            Page 480
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 268Confidentiality
                                                           of 344. PageID #: 252099
                                                                               Review

       1          A.      Yes.

       2          Q.      It mentions, among other things, a

       3    pharmacy security checklist.

       4                  Do you see that referenced over here --

       5          A.      Yes.

       6          Q.      -- on the left?

       7                  It mentions training videos.

       8                  Do you see that as well?

       9          A.      Yes.

      10          Q.      And then if we go in and look at some of

      11    the additional pages here, I've got a page with at

      12    least some of the training videos that were available

      13    at that time, is that right?

      14          A.      Yes.    But that -- that screen shot that's

      15    there -- oh, I'm sorry.         I'm looking further on.          Yes.

      16    There is just some of the training and videos.

      17          Q.      So this would be some of the training

      18    videos, including videos on pharmacy safety among

      19    other things.

      20                  Do you see that?

      21          A.      Yes.

      22          Q.      The website also had what's referred to as

      23    a pharmacy sec -- security checklist --

      24          A.      Yes.

     Golkow Litigation Services                                            Page 481
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 269Confidentiality
                                                           of 344. PageID #: 252100
                                                                               Review

       1          Q.      -- is that right?

       2          A.      Yes, they did.

       3          Q.      And then is -- is this, in fact, the

       4    checklist that was provided to pharmacies to help them

       5    ensure that their pharmacies were as safe and secure

       6    as possible?

       7          A.      Yes, it was.

       8          Q.      And who came -- who came up with the

       9    checklist?      I see NADDI referenced up there.            I don't

      10    know if that --

      11          A.      They may have been involved, but it was --

      12    all -- all of the material for this was developed by

      13    the -- the folks in corporate security.

      14          Q.      Okay.    Then if you turn to the next page,

      15    it looks like it's a document with some facts

      16    regarding RxPATROL.        Don't worry, I'm not going to go

      17    through all of this.

      18                  But at least here it says as of August of

      19    2008, it says:       "To date, RxPATROL is credited with 56

      20    arrests for pharmacy crimes."

      21                  Do you see that?

      22          A.      Yes.

      23          Q.      And it talks about some of the individuals

      24    involved.     It says:

     Golkow Litigation Services                                            Page 482
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 270Confidentiality
                                                           of 344. PageID #: 252101
                                                                               Review

       1                  "RxPATROL was created and is funded by

       2    Purdue Pharma L.P.        The program is operated by Captain

       3    Richard Conklin, a 27-year veteran of the Stanford,

       4    Connecticut Police Department.            Captain Conklin is a

       5    graduate of the FBI National Academy and is a

       6    nationally-recognized law enforcement consultant.

       7    RxPATROL was conceived by Aaron Graham" --

       8                  Is that who you mentioned a moment ago?

       9          A.      Yes.

      10          Q.      -- "vice president and chief security

      11    officer for Purdue Pharma.          Mr. Graham is a former

      12    special agent with Drug Enforcement Administration and

      13    the Food and Drug Administration's Office of Criminal

      14    Investigations."

      15                  Do you see that?

      16          A.      Yes.

      17          Q.      Now, is RxPATROL something that was

      18    required by any regulator or law enforcement body

      19    for -- for Purdue to come up with and to -- to

      20    organize or -- or to do?

      21          A.      No.    Nobody asked us to do that.           That

      22    was...

      23          Q.      And is RxPATROL still in existence as far

      24    as you know?

     Golkow Litigation Services                                            Page 483
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 271Confidentiality
                                                           of 344. PageID #: 252102
                                                                               Review

       1          A.      I don't know.

       2          Q.      Okay.    When you left the company in May

       3    of 2014, was it still in --

       4          A.      It was still in existence.

       5          Q.      Finally, do you have Exhibit 13 in front

       6    of you?

       7          A.      I do.

       8          Q.      Exhibit 13 was a document shown to you by

       9    Ms. Conroy, it may have been yesterday, it may have

      10    been today, I don't recall, but it's dated

      11    September 13th, 2010, and it refers to a -- it refers

      12    to some materials that were being provided through the

      13    McKesson website.

      14                  Do you recall that?

      15          A.      That's correct.

      16          Q.      And it mentions specifically the OxyContin

      17    reformulation FAQ --

      18          A.      Yes.

      19          Q.      -- fact sheet.

      20                  Do you see that?

      21          A.      Yes.

      22          Q.      Is that what you referred to earlier in

      23    your testimony in response to McKesson counsel's

      24    questions referred to FAQ --

     Golkow Litigation Services                                            Page 484
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 272Confidentiality
                                                           of 344. PageID #: 252103
                                                                               Review

       1          A.      Yes.

       2          Q.      -- fact sheet on the reformulation?

       3          A.      Yes.

       4          Q.      Is it -- okay.

       5                  So let me hand to you, it's Exhibit 55.

       6                       (WHEREUPON, a certain document was

       7                         marked Purdue-Seid Deposition Exhibit

       8                         No. 055, for identification, as of

       9                         12/13/2018.)

      10    BY THE WITNESS:

      11          A.      Thank you.

      12    BY MR. HOFFMAN:

      13          Q.      It is --

      14          A.      Hard reads.

      15          Q.      It is an e-mail also dated in September

      16    of 2010.

      17          A.      Correct.

      18          Q.      And it attaches "Oxy ORF FAQ fact

      19    sheet.pdf."

      20                  Do you see that?

      21          A.      Yes.

      22          Q.      And for the record, this is

      23    PPLPC004000248927.

      24                  And can you just confirm for me that this

     Golkow Litigation Services                                            Page 485
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 273Confidentiality
                                                           of 344. PageID #: 252104
                                                                               Review

       1    is, in fact, the -- the OxyContin FAQ fact sheet on

       2    the reformulation?

       3          A.      Yes, it is.

       4          Q.      And actually, if we -- if we look at the

       5    first page, you refer to a box warning I think earlier

       6    in your testimony?

       7          A.      Yes.

       8          Q.      And the very first page of this FAQ fact

       9    sheet includes the box warning on the importance of

      10    proper patient selection and potential for abuse, is

      11    that right?

      12          A.      Yes.

      13          Q.      Okay.    We won't go through all of it, but

      14    it also advises the reader to read the accompanying

      15    full prescribing information.

      16                  Do you see that?

      17          A.      That is correct.

      18          Q.      And -- and then it goes through a series

      19    of -- of questions.

      20                  And so what -- what would be the -- the

      21    purpose of providing this type of document through a

      22    wholesaler?

      23          MS. CONROY:      Objection.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 486
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 274Confidentiality
                                                           of 344. PageID #: 252105
                                                                               Review

       1          A.      This was provided through Kroger, which is

       2    a retailer.

       3    BY MR. HOFFMAN:

       4          Q.      Okay.

       5          A.      But the reason to provide it, and it's

       6    interesting because there is a copy of -- there is an

       7    e-mail chain here which I don't remember, but I see it

       8    now, is that Bob Breetz, who I think is retired, and

       9    they got their product through Cardinal, Cardinal is

      10    also addressed here, it appears to be a request from a

      11    Kroger employee to Bob and Card -- and Cardinal Health

      12    about the transition from old OxyContin to new

      13    OxyContin.      And it -- this is great to -- great to see

      14    we had a solution to their question:             "Do either or

      15    you have any information from the manufacturer about

      16    the change?"      And that's what this was -- we

      17    anticipated that would be a concern, so we prepared

      18    this FAQ sheet.

      19                  And the reason we asked our retailers and

      20    wholesalers to distribute it was an opportunity for

      21    education, because not only did it contain answers to

      22    frequently asked questions, but it contained the new

      23    and most recent FPI.

      24                  And as we noted in the McKesson situation,

     Golkow Litigation Services                                            Page 487
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 275Confidentiality
                                                           of 344. PageID #: 252106
                                                                               Review

       1    I testified to that a couple of times, is that we

       2    required that our information went out as approved and

       3    with the full patient insert -- full patient insert --

       4          Q.      Okay.    But --

       5          A.      -- full package insert.

       6          Q.      But just to be clear, what -- what I've

       7    shown here, I know it's in a separate e-mail, but

       8    this -- this would be the same FAQ?

       9          A.      The same FAQ that went out with the --

      10          Q.      It went -- went out through McKesson?

      11          A.      McKesson, yes.

      12          Q.      Okay.    And you mentioned it had a number

      13    of frequently asked questions.            I won't go through all

      14    of them, but the very first question is:               "The ref" --

      15    "Is the reformulated OxyContin harder to abuse?"

      16                  Do you see that one?

      17          A.      Yes, that was...

      18          Q.      And there was a response to that, as well

      19    as:   "Is this a tamper-resistant formulation of

      20    OxyContin?"

      21                  And it goes through a whole series of

      22    questions that a pharmacist, for example, may have, is

      23    that right, or may get?

      24          A.      A pharmacist or their patients may have.

     Golkow Litigation Services                                            Page 488
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 276Confidentiality
                                                           of 344. PageID #: 252107
                                                                               Review

       1          Q.      Okay.    All right.      Got it.

       2          MR. HOFFMAN:       Okay.    Mr. Seid, those are all of

       3    the questions I have at this time.             Thank you.

       4          THE WITNESS:       Thank you.

       5          THE VIDEOGRAPHER:        We are off the record at

       6    5:09 p.m.

       7                       (WHEREUPON, a recess was had

       8                         from 5:09 to 5:20 p.m.)

       9          THE VIDEOGRAPHER:        We are back on the record at

      10    5:20 p.m.

      11                          FURTHER EXAMINATION

      12    BY MS. CONROY:

      13          Q.      Mr. Seid, you were shown Exhibit 53, which

      14    I think we also looked at yesterday or the day before,

      15    which is the general counsel SOP double -- 0007.

      16                  Do you see that?

      17          A.      I see that.

      18          Q.      And you talked about this coming into

      19    effect in March of 2009, correct?

      20          A.      That's what it's dated.

      21          Q.      Okay.    And so that's what -- that would be

      22    when it became effective?

      23          A.      That's when the SOP is effective.

      24          Q.      Okay.    You don't know one way or the other

     Golkow Litigation Services                                            Page 489
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 277Confidentiality
                                                           of 344. PageID #: 252108
                                                                               Review

       1    whether SOP 7.7 for the finance department was still

       2    in effect at this time, do you?

       3          A.      I believe I -- I noted that previous

       4    testimony that I did not know.

       5          Q.      So for all you know, 7.7 is still in

       6    effect?

       7          A.      I don't know that.        I have no idea about

       8    that.

       9          Q.      Right.     You don't -- you don't know one

      10    way or the other?

      11          A.      Right, yeah.

      12          Q.      Okay.    So it's -- you --

      13          A.      That's safe to say.

      14          Q.      Thank you.

      15                  Exhibit 43 that you were shown, is this a

      16    screen shot from the suspicious order monitoring

      17    database?

      18          A.      No.    I don't -- no.       This is a referral

      19    document.

      20          Q.      Do you know what -- you don't think this

      21    is part of a -- of a database?

      22          A.      This -- this has got physicians, not

      23    pharmacies.

      24          Q.      Cor -- correct.

     Golkow Litigation Services                                            Page 490
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 278Confidentiality
                                                           of 344. PageID #: 252109
                                                                               Review

       1                  Do you know what this document comes from?

       2    Is this coming from a computer screen?              Do you have

       3    any idea?

       4           A.     I have no idea.       This is nothing to do

       5    with the O -- the OMS that I was involved in.

       6           Q.     Okay.    Let me show you this document here

       7    which appears to be a screen shot.             It's

       8    PPLPC004000245483 through 86.           I'll mark it as

       9    Exhibit 56.

      10                       (WHEREUPON, a certain document was

      11                         marked Purdue-Seid Deposition Exhibit

      12                         No. 056, for identification, as of

      13                         12/13/2018.)

      14    BY MS. CONROY:

      15           Q.     Does that look familiar to you at all?

      16           A.     The type of document is familiar to me,

      17    yes.

      18           Q.     Would this have been something you would

      19    see on a -- is -- is this a screen shot of the

      20    suspicious order monitoring database?

      21           A.     I --

      22           Q.     Do you want to look at it?           Here, let me

      23    pass --

      24           A.     Yeah, that would certainly help.

     Golkow Litigation Services                                            Page 491
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 279Confidentiality
                                                           of 344. PageID #: 252110
                                                                               Review

       1          Q.      That's how I received it in hard copy like

       2    that, but it looks to me like it's a screen shot?

       3          A.      Yeah, that -- that is a screen shot.

       4          Q.      So do you see down at the bottom there are

       5    some very -- very fine print under Notes?

       6          A.      Yes.

       7          Q.      Are those the -- are those the sorts of

       8    notes that would have been input by different

       9    individuals into the database as information was

      10    collected on various topics?

      11          A.      That's what it looks like, yes.

      12          Q.      And this -- they would then become part of

      13    the suspicious order monitoring database?

      14          A.      Yes, they were included in the database.

      15          Q.      And would they have been available --

      16    would -- would the information on the database been

      17    available to you on the OMS committee?

      18          A.      Yes, this information would be OMS

      19    available data.

      20          Q.      Can I take a look at it?

      21                  And do you see up in the right-hand corner

      22    there are different tabs you could -- is that

      23    something that you could click on with your mouse?

      24          A.      Yes.

     Golkow Litigation Services                                            Page 492
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 280Confidentiality
                                                           of 344. PageID #: 252111
                                                                               Review

       1          Q.      And then this would also tell you the name

       2    of the -- if you -- if you take a look at the first

       3    page, it looks like it's isolating the customer Izz

       4    and Sons, do you see that, doing business as Roberts

       5    Drugstore in Miami?

       6          A.      Yes.

       7          Q.      And then if you turn the page, there is a

       8    status box, and it looks like it says:              "Complete

       9    referred."

      10                  Do you see that?

      11          A.      I can't see that from here.

      12          Q.      Oh, I -- it is kind of -- yeah, I can --

      13    I'll pass it back to you again, but if it says

      14    "complete referred," does that mean it was referred to

      15    the DEA?

      16          A.      Yes.

      17          Q.      Okay.    And then here it has the rep

      18    information.      Those are --

      19          A.      Yep.

      20          Q.      -- the sales reps?

      21          A.      That's correct.

      22          Q.      And where does that come from, who puts

      23    that information into the database?

      24          A.      Not being a -- a systems expert, my

     Golkow Litigation Services                                            Page 493
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 281Confidentiality
                                                           of 344. PageID #: 252112
                                                                               Review

       1    supposition is, is that there is a zip to territory

       2    overlay.

       3          Q.      Oh, I see.      So it would sort of -- it

       4    would automatically populate?

       5          A.      It would populate it.

       6          Q.      I see.

       7                  And do you see here on the notes where you

       8    see "CROWLEY J" in -- capitalized, and then --

       9          A.      Yeah.

      10          Q.      -- the text?

      11                  If you entered a note, would it have

      12    "SEID" capitalized?

      13          A.      Yes.

      14          Q.      That -- that happens automatically?

      15          A.      Yes.

      16                  There -- noted there the special agent

      17    that Jack had made a referral to.

      18          Q.      That's Special Agent Griffith?

      19          A.      Um-hum.

      20          Q.      And he made that ref -- referral in

      21    August, August 13th of 2008?

      22          A.      Yes.    That's what it appears, but it notes

      23    it.

      24          Q.      And then -- okay.

     Golkow Litigation Services                                            Page 494
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 282Confidentiality
                                                           of 344. PageID #: 252113
                                                                               Review

       1                  Oh, actually, we'll lose this if I do

       2    that.    Let me give this back -- let me put that over

       3    to you so we don't lose it.

       4          A.      Okay.    It goes in this pile.

       5          Q.      This is PPLPC033000006038.           I'll mark it

       6    as Exhibit 57.

       7                       (WHEREUPON, a certain document was

       8                         marked Purdue-Seid Deposition Exhibit

       9                         No. 057, for identification, as of

      10                         12/13/2018.)

      11    BY MS. CONROY:

      12          Q.      If you can take a look there, and I'll be

      13    happy to pass it over to you, and what I'm going to

      14    ask you about this, does this likewise look to be a

      15    screen shot of the suspicious order monitoring

      16    database?

      17          A.      I'm not sure what this is.           It may be.     It

      18    looks it -- to be a different format.

      19                  Is there a date on here?

      20          Q.      That's the way it was produced to me, so I

      21    don't know anything more about it.

      22          A.      (Witness reading to himself.)

      23                  This looks like -- I don't know if this is

      24    an early version or some kind of a summary report, but

     Golkow Litigation Services                                            Page 495
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 283Confidentiality
                                                           of 344. PageID #: 252114
                                                                               Review

       1    what you showed me previously looked like the more

       2    typical report that would go -- that we would use.

       3          Q.      Okay.

       4          A.      But this one also was in reference to a

       5    referral, I see.

       6          Q.      It was a reference to a DEA referral?

       7          A.      Yeah.

       8          Q.      And you can tell that because it says up

       9    here --

      10          A.      "Complete referred."

      11          Q.      -- it's a "complete referred."

      12                  Does it mean anything to you up here at

      13    the top it says "Purdue OMS," does that mean anything

      14    to you?

      15          A.      It may have been a -- one of the types of

      16    screen shots and it may be an earlier version.                I'm

      17    more familiar with the first one you showed me.

      18          Q.      Exhibit 56 that I showed you?

      19          A.      And the more we used it the more

      20    sophisticated it got and the more sophisticated it

      21    looked.

      22          Q.      So you think Exhibit 57 may be a --

      23          A.      An earlier version.

      24          Q.      -- an earlier version of the suspicious

     Golkow Litigation Services                                            Page 496
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 284Confidentiality
                                                           of 344. PageID #: 252115
                                                                               Review

       1    order monitoring database?

       2          A.      Yes.

       3          Q.      Okay.    I'll give you that.

       4                  You were shown this document by

       5    Mr. Hoffman.      You also produced it as part of the

       6    30(b)(6) deposition.

       7                  What is meant by the term, it says:

       8    "Attached please find the list that we have labeled

       9    Slow Pharmacies."

      10                  What does -- what did -- what does that

      11    mean, "slow pharmacies"?

      12          MS. CONROY:      Do you have the exhibit number

      13    there?

      14          MS. PORTER:        I think it's a -- this is a

      15    page from Exhibit 3 to the 30(b)(6) deposition which

      16    would be in the manila folder.

      17          THE WITNESS:       It's right -- it is right here.

      18          MS. PORTER:      Great.

      19          THE WITNESS:       I kept it handy.       It is easier for

      20    me to read.

      21    BY THE WITNESS:

      22          A.      Okay.    This was dated 2011?

      23    BY MS. CONROY:

      24          Q.      Correct, October 7th, 2011 --

     Golkow Litigation Services                                            Page 497
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 285Confidentiality
                                                           of 344. PageID #: 252116
                                                                               Review

       1          A.      Now this --

       2          Q.      -- from Jack Crowley.

       3          MS. PORTER:        Just to be clear, we are talking

       4    about this is the one with 7363 at the bottom?

       5          MS. CONROY:      Yes.

       6    BY THE WITNESS:

       7          A.      This is the one that -- this would have

       8    referenced those pharmacies, it appears, that showed a

       9    decrease, I guess that's why Jack is calling them

      10    "slow," a decrease from prior levels after the

      11    formulation changed and these -- was a list of 285

      12    pharmacies referred to the DEA.

      13    BY MS. CONROY:

      14          Q.      Whose per -- when you say referred to the

      15    DEA, what do you mean by that?

      16          A.      He provided -- well, I shouldn't say

      17    referred.     Well, maybe -- I don't know if referred is

      18    the right word, but this was a list provided after

      19    this meeting with the investigators, Robin and Jack

      20    and I believe it was at the DEA and they provided the

      21    entire list of 285 pharmacies.            This is the

      22    attachment.

      23          Q.      And those are pharmacies that Mr. Crowley

      24    called "slow pharmacies" because their prescribing of

     Golkow Litigation Services                                            Page 498
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 286Confidentiality
                                                           of 344. PageID #: 252117
                                                                               Review

       1    OxyContin decreased after the reformulation?

       2          A.      Decreased dramatically, yes, after the --

       3          Q.      You don't know if the pharmacies that are

       4    listed here were referred to the DEA as -- as

       5    suspicious?

       6          MR. HOFFMAN:       Object to the form.

       7    BY THE WITNESS:

       8          A.      I was not privy to their discussion.

       9    BY MS. CONROY:

      10          Q.      So you don't know?

      11          A.      I'm sure they -- well, I shouldn't say I'm

      12    sure, but it doesn't appear that they would be

      13    referred for any other reason than that they were

      14    pharmacies of concern.

      15          Q.      So you think -- so this was the same sort

      16    of referral as what we saw come out of the OMS

      17    committee --

      18          A.      Yeah --

      19          Q.      -- when the DEA -- when we saw in those --

      20    in those other documents where it says "complete

      21    referred"?

      22          A.      Right.

      23          Q.      There were -- there were referrals to the

      24    DEA and the DEA number assigned for every one of these

     Golkow Litigation Services                                            Page 499
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 287Confidentiality
                                                           of 344. PageID #: 252118
                                                                               Review

       1    Crowley-called slow pharmacies?

       2          A.      The DEA assigned, I'm -- I'm not sure what

       3    you mean.

       4          Q.      Well, let me ask it again then.

       5                  We looked at some documents today that

       6    ref -- that referenced a referral to the DEA?

       7          A.      Correct.

       8          Q.      Because it was a decision made by the

       9    legal -- by Robin Abrams and the committee that the

      10    pharmacy should be reported to the DEA, correct?

      11          A.      Correct.

      12          Q.      And we -- you referred to those as being

      13    referred to the DEA?

      14          A.      Correct.

      15          Q.      Is this the same thing, were all of these

      16    pharmacies in the same manner discussed at the

      17    committee and referred to the DEA?

      18          MR. HOFFMAN:       Object to form.

      19    BY MS. CONROY:

      20          Q.      Or is this something different?

      21          A.      I don't know if they were all discussed.

      22    This list was discussed.          And based on this meeting

      23    that was referenced, they were provided to the DEA.

      24          Q.      And do you know if this list was likewise

     Golkow Litigation Services                                            Page 500
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 288Confidentiality
                                                           of 344. PageID #: 252119
                                                                               Review

       1    provided to the supplier of -- the -- whoever was

       2    supplying these pharmacies?

       3          A.      I don't know that.

       4          Q.      Who would know that?

       5          A.      Perhaps Jack, perhaps Robin.

       6          Q.      And are the -- DEA is DOJ, same e-mail

       7    address?

       8          A.      I -- I'm -- I -- I suppose that's DEA.              I

       9    don't know.      I don't know who else they would be

      10    meeting in the Department of Justice, but...

      11          Q.      Well, do you know if -- if Barbara

      12    Boockholdt is with the Department of Justice or with

      13    the DEA?

      14          A.      I -- I don't know that.

      15          Q.      What about Leonard Levin who has a DOJ

      16    e-mail address?

      17          A.      He is a -- he and James Arnold are

      18    supervisory inspectors, investigators.

      19          Q.      For the DEA?

      20          A.      I don't know.

      21          Q.      You just -- you know they are supervisory

      22    investigators because you are -- you are taking a look

      23    at the e-mail, correct?

      24          A.      Correct.

     Golkow Litigation Services                                            Page 501
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 289Confidentiality
                                                           of 344. PageID #: 252120
                                                                               Review

       1          Q.      But you don't know -- you don't know who

       2    they work for?

       3          A.      I don't know who they work for.

       4          Q.      Okay.    Is there anything on this document

       5    that would lead you to believe that this was a

       6    communication with the DEA?

       7          A.      I can't say for sure it was the DEA.              It

       8    was some -- it was a -- apparently some type of law

       9    enforcement in the Department of Justice which could

      10    be the DEA.

      11          Q.      But you don't know?

      12          A.      I don't know.

      13          Q.      And does that mean that you don't know

      14    whether this list of slow pharmacies was actually

      15    supplied to the DEA or to the DOJ?

      16          A.      I don't know exactly who it was referred

      17    to.

      18          Q.      You -- you don't know, it's not just

      19    exactly, you don't know at all, right?

      20          A.      I -- no.     I only know by this document.

      21          Q.      Right.

      22          A.      That this information was provided to a

      23    Chief Boockhart -- Boockholdt in the Department of

      24    Justice.

     Golkow Litigation Services                                            Page 502
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 290Confidentiality
                                                           of 344. PageID #: 252121
                                                                               Review

       1           Q.     And -- and that's all we can tell from

       2    this, right?

       3           A.     Yes.    I wasn't at the -- this meeting.

       4           Q.     And -- and you weren't a part -- you don't

       5    know whether -- whether these pharmacies were referred

       6    to the DEA or not?

       7           A.     I don't know what was done with them

       8    afterwards, but I'm assuming the list was provided to

       9    whoever this law enforcement official was because they

      10    were pharmacies of concern.

      11           Q.     So you consider the DOJ and the DEA the

      12    same thing?

      13           A.     No, I don't.      I'm just saying they were

      14    referred to a -- some law enforcement agency.

      15           Q.     And -- and that's what I'm trying to

      16    clarify.

      17                  What you understand reading this document,

      18    you weren't a part of it, is the best you can tell,

      19    the list of pharmacies was referred to the DOJ,

      20    correct?

      21           A.     That's what it looks like.

      22           Q.     You have no idea if it was referred to the

      23    DEA?

      24           A.     I don't know it was --

     Golkow Litigation Services                                            Page 503
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 291Confidentiality
                                                           of 344. PageID #: 252122
                                                                               Review

       1          MR. HOFFMAN:       Object to the --

       2    BY THE WITNESS:

       3          A.      -- if it was referred to the DEA.

       4          MR. HOFFMAN:       Sorry.

       5                  Object to form.

       6    BY MS. CONROY:

       7          Q.      You were very proud of RxPATROL, correct?

       8          A.      Yes, I am.

       9          Q.      And you were proud enough you -- it was

      10    something that you hoped to increase the visibility

      11    of, correct?

      12          A.      Yes.

      13          Q.      And it was something that you hoped all of

      14    your customers would use and take advantage of,

      15    correct?

      16          A.      Correct.

      17          Q.      And is that the reason, do you know, that

      18    it was also provided to McKesson to circulate with all

      19    of its customers?

      20          A.      We provided it to wholesalers to circulate

      21    to their customers, yes.

      22          Q.      And that was to increase the visibility,

      23    correct?

      24          A.      The visibility, yes.

     Golkow Litigation Services                                            Page 504
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 292Confidentiality
                                                           of 344. PageID #: 252123
                                                                               Review

       1          Q.      Do you know if that was something that you

       2    did without getting paid or did you -- did you -- did

       3    you --

       4          A.      I don't --

       5          Q.      -- pay for McKesson to circulate it, do

       6    you know?

       7          A.      I don't think so, but I don't know.             I

       8    don't remember.

       9          Q.      But in any event, you believed that would

      10    increase the possibility that it would be read if it

      11    was, in fact, circulated through the wholesalers?

      12          A.      Yes.

      13          Q.      I'm going to show you what -- I'll show it

      14    up on the screen.        I'll mark it Exhibit 58,

      15    MCKMDL00353316.

      16                       (WHEREUPON, a certain document was

      17                         marked Purdue-Seid Deposition Exhibit

      18                         No. 058, for identification, as of

      19                         12/13/2018.)

      20    BY MS. CONROY:

      21          Q.      This is a McKesson Manufacturing --

      22    Manufacturer Marketing prepared for Purdue Pharma,

      23    August 20th of 2012, concerning RxPATROL.

      24                  Do you see that?

     Golkow Litigation Services                                            Page 505
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 293Confidentiality
                                                           of 344. PageID #: 252124
                                                                               Review

       1          A.      I see that.

       2          Q.      And it says here the:

       3                  "Objective:      "McKesson offers the

       4    following awareness and education programs which can

       5    be utilized by Purdue Pharma L.P. to educate and

       6    generate awareness to pharmacists regarding the x" --

       7    "RxPATROL initiative and the valuable resources on

       8    pharmacy security available from RxPATROL."

       9                  Do you see that?

      10          A.      I see that.

      11          Q.      And then if you go a little bit further

      12    down, it talks about McKesson Connect and how many --

      13    how many customers that can -- that can hit a day.

      14                  Do you see that?

      15          A.      I see that.

      16          Q.      Do you also see here at the bottom it

      17    says:

      18                  "Content for each program listed above

      19    must be provided by Purdue Pharma L.P." -- you agree

      20    with that, right?

      21          A.      Yes.

      22          Q.      -- "and approved by McKesson clinical and

      23    legal teams."

      24                  Do you see at that?

     Golkow Litigation Services                                            Page 506
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 294Confidentiality
                                                           of 344. PageID #: 252125
                                                                               Review

       1          A.      I see that.

       2          Q.      So not only did Purdue Pharma have to

       3    approve of every comma, as you spoke about before, but

       4    McKesson's clinical and legal teams had to approve the

       5    documents as well, correct?

       6          MR. STANNER:       Objection; form, foundation.

       7    BY THE WITNESS:

       8          A.      That's what it says there.

       9    BY MS. CONROY:

      10          Q.      And if you take a look, it says:

      11                  "Create awareness as well as educate

      12    pharmacists about RxPATROL.           The marketing services

      13    detailed above could be utilized by Purdue Pharma L.P.

      14    to educate and create pharmacist awareness of RxPATROL

      15    among pharmacies served by McKesson distribution."

      16                  Do you see that?

      17          A.      I see that.

      18          Q.      And -- and you understood that was the way

      19    it worked when, for example, there was the OxyContin

      20    bottle shown that was used for that week in August?

      21          MR. STANNER:       Objection.

      22    BY MS. CONROY:

      23          Q.      That website?

      24          MR. STANNER:       Objection, form.

     Golkow Litigation Services                                            Page 507
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 295Confidentiality
                                                           of 344. PageID #: 252126
                                                                               Review

       1    BY MS. CONROY:

       2          Q.      Do you remember you looked at that picture

       3    of the OxyContin bottle just about an hour ago?

       4          A.      Yes.

       5          Q.      That's what -- that's what we are talking

       6    about here?

       7          MR. STANNER:       Objection, form, foundation.

       8          MR. HOFFMAN:       Same objection.

       9    BY THE WITNESS:

      10          A.      This is a general statement.           The thing

      11    that -- the item that we saw before was specific to

      12    Direct Connect and the information related to the

      13    reformulation of OxyContin.

      14    BY MS. CONROY:

      15          Q.      Okay.    But it was the same -- McKesson

      16    Connect was the vehicle to circulate RxPATROL as well

      17    as what we saw with -- with that one-week primary spot

      18    for the reformulated OxyContin, correct?

      19          MR. STANNER:       Objection, form, foundation.

      20    BY THE WITNESS:

      21          A.      I don't know if it was -- I don't remember

      22    if it was done through Rx Connect.

      23    BY MS. CONROY:

      24          Q.      You -- you don't remember which one?

     Golkow Litigation Services                                            Page 508
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 296Confidentiality
                                                           of 344. PageID #: 252127
                                                                               Review

       1          A.      RxPATROL.

       2          Q.      If Rx -- you don't remember if RxPATROL --

       3          A.      Was done.

       4          Q.      -- was available through McKesson Connect?

       5          A.      Connect.

       6          Q.      Okay.

       7          A.      Who is that addressed to?

       8          Q.      It was -- it's just an available McKesson

       9    document.

      10          A.      I am wondering if that was done with the

      11    RxPATROL folks.       It doesn't indicate to who that was

      12    sent.

      13          Q.      You can -- you can keep that.

      14          A.      Okay.

      15          Q.      I don't have to who it was sent.

      16          A.      Okay.

      17          Q.      Do you remember being shown Exhibit 52

      18    which was the screen shot of what appeared on McKesson

      19    Connect?

      20          A.      Yes.

      21                       (WHEREUPON, a certain document was

      22                         marked Purdue-Seid Deposition Exhibit

      23                         No. 059, for identification, as of

      24                         12/13/2018.)

     Golkow Litigation Services                                            Page 509
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 297Confidentiality
                                                           of 344. PageID #: 252128
                                                                               Review

       1    BY MS. CONROY:

       2          Q.      Okay.    Let me show you what I'll mark as

       3    Exhibit 59, which is an actual screen shot of McKesson

       4    Connect.

       5                  And do you see over here on the right-hand

       6    side?

       7          A.      Yes.

       8          Q.      And that's what was -- that's what had a

       9    primary spot for that week in August?

      10          MR. STANNER:       Objection to form and foundation.

      11    BY MS. CONROY:

      12          Q.      You would see that that entire week when

      13    you went to McKesson Connect?

      14          A.      I assume so, yes.

      15          Q.      Okay.    And what we looked at in Exhibit 52

      16    was just the picture, do you see, with the "order now"

      17    button?

      18          A.      Right.

      19          Q.      Okay.    But you also -- but you see that

      20    the actual web page had this reference "click here for

      21    more information" and that's where the fact pamphlet

      22    was available, correct?

      23          A.      The FAQs, yes.

      24          Q.      And so anyone coming onto McKesson Connect

     Golkow Litigation Services                                            Page 510
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 298Confidentiality
                                                           of 344. PageID #: 252129
                                                                               Review

       1    not only would see this banner ad but they would

       2    also -- and they would be able to click and order from

       3    this banner, they would also be able to click and

       4    receive the multi-page FAQs, correct?

       5          A.      They would be able to click on that and

       6    view the multi-page FAQs and the revised full product

       7    information.

       8          Q.      Right.     That whole -- that whole pamphlet

       9    with the label that we saw?

      10          A.      Yes.

      11          Q.      And they could download it as well, right?

      12          A.      I don't know how their system -- I don't

      13    know if that's cape -- the capability of their system.

      14    I would assume they could download it.

      15          Q.      Okay.    When McKesson sells Purdue

      16    products, McKesson makes money, right?

      17          A.      When Pur -- when McKesson sells Purdue's

      18    products?

      19          Q.      It makes -- it makes money, right?

      20          A.      I would assume they would make money.

      21          Q.      When -- when Purdue sells products using a

      22    wholesaler like McKesson, Purdue makes money on its

      23    own products, right?

      24          A.      Well, we make money on the sales to the

     Golkow Litigation Services                                            Page 511
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 299Confidentiality
                                                           of 344. PageID #: 252130
                                                                               Review

       1    wholesaler.

       2          Q.      Right.

       3                  And the wholesaler makes money on some

       4    percentage of what gets sold, right?

       5          MR. STANNER:       Objection, form, foundation.

       6    BY THE WITNESS:

       7          A.      What -- how McKesson does their business,

       8    obviously you would need to talk to them, but my

       9    assumption is that they make money on what they sell.

      10    BY MS. CONROY:

      11          Q.      They -- they don't do it for free?

      12          A.      Right.

      13          Q.      Let me just show you what I'll mark as

      14    Exhibit 60.

      15                       (WHEREUPON, a certain document was

      16                         marked Purdue-Seid Deposition Exhibit

      17                         No. 060, for identification, as of

      18                         12/13/2018.)

      19    BY MS. CONROY:

      20          Q.      Which is "Custom Solutions For Driving

      21    Brand Performance by McKesson Manufacturer Marketing."

      22    And I'll pass this to you so you can take a look if

      23    you want.

      24                  And it says:      "McKesson Manufacturer

     Golkow Litigation Services                                            Page 512
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 300Confidentiality
                                                           of 344. PageID #: 252131
                                                                               Review

       1    Marketing partners with pharmaceutical manufacturers

       2    to define and execute customized strategic solutions

       3    targeting key awareness, distribution, sale" -- "sales

       4    and adherence goals at all stages of the product

       5    lifecycle."

       6                  Do you see that?

       7          A.      I see that.

       8          Q.      If we turn the page.

       9          MR. STANNER:       Do we have copies of this

      10    document?

      11          MS. CONROY:      I don't have copies of it.

      12    BY MS. CONROY:

      13          Q.      And then it says:        "Created from a

      14    portfolio of proven and innovative programs from

      15    multiple McKesson business units.             McKesson

      16    Manufacturer Marketing strategic solutions deliver the

      17    resources and expertise to help your brand."

      18                  Do you see that?

      19          A.      I see that.

      20          Q.      And one of those is McKesson Connect,

      21    correct?

      22          MR. STANNER:       Objection; form, foundation.

      23    BY THE WITNESS:

      24          A.      Does it list it on this piece?

     Golkow Litigation Services                                            Page 513
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 301Confidentiality
                                                           of 344. PageID #: 252132
                                                                               Review

       1    BY MS. CONROY:

       2           Q.     I'm going to find it.         I'm going to find

       3    that.    It lists Health Mart.

       4                  Remember we talked about that yesterday?

       5           A.     Yeah.

       6           Q.     And that's -- that's something that Purdue

       7    Pharma has used in the past, correct?

       8           A.     I don't know if we've used.           We have

       9    explored Health Mart.         But I'm not sure what we used

      10    it for.     It might have been for our OTC brands if we

      11    did.

      12           Q.     Okay.

      13                  You used Direct Rx.         It says:     "Feature

      14    your brand's ads in screen messages on McKesson

      15    Connect."

      16                  That's what we just looked at, right?

      17           A.     Yeah, we used, yes.

      18           Q.     Okay.    So:    "The McKesson Manufacturer

      19    Marketing strategic solutions deliver the resources

      20    and expertise to help your brand," some of those

      21    resources, as we just saw, are McKesson Connect,

      22    correct?

      23           MR. STANNER:      Objection; form and foundation.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 514
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 302Confidentiality
                                                           of 344. PageID #: 252133
                                                                               Review

       1          A.      And one of the resources listed was

       2    McKesson Connect, yes.

       3    BY MS. CONROY:

       4          Q.      Okay.

       5                  And it says here:        "Increased product

       6    distribution to retail pharmacies through targeted

       7    product launch, distribution and packaging solutions."

       8                  Would you agree that McKesson provides

       9    that service to Purdue?

      10          MR. STANNER:       Objection; form, foundation,

      11    timeframe.

      12    BY THE WITNESS:

      13          A.      They would -- can offer that solution, I

      14    guess, to Purdue.

      15    BY MS. CONROY:

      16          Q.      Okay.    Well, McKesson has helped at

      17    product launch, correct?

      18          MR. STANNER:       Objection; form, vague.

      19    BY THE WITNESS:

      20          A.      We've worked with them on product

      21    launches, yes.

      22    BY MS. CONROY:

      23          Q.      They certainly work on distribution,

      24    correct?

     Golkow Litigation Services                                            Page 515
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 303Confidentiality
                                                           of 344. PageID #: 252134
                                                                               Review

       1          A.      Correct.

       2          Q.      And what about packaging solutions, have

       3    you ever used --

       4          A.      No.

       5          Q.      -- McKesson for packaging solutions?

       6          A.      Years and years before we used -- there

       7    was an Rx Pack, which is a McKesson repacker, but we

       8    didn't use that at this time.

       9          Q.      So that the more relevant issues would be

      10    targeted product launch and distribution?

      11          A.      Correct.

      12          MR. STANNER:       Objection; form.

      13    BY MS. CONROY:

      14          Q.      Then if you see here at the bottom it

      15    says:

      16                  "Delivering an unmatched combination of

      17    communication, distribution, packaging and pharmacist

      18    coaching options, plus targeted analytics of exclusive

      19    data.    McKesson Manufacturer Marketing is designed to

      20    enable brands to set strategic solutions that

      21    prioritize opportunities, optimize resources and

      22    improve profitability."

      23                  Do you see that?

      24          A.      I see that.

     Golkow Litigation Services                                            Page 516
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 304Confidentiality
                                                           of 344. PageID #: 252135
                                                                               Review

       1          Q.      Now, you're familiar with some of the

       2    pharmacist coaching options, correct, you've heard

       3    about -- you've heard about that?

       4          MR. HOFFMAN:       Object to form.

       5          MR. STANNER:       Objection.

       6    BY THE WITNESS:

       7          A.      I don't -- I don't know where you are

       8    going.

       9    BY MS. CONROY:

      10          Q.      You don't -- you are not familiar with

      11    pharmacist coaching?

      12          A.      I -- you'd have to be specific.            I don't

      13    know what those would be.

      14          Q.      Okay.    "Targeted analytics of exclusive

      15    data," that's the data that you receive in the

      16    fee-for-service contracts, correct?

      17          A.      This is different than the fee-for-service

      18    contracts.

      19          Q.      It is -- the targeted analytics would be

      20    different?

      21          A.      That has nothing to do with

      22    fee-for-service contracts.

      23          Q.      Okay.    Do you know what the targeted

      24    analytics of exclusive data is referring to?

     Golkow Litigation Services                                            Page 517
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 305Confidentiality
                                                           of 344. PageID #: 252136
                                                                               Review

       1          A.      I don't.

       2          Q.      But you know it is different than the data

       3    that you received from McKesson on the Purdue

       4    products?

       5          A.      This is under their marketing umbrella.

       6    When I'm -- the fee-for-services agreement relates to

       7    distribution.

       8          Q.      Okay.    So that would be here,

       9    distribution?

      10          MR. STANNER:       Objection; form.

      11    BY THE WITNESS:

      12          A.      The fee-for-service agreement is based on

      13    the distribution of Purdue's products.              It has nothing

      14    to do with a marketing program, zero.

      15    BY MS. CONROY:

      16          Q.      Okay.

      17                  Do you see this where it says:            "Build

      18    patient awareness through retail merchandising,

      19    promotions and advertising"?

      20                  Do you see that?

      21          A.      Yes.

      22          Q.      At least would there be any reason

      23    RxPATROL documents would not be seen by a patient?

      24          MR. HOFFMAN:       Object to form.

     Golkow Litigation Services                                            Page 518
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 306Confidentiality
                                                           of 344. PageID #: 252137
                                                                               Review

       1    BY THE WITNESS:

       2          A.      RxPATROL would not go to a patient.             A

       3    patient has no -- no relation to RxPATROL at all.

       4    BY MS. CONROY:

       5          Q.      That's not quite my question, but if -- if

       6    a patient was interested in sharing information to

       7    help protect pharmacists, would there be any reason a

       8    pharmacist could not inform customers coming into the

       9    pharmacy about RxPATROL?

      10          MR. STANNER:       Objection, form, foundation, calls

      11    for speculation.

      12    BY THE WITNESS:

      13          A.      How would I know that?

      14          MR. HOFFMAN:       Object to form.

      15    BY MS. CONROY:

      16          Q.      I'm asking you if you would have any

      17    reason to believe it could not be done?

      18          MR. HOFFMAN:       Object to form.

      19    BY THE WITNESS:

      20          A.      I'd have no reason to believe it could be

      21    done.

      22    BY MS. CONROY:

      23          Q.      Okay.

      24                  And what about the fact sheet about the

     Golkow Litigation Services                                            Page 519
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 307Confidentiality
                                                           of 344. PageID #: 252138
                                                                               Review

       1    reformulated OxyContin that was available on McKesson

       2    Connect, would that be something that a patient could

       3    talk to a pharmacist about?

       4          MR. HOFFMAN:       Object to form.

       5    BY THE WITNESS:

       6          A.      It would be something that a pharmacist

       7    could talk to a patient about.            It was not designed

       8    for patient ute -- utilization.

       9    BY MS. CONROY:

      10          Q.      I saw -- fee-for-service contracts, they

      11    are going to say that in the title, it will say

      12    "fee-for-service contract"?

      13          A.      I think it says -- that's what we titled

      14    it.

      15          Q.      Okay.    I'll -- I'll tell you that I've --

      16    I have located some drug distribution agreements that

      17    have -- that reference fee-for-service --

      18          A.      Then that --

      19          Q.      -- data --

      20          A.      Yeah.

      21          Q.      -- in 52 --

      22          A.      Try drug distribution agreements.

      23          Q.      So it might be called a drug distribution

      24    agreement?

     Golkow Litigation Services                                            Page 520
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 308Confidentiality
                                                           of 344. PageID #: 252139
                                                                               Review

       1          A.      It might be, yes.

       2          Q.      Okay.    So you don't have a -- you don't

       3    have a strong memory that it's actually called -- that

       4    all of these agreements that are -- that contain the

       5    fee-for-service data are called fee-for-service --

       6          A.      Fee-for-service.

       7          Q.      -- agreements.

       8          A.      No, I don't have a strong memory.             I'm --

       9    as a -- an old timer, I use the old term, which was

      10    fee-for-service, but it may have been, when it was

      11    done, a distribution management agreement.

      12          Q.      Okay.    So when I -- when I see some of

      13    that "fee-for-service" language --

      14          A.      Right.

      15          Q.      -- I can be comfortable that what I'm

      16    looking at is actually the fee-for-service agreement?

      17          A.      It probably is, yeah.

      18          Q.      You've just cleared up a lot of confusion

      19    that I had.

      20          A.      Okay.

      21          Q.      Thank you.

      22          A.      Sorry about that.

      23          Q.      No, that's -- that's quite all right.

      24          MS. CONROY:      I have no further questions.           Thank

     Golkow Litigation Services                                            Page 521
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 309Confidentiality
                                                           of 344. PageID #: 252140
                                                                               Review

       1    you.

       2           THE WITNESS:      Thank you.

       3                       (WHEREUPON, discussion was had

       4                         off the stenographic record.)

       5           MR. STEWART:      Okay.    Let's go back on the

       6    record.

       7           THE VIDEOGRAPHER:       We are back on the record at

       8    6:01 p.m.

       9                          FURTHER EXAMINATION

      10    BY MR. STEWART:

      11           Q.     Mr. McNeil, you remember that your

      12    attorney in his examination brought this document out

      13    and suggested that it -- it represented a DA -- a DEA

      14    referral?

      15           MS. PORTER:       Objection.     I am Mr. Seid's

      16    attorney and that was --

      17           MR. STEWART:      Oh, pardon me.

      18    BY MR. STEWART:

      19           Q.     Do you remember that Purdue's attorney

      20    used this in his examination of you and just suggested

      21    that it was evidence of a DEA referral?

      22           MR. HOFFMAN:      Object to form.       I was just using

      23    your exhibit.

      24    BY THE WITNESS:

     Golkow Litigation Services                                            Page 522
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 310Confidentiality
                                                           of 344. PageID #: 252141
                                                                               Review

       1          A.      He did use that and pointed out there was

       2    a referral in there.

       3    BY MR. STEWART:

       4          Q.      Okay.    But just to be clear, you -- you've

       5    said you don't know anything about this document, is

       6    that right?

       7          A.      I don't know -- I don't -- did not deal

       8    with -- with referrals of physicians.

       9          Q.      It's not -- it is not a document you even

      10    recognized when we were talking before, fair?

      11          A.      That's true.

      12          Q.      Okay.

      13                       (WHEREUPON, a certain document was

      14                         marked Purdue-Seid Deposition Exhibit

      15                         No. 061, for identification, as of

      16                         12/13/2018.)

      17    BY MR. STEWART:

      18          Q.      I will hand you Exhibit 61.

      19                  And very quickly, do you see that this is

      20    a -- a e-mail from a Jack Crowley to you?

      21          A.      This is an e-mail from Jack Crowley to --

      22          Q.      And I've got it highlighted if you want to

      23    look at -- you're -- you're on --

      24          A.      It looks like members of the OMS

     Golkow Litigation Services                                            Page 523
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 311Confidentiality
                                                           of 344. PageID #: 252142
                                                                               Review

       1    committee.

       2          Q.      Okay.    And if you'd turn over to the next

       3    page, do you see I've highlighted a section where he

       4    says:    "The traffic" -- trafficking case," and it

       5    describes this article, "began as a probe by the Palm

       6    Beach County Sheriff's Office but quickly expanded

       7    into a collaborative effort with the US Drug

       8    Enforcement Administration."

       9                  Do you see that?

      10          A.      I see that.

      11          Q.      Do you see that then on the first page,

      12    Jack says:

      13                  "This is one of the problems, this

      14    investigation went on from January of 2006 through

      15    2" -- "October of 2009, meanwhile, the oxycodone was

      16    hitting the streets."

      17                  Do you see that?

      18          A.      I see that.

      19          Q.      Do you remember talking to Jack about this

      20    article?

      21          A.      I don't remember talking to Jack about

      22    this article.

      23          Q.      Do you remember him having this view that,

      24    you know, the DEA is a hardworking government

     Golkow Litigation Services                                            Page 524
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 312Confidentiality
                                                           of 344. PageID #: 252143
                                                                               Review

       1    organization but the fact is, given their workload,

       2    you're going to have delays like this, fair?

       3          MR. HOFFMAN:       Ob -- object to form and it is

       4    beyond the scope of my examination.

       5    BY THE WITNESS:

       6          A.      Yeah, that's -- can you rephrase the

       7    question?

       8    BY MR. STEWART:

       9          Q.      Yeah.    I'm just -- had -- had you and

      10    Mr. Crowley, do you recall him alerting you to the

      11    fact that the DEA involvement even in this case

      12    involved a three-year process?

      13                  Do you remember that?

      14          A.      Well, he -- he informed me via this

      15    document, yes.

      16          Q.      That's correct.

      17                  Can you turn to Exhibit 48, I believe,

      18    which is an OMS summary report in front of you?

      19          A.      Yes.

      20          Q.      Now that you are looking at it, and I'd

      21    refer you to the page marked 0267.             And do you see

      22    that it -- it contains a recommendation?

      23          A.      Yes.

      24          Q.      Before, I think -- you know, we looked at

     Golkow Litigation Services                                            Page 525
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 313Confidentiality
                                                           of 344. PageID #: 252144
                                                                               Review

       1    this document and you were questioning whether you --

       2    whether it was an OMS committee report or document.

       3                  Now that you look at it, it is -- it is a

       4    report from your committee, fair?

       5           A.     I'm -- this looks to be some kind of

       6    summary report that Jack prepared.             That's what it

       7    looks like to me.        It doesn't look like an OMS report.

       8           Q.     Okay.    Do you see that there is a -- do

       9    you see that there is a -- if you look at Page 0266,

      10    there is a recommendation decision for OMS committee

      11    9/19/2012.

      12                  Do you see that?

      13           A.     Yes.

      14           Q.     Okay.    And do you see that the questions

      15    are:    "May Daryl Rose resume calling on the Food City

      16    Pharmacies in Knoxville?"

      17           A.     That's what it says.

      18           Q.     And there is another question:            "May Daryl

      19    Rose resume calling on Janet McNeil M.D.?"               And then

      20    it lists her DEA number.

      21                  Do you see that?

      22           A.     Yes.

      23           Q.     Okay.    And then do you see the notice that

      24    the -- the recommendation is on the next page that:

     Golkow Litigation Services                                            Page 526
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 314Confidentiality
                                                           of 344. PageID #: 252145
                                                                               Review

       1                  "The sales representative may continue to

       2    call, and will be requested to notify the General

       3    Counsel's Office if further derogatory information is

       4    obtained."

       5                  Do you see that?

       6          A.      Yes.

       7          Q.      So the point is, it may be, you know,

       8    counsel for Purdue suggested that perhaps there had

       9    been some referral for Frank McNeil, but here the

      10    committee that you sit on gave Purdue salespeople the

      11    green light to call on his wife Janet McNeil, fair?

      12          MR. HOFFMAN:       Object to form.

      13    BY MR. STEWART:

      14          Q.      Is that fair?

      15          A.      I'm -- what's the question?

      16          Q.      The point is, the committee here is --

      17    is -- is saying that -- that Purdue salespeople can

      18    call on Janet McNeil?

      19          A.      According to what this document says.

      20          Q.      And what's the date on that document, the

      21    date on the front?

      22          A.      September 19, 2012, although there is a

      23    bunch of different dates throughout this document.

      24          Q.      What's the date of the decision that you

     Golkow Litigation Services                                            Page 527
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 315Confidentiality
                                                           of 344. PageID #: 252146
                                                                               Review

       1    were just referring to, just so we're clear?

       2                  Here, and I'll guide you.

       3                  Do you see you've got on Bates No. 0266

       4    you've got the decision for the committee and it says

       5    September 19th, 2012?

       6          A.      Yes, I see that.

       7          Q.      Okay.    And then you've got the decision on

       8    the next page.

       9                  So that's a September 2012 decision --

      10          A.      Okay.

      11          Q.      -- fair?

      12          A.      That's what it says.

      13                        (WHEREUPON, a certain document was

      14                         marked Purdue-Seid Deposition Exhibit

      15                         No. 062, for identification, as of

      16                         12/13/2018.)

      17    BY MR. STEWART:

      18          Q.      I hand you Exhibit -- I'll tell you what,

      19    I hand you Exhibit 62.

      20                  Do you recognize it?

      21          A.      No.

      22          Q.      You've never seen that document before?

      23          A.      No.

      24          Q.      I'll tell you what, turn to --

     Golkow Litigation Services                                            Page 528
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 316Confidentiality
                                                           of 344. PageID #: 252147
                                                                               Review

       1          A.      Is there a date as to when this was

       2    produced and who produced it?

       3          Q.      Well, here, I'll -- I'll -- I'll try to

       4    answer your question.

       5                  Do you see on the second page marked 6763

       6    with the Bates stamp, do you see that page?

       7          A.      Yes.

       8          Q.      Do you see that the last date on this

       9    graph is 16 March '14?

      10          A.      I see that.

      11          Q.      Okay.    So this -- this document may

      12    reflect that period.

      13                  Why don't we turn to the page marked 6779.

      14          A.      Okay.

      15          Q.      Do you see there is a highlighted -- a

      16    highlighted entry, and this is a chart that identifies

      17    "Top 50 OxyContin outlets last 18 months"?

      18          A.      Yes.

      19          Q.      And do you see that on this list is K-VA-T

      20    Food Stores Inc. at 5941 Kingston Pike, Bearden, in

      21    Knoxville?

      22          A.      I see it on this document.

      23          Q.      Okay.    And you flip to the other side for

      24    clarity on the next page, 6780.

     Golkow Litigation Services                                            Page 529
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 317Confidentiality
                                                           of 344. PageID #: 252148
                                                                               Review

       1                  And do you see that listed among monthly

       2    OxyContin purchasing trends by chain is Food City

       3    K-VA-T Food Stores Inc., it's in the last -- last

       4    chamber of this presentation?

       5          A.      Yes.

       6          Q.      Do you see that?

       7                  So -- so it looks like the Food City on

       8    Kingston Pike had made the -- the top 50 OxyContin

       9    outlet list, at least as of the production of this

      10    document, fair?

      11          MR. HOFFMAN:       Object to form, misstates the

      12    document.

      13    BY THE WITNESS:

      14          A.      I don't know what this document is for or

      15    what it's about --

      16    BY MR. STEWART:

      17          Q.      Okay.

      18          A.      -- but on one page it shows 4.8 million in

      19    sales and then it shows negative sales, so I don't

      20    know what this document is about.

      21          Q.      All we can say, you can confirm for me

      22    that if you look at the document, K-VA, and you're

      23    looking at Page 6779, you can see that on -- on a

      24    sheet that identifies top 50 OxyContin outlets, K-VA

     Golkow Litigation Services                                            Page 530
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 318Confidentiality
                                                           of 344. PageID #: 252149
                                                                               Review

       1    Food Stores Inc. at 5941 Kingston Pike, Bearden is

       2    listed, fair?

       3          A.      I can see on a document that doesn't give

       4    a specific timeframe here --

       5          Q.      And --

       6          A.      -- but it is listed.

       7          Q.      -- can you turn to the front page of the

       8    document that you are looking at?

       9          A.      Yes.

      10          Q.      What is the biggest word that appears on

      11    that page?

      12          A.      "Purdue."

      13          Q.      Is that an indicator it might be a Purdue

      14    document?

      15          MS. MACKAY:      Objection.

      16    BY MR. STEWART:

      17          Q.      We talked -- you talked earlier you were

      18    examined by Purdue's counsel about an e-mail that Jack

      19    Crowley had sent you talking about the interplay

      20    between pharmacies and doctors.

      21                  Do you remember that?

      22          A.      I remember him presenting a document, yes.

      23          Q.      Do you remember that he was talking about

      24    pharmacies in Florida that were supplying people?

     Golkow Litigation Services                                            Page 531
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 319Confidentiality
                                                           of 344. PageID #: 252150
                                                                               Review

       1                       (WHEREUPON, a certain document was

       2                         marked Purdue-Seid Deposition Exhibit

       3                         No. 063, for identification, as of

       4                         12/13/2018.)

       5    BY MR. STEWART:

       6          Q.      I'll give you Exhibit 63.

       7          A.      Is this the same document?

       8          Q.      It's not.

       9          A.      Then I'd have to look at the previous

      10    document to refresh my memory.

      11          MS. PORTER:        Which one?

      12          MR. STEWART:       It's the -- it was used in his --

      13    in Purdue's direct.        No.    It was -- it's the

      14    document -- it's an e-mail by Crowley.              It is probably

      15    Exhibit 20 something.

      16                  I'm -- I'm looking at Purdue's counsel

      17    because he just used it.          It is probably in that pile

      18    right there.

      19          MS. MACKAY:      Oh, it's exhibit -- I think it is

      20    the -- one of the docs that was in Exhibit 3 of the

      21    30(b)(6).

      22          MR. HOFFMAN:       19 -- 19?

      23          MR. STEWART:       19, Exhibit 19.

      24          THE WITNESS:       Thank you.

     Golkow Litigation Services                                            Page 532
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 320Confidentiality
                                                           of 344. PageID #: 252151
                                                                               Review

       1          MS. PORTER:        You're welcome.

       2    BY MR. STEWART:

       3          Q.      Okay.    So in Exhibit 19, do you have that

       4    in front of you?

       5          A.      I do have it in front of me.

       6          Q.      And do you -- do you remember that

       7    Mr. Crowley was talking to you about -- about

       8    suspicious pharmacies and physicians in the Florida

       9    area?

      10          A.      This, to be specific, is a memo from Jack

      11    Crowley to many people, and so he wasn't speaking to

      12    me.   And one of the things that did come up --

      13    sorry -- one of the things that did come up was ABC

      14    Orlando in this document.

      15          Q.      And that was one of the suppliers that was

      16    engaged in diversion?

      17          MR. HOFFMAN:       Object to form.

      18    BY THE WITNESS:

      19          A.      I don't believe that that's what this

      20    says.

      21    BY MR. STEWART:

      22          Q.      Well, do you recall that in that document,

      23    Exhibit 19, Jack Crowley talks about discovering a

      24    pharmacy with suspicious orders and then discovering

     Golkow Litigation Services                                            Page 533
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 321Confidentiality
                                                           of 344. PageID #: 252152
                                                                               Review

       1    doctors with suspicious orders?

       2          A.      He indicates a particular pharmacy that I

       3    alerted him to and he associated it with a doctor, I

       4    had given testimony to that before.

       5          Q.      And that all occurred in Florida?

       6          A.      That's what it says here.

       7          Q.      Okay.    And -- and I take it you recall,

       8    and this is the exhibit that you've got in front of

       9    you now, Exhibit 63, Mr. Crowley had alerted you as

      10    well that that diversion in Florida resulted in the

      11    transfer of drugs, not the particular diversion

      12    described in the previous exhibit, but that in general

      13    there was a pipeline of pills coming from Florida up

      14    into the Appalachian states, fair?

      15          MR. HOFFMAN:       Object to form, foundation.

      16    BY THE WITNESS:

      17          A.      He sent a e-mail to, again, a list of

      18    people and it was a -- an article.             I don't see any

      19    comment from Jack on here.          It is a series of

      20    articles.

      21    BY MR. STEWART:

      22          Q.      But he has alerted you to this article

      23    about "Pills From South Florida Flood Appalachian

      24    States," fair?

     Golkow Litigation Services                                            Page 534
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 322Confidentiality
                                                           of 344. PageID #: 252153
                                                                               Review

       1          A.      That's what the title says.

       2          Q.      And it was sent to you by Jack Crowley?

       3          A.      I was copied on an e-mail that Jack

       4    Crowley sent.

       5                       (WHEREUPON, a certain document was

       6                         marked Purdue-Seid Deposition Exhibit

       7                         No. 064, for identification, as of

       8                         12/13/2018.)

       9    BY MR. STEWART:

      10          Q.      Okay.    And this is the last document and

      11    probably the last two minutes of this deposition.                 I'm

      12    going to give you another exhibit, Exhibit 64.

      13                  And is this another one of Jack Crowley's

      14    e-mails to you, this one to you only?

      15                  Do you see that?

      16          A.      I see that.

      17          Q.      And he is identifying some -- some

      18    pharmacies for you to look at?

      19          A.      Yes.

      20          Q.      And he is -- one of them is Pardue's

      21    Pharmacy at 1900 Patterson Street in Nashville,

      22    Tennessee?

      23          A.      Yes.

      24          Q.      And do you see he points out on the next

     Golkow Litigation Services                                            Page 535
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 323Confidentiality
                                                           of 344. PageID #: 252154
                                                                               Review

       1    page as part of his discussion:

       2                  "Based on the 584 percent increase in

       3    branded Dilaudid, the continuous monitoring of the

       4    wholesaler because of the increase in Oxycodone IR and

       5    because Tennessee is becoming a hot spot, we believe

       6    that the OMS committee should consider referring this

       7    account to DEA in collaboration with the wholesalers."

       8                  Do you see that?

       9          A.      Yes.

      10          Q.      Okay.    And do you recall Mr. Crowley

      11    talking to you about Tennessee being a hot spot,

      12    emerging as a hot spot?

      13          A.      I don't recall him discussing it.             I see

      14    it here in this document.

      15          Q.      Okay.    When you all in Purdue would call a

      16    state like Tennessee a hot spot in this context, what

      17    would you mean?

      18          MR. HOFFMAN:       Object to form, foundation.

      19    BY THE WITNESS:

      20          A.      Jack called it a hot spot.

      21    BY MR. STEWART:

      22          Q.      What do you think he meant by a hot spot?

      23          A.      I don't know what his thinking was.

      24          Q.      Okay.    Is that a term that you've heard in

     Golkow Litigation Services                                            Page 536
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 324Confidentiality
                                                           of 344. PageID #: 252155
                                                                               Review

       1    Purdue?

       2          A.      I've heard people use the word "hot spot."

       3          Q.      And have they ref -- used it in connection

       4    with diversion?

       5          MR. HOFFMAN:       Object to form.

       6    BY THE WITNESS:

       7          A.      I'm not sure what they used it in

       8    connection with, and what they were identifying.

       9          MR. STEWART:       Okay.    Thank you, Mr. Seid.

      10    That's all of the questions I have.             We appreciate it.

      11          MR. HOFFMAN:       We can -- we can stay on.          I just

      12    have to mark one document and then we'll be done.

      13          MR. STANNER:       You are not going to let me ask

      14    questions about the three new documents that have been

      15    marked?

      16          MS. PORTER:        I think there is more -- I mean,

      17    his seven hours are done and everyone has asked him

      18    questions.      There has been redirect.

      19          MR. STANNER:       There hasn't been, though, on

      20    the -- the three new McKesson documents that were just

      21    introduced.      It is going to take two minutes.

      22          MS. PORTER:      Okay.

      23          MS. CONROY:      And it is not a seven hours.           It is

      24    seven hours plus -- I mean, that's what the court

     Golkow Litigation Services                                            Page 537
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 325Confidentiality
                                                           of 344. PageID #: 252156
                                                                               Review

       1    order is and that's what the coordination agreement is

       2    all about so that we are on --

       3          MS. PORTER:        I just -- I just told him okay.

       4          MS. CONROY:      Well, I'm just letting you know

       5    that even -- because we have more depositions coming

       6    up and it's not -- it is seven hours plus we get to

       7    continue to question based on how much direct is done.

       8                       (WHEREUPON, discussion was had

       9                         off the stenographic record.)

      10                          FURTHER EXAMINATION

      11    BY MR. STANNER:

      12          Q.      Mr. Seid, just a few questions about some

      13    documents that were recently handed to you.

      14                  Do you recall seeing Exhibit 60?

      15          A.      Yes.

      16          Q.      Is that a document that you received

      17    during the course of your work at Purdue?

      18                  Do you recall receiving that?

      19          A.      I don't recall receiving it.

      20          Q.      Okay.    And you don't know whether it was

      21    actually sent to anybody at Purdue, true?

      22          A.      I don't know if it was or it wasn't.

      23          Q.      Okay.    That's all I had on that.           You can

      24    set that aside.

     Golkow Litigation Services                                            Page 538
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 326Confidentiality
                                                           of 344. PageID #: 252157
                                                                               Review

       1                  You also were shown this new document,

       2    Exhibit 59, which is a banner ad with the click

       3    through?

       4          A.      Yes.

       5          Q.      For information?

       6                  And you were also shown Exhibit 55, which

       7    are the frequently asked questions regarding the

       8    reformulated --

       9          A.      Yes.

      10          Q.      -- OxyContin, right?

      11          A.      Yes.

      12          Q.      Is it your understanding that if somebody

      13    clicked on -- on that link that they would be taken to

      14    those frequently asked questions?

      15          A.      Yes.

      16          Q.      And as we talked about before, those

      17    frequently asked questions were drafted entirely by

      18    Purdue?

      19          MS. CONROY:      Objection.

      20    BY THE WITNESS:

      21          A.      Yes.

      22    BY MR. STANNER:

      23          Q.      And McKesson was not allowed to change a

      24    comma on that document?

     Golkow Litigation Services                                            Page 539
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 327Confidentiality
                                                           of 344. PageID #: 252158
                                                                               Review

       1          MS. CONROY:      Objection.

       2    BY THE WITNESS:

       3          A.      That's correct.

       4    BY MR. STANNER:

       5          Q.      And you told us how that document went

       6    through 50 revisions, right?

       7          A.      No, I don't know if it was 50, but it went

       8    through a lot of revisions.

       9          Q.      Right.     And that -- it is a lengthy

      10    document?

      11          A.      It is a lengthy document.

      12          Q.      Purdue put a lot of time and effort into

      13    it and didn't want anybody changing anything on it?

      14          MS. CONROY:      Objection.

      15          MR. HOFFMAN:       Object to the form.

      16    BY MR. STANNER:

      17          Q.      Isn't that correct?

      18          A.      Right.     We could not -- if -- it had to be

      19    use -- used as approved.

      20          Q.      Okay.    And we already looked at the

      21    contract, Exhibit 51, that's for this one-week banner

      22    ad was in August -- the contract was in July of 2010.

      23                  Do you recall that?

      24          A.      Yes, I remember seeing that.

     Golkow Litigation Services                                            Page 540
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 328Confidentiality
                                                           of 344. PageID #: 252159
                                                                               Review

       1          Q.      Now, you were also shown this exhibit,

       2    No. 58.     I'll just hand it to you to refresh your

       3    memory.

       4          A.      Yes.

       5          Q.      I might need it back.

       6                  Do you recall ever receiving that ad at

       7    Purdue?

       8          A.      I don't recall this particular document --

       9          Q.      Okay.

      10          A.      -- with the Rx feature.

      11          Q.      And do you know whether anybody at Purdue

      12    received that document?

      13          A.      I --

      14          MS. CONROY:      Objection.

      15    BY THE WITNESS:

      16          A.      I don't know who received this document.

      17    BY MR. STANNER:

      18          Q.      Do you know if anybody ever did one way or

      19    the other?

      20          MS. CONROY:      Objection.

      21    BY THE WITNESS:

      22          A.      I -- I don't know.        It is a R -- Purdue

      23    Pharma R -- L.P. RxPATROL.

      24    BY MR. STANNER:

     Golkow Litigation Services                                            Page 541
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 329Confidentiality
                                                           of 344. PageID #: 252160
                                                                               Review

       1          Q.      Okay.

       2          A.      So -- I'm sorry.

       3          Q.      Whether it was a draft or it went to

       4    Purdue, you don't know?

       5          A.      I have no idea.

       6          Q.      Okay.

       7          MS. PORTER:        Do you need it back?

       8          MR. STANNER:       Yeah.

       9    BY MR. STANNER:

      10          Q.      Well, I guess I might have to show you

      11    again, but do you see that document is dated 2012?

      12          A.      Yes.

      13          Q.      And this document related only to this

      14    RxPATROL program, right?

      15          A.      Well, I don't know, because I --

      16          Q.      Do you see in the title there it talks

      17    only about --

      18          A.      It says -- it shows it on RxPATROL, but as

      19    I said, I'm -- don't remember receiving this document

      20    or seeing this document.

      21          Q.      In any event, if it relates to RxPATROL,

      22    it has got nothing to do with the OxyContin banner ad?

      23          A.      It had to do with RxPATROL.

      24          Q.      Yeah.    And RxPATROL is about pharmacy

     Golkow Litigation Services                                            Page 542
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 330Confidentiality
                                                           of 344. PageID #: 252161
                                                                               Review

       1    security?

       2          A.      And safety.

       3          Q.      And safety.

       4                  And, again, the materials prepared on that

       5    by Purdue were materials that you wouldn't want

       6    modified or changed by anybody, right?

       7          A.      No.

       8          MS. CONROY:      Object.

       9    BY THE WITNESS:

      10          A.      They would have to be used as designed.

      11    BY MR. STANNER:

      12          Q.      Okay.    So just like the faxes and just

      13    like the banner ads, if McKesson got it they couldn't

      14    change a comma on there?

      15          MS. CONROY:      Objection.

      16    BY MR. STANNER:

      17          A.      That would be my understanding.            Again, I

      18    didn't deal with this, but even if it was another

      19    department that was policy that...

      20    BY MR. STANNER:

      21          Q.      Okay.

      22          A.      It's used as approved.

      23          Q.      And this document here dated 2012, that's

      24    two years after the OxyContin banner ad?

     Golkow Litigation Services                                            Page 543
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 331Confidentiality
                                                           of 344. PageID #: 252162
                                                                               Review

       1           A.     Yes.

       2           MR. STANNER:      Okay.    That's all I have.        Thanks.

       3    BY THE WITNESS:

       4           A.     To be used into the reformulation.

       5           THE WITNESS:      Do you want that back?

       6           MR. STANNER:      I do -- I do want to just say one

       7    thing for the record.

       8                  We have got some original deposition

       9    exhibits that now have highlighting and marking on it

      10    and to the extent we are going to be admitting any of

      11    these things at trial, I don't think it should be done

      12    with -- I would object to doing it with highlighting

      13    and marking.      That's it.

      14           MS. CONROY:     I'm happy to swap them out.

      15           MS. PORTER:     This one is 58, this guy.

      16           MS. CONROY:     That's all I have.        I don't have

      17    another one.

      18           MS. PORTER:       No, I'm just letting you know

      19    which one he is talking about.

      20           MS. CONROY:     Thank you.      We'll have to work it

      21    out.

      22           MS. PORTER:     Maybe -- maybe also 59.

      23           THE WITNESS:      60.   I'm sorry.

      24           MS. PORTER:     And 60.

     Golkow Litigation Services                                            Page 544
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 332Confidentiality
                                                           of 344. PageID #: 252163
                                                                               Review

       1                          FURTHER EXAMINATION

       2    BY MR. HOFFMAN:

       3          Q.      Hello again, Mr. Seid.

       4          A.      Hello.

       5          Q.      I -- I will be very brief.

       6                  Plaintiffs counsel for the MDL,

       7    Ms. Conroy, remember she asked you about this

       8    correspondence to Chief Boockholdt?

       9          A.      Chief Boockholdt, yes.

      10          Q.      Do you remember that from Jack Crowley

      11    with the 285 pharmacies that were being sent over to

      12    Chief Barbara Boockholdt.

      13                  Do you recall that?

      14          A.      I remember that.

      15          Q.      And just to clear up any potential

      16    confusion, while Ms. Conroy was asking you questions,

      17    we just went on LinkedIn.

      18                  Do you see Barbara Boockholdt there?

      19          A.      Yes.

      20          Q.      Do you see it says under Experience, "Drug

      21    Enforcement Administration, 36 years."

      22                  Do you see that?

      23          A.      Okay.    So she was DEA.

      24          Q.      And, in fact, if we look at the time

     Golkow Litigation Services                                            Page 545
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 333Confidentiality
                                                           of 344. PageID #: 252164
                                                                               Review

       1    period that is referenced in the e-mail, which is

       2    October 7, 2011 --

       3          A.      Um-hum.

       4          Q.      -- and we compare that to her LinkedIn

       5    profile --

       6          MR. STEWART:       Object to the form.

       7    BY MR. HOFFMAN:

       8          Q.      You will see that she was Chief Regulatory

       9    Section, Drug Enforcement Administration at that time?

      10                  Is that right?

      11          MS. CONROY:      Objection.

      12    BY THE WITNESS:

      13          A.      I see that.

      14    BY MR. HOFFMAN:

      15          Q.      So having looked at this, is -- is there

      16    any doubt in your mind that this e-mail and the

      17    referral of these pharmacies was going to the DEA?

      18          MR. STEWART:       Objection.

      19    BY THE WITNESS:

      20          A.      It appears that it was going to the DEA.

      21          MR. HOFFMAN:       Okay.    Thanks.     That's all of the

      22    questions that I have.

      23          MS. CONROY:      I have a couple of questions.

      24          MS. MACKAY:      Nathan, did you want to mark that?

     Golkow Litigation Services                                            Page 546
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 334Confidentiality
                                                           of 344. PageID #: 252165
                                                                               Review

       1          MR. HOFFMAN:       Oh, I'm sorry.       We didn't mark it.

       2    We'll mark it as 60 -- is it 65?

       3          MS. CONROY:      Yes.

       4          MR. HOFFMAN:       Okay.

       5                       (WHEREUPON, a certain document was

       6                         marked Purdue-Seid Deposition Exhibit

       7                         No. 065, for identification, as of

       8                         12/13/2018.)

       9                          FURTHER EXAMINATION

      10    BY MS. CONROY:

      11          Q.      Mr. Seid, in response to Mr. --

      12          MS. CONROY:      I'm sorry, what's your --

      13          MR. STANNER:       Stanner.

      14    BY MS. CONROY:

      15          Q.      -- Stanner's questions about McKesson, you

      16    saw one of the exhibits said that McKesson as well as

      17    Purdue had the ability to review whatever would be

      18    posted in the McKesson site, do you recall that?

      19          A.      I saw that on the RxPATROL document.

      20          Q.      Right.

      21                  Where it said that both Purdue Pharma and

      22    McKesson clinical and legal would approve the

      23    document?

      24          A.      I saw that on the RxPATROL document.

     Golkow Litigation Services                                            Page 547
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 335Confidentiality
                                                           of 344. PageID #: 252166
                                                                               Review

       1          Q.      Okay.    So you don't know -- you don't know

       2    one way or the other whether McKesson could actually

       3    refuse to put something on McKesson Connect regardless

       4    of whether Purdue wanted it there, correct?

       5          MR. STANNER:       Object to form and foundation.

       6          MR. HOFFMAN:       Objection.

       7    BY THE WITNESS:

       8          A.      I don't understand the question.

       9    BY MS. CONROY:

      10          Q.      Okay.    The ad that was up there, there

      11    were some questions that you were asked about whether

      12    or not it could be changed by McKesson.

      13                  Do you recall that?

      14          A.      The OxyContin ad?

      15          Q.      Any ad at all, but, sure, the OxyContin

      16    ad.

      17          A.      I was shown the OxyContin contract and as

      18    I remember when I looked at it, it didn't say anything

      19    about McKesson review.

      20          Q.      Do you know if --

      21          A.      On that document it is for RxPATROL and I

      22    don't know if -- who that document was produced for.

      23          Q.      Okay.    So is it your understanding, then,

      24    that the RxPATROL document, McKesson would be able to

     Golkow Litigation Services                                            Page 548
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 336Confidentiality
                                                           of 344. PageID #: 252167
                                                                               Review

       1    review that document before it posted it on its

       2    website?

       3          MR. STANNER:       Objection; form, foundation.

       4          MR. HOFFMAN:       Object to the form.

       5    BY THE WITNESS:

       6          A.      As proud as I am of RxPATROL, I am not

       7    responsible for that.         So if that -- any kind of

       8    marketing pro -- program was proceeded with or we

       9    would proceed with a marketing program, anything that

      10    would be done with that document would go back to the

      11    generating department.         So nothing would be done to

      12    any of those documents unless it was signed off by

      13    corporate security.

      14    BY MS. CONROY:

      15          Q.      I agree.

      16                  Purdue would need to sign off on the

      17    document before it gave it to McKesson to post on --

      18          A.      No.    I'm talking about even after -- if it

      19    went through McKesson review.

      20          Q.      It would still have to go through Purdue

      21    review is what you are saying?

      22          A.      It would have to go back to Purdue.             And

      23    if it was coming back to Purdue, if it -- if it was

      24    out of my shop, I would probably say we are not going

     Golkow Litigation Services                                            Page 549
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 337Confidentiality
                                                           of 344. PageID #: 252168
                                                                               Review

       1    to do the program because I know we are not going to

       2    change it in our house.

       3          Q.      And do you know one way or the other

       4    whether McKesson could say the same thing, if you

       5    don't accept our changes --

       6          A.      I don't know.       I don't know.      It appears

       7    it didn't happen with the one ad we did that I'm aware

       8    of.   But I don't know McKesson's operating procedures.

       9          Q.      Right.

      10                  So you don't know one way or the other

      11    whether McKesson could refuse to run it if they didn't

      12    get the changes that they wanted to the document?

      13          MR. STANNER:       Objection; misstates the evidence,

      14    assumes facts not in evidence.

      15    BY MS. CONROY:

      16          Q.      You don't know?

      17          A.      My -- my issue here is that the document

      18    that we are talking about was two years after the

      19    document that my department was involved in and I

      20    don't remember if my department was involved in that

      21    RxPATROL piece.       I don't know if McKesson's policies

      22    were different from when we did our piece, so that's

      23    not -- I don't know who that went to.              I don't know

      24    who was asking or what -- where it proceeded.                So I

     Golkow Litigation Services                                            Page 550
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 338Confidentiality
                                                           of 344. PageID #: 252169
                                                                               Review

       1    really can't say what would happen with that document.

       2                  I'm not trying to -- I just don't know.

       3    It was a -- a different period of time and a different

       4    document.

       5          Q.      It's your testimony that Purdue would not

       6    want any of its documents changed that were going to

       7    be given to a wholesaler for promotional purposes,

       8    correct?

       9          A.      Yes.    And that was in reference to the

      10    2010 document.

      11          Q.      Right.     Well, I'm talking about at all.

      12          A.      That was -- would be my understanding.

      13          Q.      Okay.    And you also don't know whether a

      14    wholesaler at any time being given a promotional

      15    document from Purdue could tell Purdue, unless they

      16    changed something they wouldn't run it, you don't know

      17    one way or the other?

      18          MR. HOFFMAN:       Objection to form.

      19          MR. STANNER:       Objection to form, vague,

      20    incomplete hypothetical.

      21          MR. HOFFMAN:       Assumes facts not in evidence.

      22    BY THE WITNESS:

      23          A.      I don't know one way or the other which

      24    way that -- I -- I don't know about that document.

     Golkow Litigation Services                                            Page 551
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 339Confidentiality
                                                           of 344. PageID #: 252170
                                                                               Review

       1    BY MS. CONROY:

       2          Q.      That's not -- it's not your area, right?

       3          A.      It's not my area.        I mean, market -- if it

       4    would have come from my area, I would know that we

       5    were involved in it, but I don't remember doing that

       6    program.

       7          Q.      Okay.    The inspector, Barbara Boockholdt,

       8    I think her name was --

       9          MR. HOFFMAN:       It is chief.

      10    BY MS. CONROY:

      11          Q.      Chief, thank you, Chief Boockholdt, when

      12    you were answering questions that Mr. Hoffman was

      13    asking you about that e-mail, you didn't know whether

      14    she was DEA or DOJ, did you?

      15          A.      No.    I knew she was some kind of law

      16    official in the Federal Government.

      17          Q.      Okay.    But thanks to LinkedIn now we know,

      18    right?

      19          A.      Now we know.

      20          MS. CONROY:      Okay.    Thank you.

      21          THE WITNESS:       Who is next?

      22          MR. HOFFMAN:       We are off -- we are off the

      23    record.

      24          THE VIDEOGRAPHER:        We are off the record at

     Golkow Litigation Services                                            Page 552
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 340Confidentiality
                                                           of 344. PageID #: 252171
                                                                               Review

       1    6:34 p.m.

       2                       (Time Noted:       6:34 p.m.)

       3                  FURTHER DEPONENT SAITH NAUGHT.

       4

       5

       6

       7

       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

     Golkow Litigation Services                                            Page 553
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 341Confidentiality
                                                           of 344. PageID #: 252172
                                                                               Review

       1                         REPORTER'S CERTIFICATE

       2

       3                  I, JULIANA F. ZAJICEK, C.S.R. No. 84-2604,

       4    a Certified Shorthand Reporter, do hereby certify:

       5                  That previous to the commencement of the

       6    examination of the witness herein, the witness was

       7    duly sworn to testify the whole truth concerning the

       8    matters herein;

       9                  That the foregoing deposition transcript

      10    was reported stenographically by me, was thereafter

      11    reduced to typewriting under my personal direction and

      12    constitutes a true record of the testimony given and

      13    the proceedings had;

      14                  That the said deposition was taken before

      15    me at the time and place specified;

      16                  That I am not a relative or employee or

      17    attorney or counsel, nor a relative or employee of

      18    such attorney or counsel for any of the parties

      19    hereto, nor interested directly or indirectly in the

      20    outcome of this action.

      21                  IN WITNESS WHEREOF, I do hereunto set my

      22    hand on this 17th day of December, 2018.

      23

      24                  JULIANA F. ZAJICEK, Certified Reporter

     Golkow Litigation Services                                            Page 554
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 342Confidentiality
                                                           of 344. PageID #: 252173
                                                                               Review

       1                       DEPOSITION ERRATA SHEET

       2

       3    Assignment No. 200041

       4    Case Caption:      In Re: National Prescription

       5                         Opiate Litigation

       6

       7                DECLARATION UNDER PENALTY OF PERJURY

       8

       9                  I declare under penalty of perjury that I

      10    have read the entire transcript of my Deposition taken

      11    in the captioned matter or the same has been read to

      12    me, and the same is true and accurate, save and except

      13    for changes and/or corrections, if any, as indicated

      14    by me on the DEPOSITION ERRATA SHEET hereof, with the

      15    understanding that I offer these changes as if still

      16    under oath.

      17

      18                                          STEPHEN SEID

      19

      20    SUBSCRIBED AND SWORN TO

      21    before me this               day

      22    of                       , A.D. 20__.

      23

      24                 Notary Public

     Golkow Litigation Services                                            Page 555
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 343Confidentiality
                                                           of 344. PageID #: 252174
                                                                               Review

       1                       DEPOSITION ERRATA SHEET

       2    Page No._____Line No._____Change to:______________

       3    __________________________________________________

       4    Reason for change:________________________________

       5    Page No._____Line No._____Change to:______________

       6    __________________________________________________

       7    Reason for change:________________________________

       8    Page No._____Line No._____Change to:______________

       9    __________________________________________________

      10    Reason for change:________________________________

      11    Page No._____Line No._____Change to:______________

      12    __________________________________________________

      13    Reason for change:________________________________

      14    Page No._____Line No._____Change to:______________

      15    __________________________________________________

      16    Reason for change:________________________________

      17    Page No._____Line No._____Change to:______________

      18    __________________________________________________

      19    Reason for change:________________________________

      20    Page No._____Line No._____Change to:______________

      21    __________________________________________________

      22    Reason for change:________________________________

      23    SIGNATURE:_______________________DATE:___________

      24                              STEPHEN SEID

     Golkow Litigation Services                                            Page 556
Case: 1:17-md-02804-DAP Doc #: -1984-13
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 344Confidentiality
                                                           of 344. PageID #: 252175
                                                                               Review

       1                     DEPOSITION ERRATA SHEET

       2    Page No._____Line No._____Change to:______________

       3    __________________________________________________

       4    Reason for change:________________________________

       5    Page No._____Line No._____Change to:______________

       6    __________________________________________________

       7    Reason for change:________________________________

       8    Page No._____Line No._____Change to:______________

       9    __________________________________________________

      10    Reason for change:________________________________

      11    Page No._____Line No._____Change to:______________

      12    __________________________________________________

      13    Reason for change:________________________________

      14    Page No._____Line No._____Change to:______________

      15    __________________________________________________

      16    Reason for change:________________________________

      17    Page No._____Line No._____Change to:______________

      18    __________________________________________________

      19    Reason for change:________________________________

      20    Page No._____Line No._____Change to:______________

      21    __________________________________________________

      22    Reason for change:________________________________

      23    SIGNATURE:_______________________DATE:___________

      24                               STEPHEN SEID

     Golkow Litigation Services                                            Page 557
